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           Case 2:22-cv-09426-JWH-JC Document 1 PAID
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                                                                                        DEC 27 2022
                                                                                           rsm

S/I

       1   Brittany A. Stillwell
           info@brittstillwell.com
       2   811 Wilshire Blvd., 17th Floor
           Los Angeles, California 90017
       3
           Tel: 702-907-1908
       4
           PLAINTIFF APPEARING IN PRO PER
       5
       6
       7
       8                              UNITED STATES DISTRICT COURT
       9
                               FOR THE CENTRAL DISTICT OF CALIFORNIA
      10
                                                           2:22-CV-09426-JWH-JC
      11        BRITTANY A. STILLWELL                       Case No.
      12
                              Plaintiff,                   VERIFIED COMPLAINT against CITY OF
      13               v.                                  LOS ANGELES, a municipal entity; ONNI
                                                           REAL ESTATE IX, LLC, a Delaware limited
      14        CITY OF LOS ANGELES, a municipal           liability company; ONNI REAL ESTATE
                entity; ONNI REAL ESTATE IX, LLC, a        HOLDINGS LTD a Canadian limited
      15        Delaware limited liability company; ONNI   corporation; KIMBALL, TIREY & ST.
      16        REAL ESTATE HOLDINGS LTD a                 JOHN LLP, a Louisiana Debt Collection
                Canadian limited corporation; KIMBALL,     Agency, CHRIS JAMES EVANS, an
      17        TIREY & ST. JOHN LLP, a Louisiana          individual; and DOES 1 though 50
                Debt Collection Agency, CHRIS JAMES        INCLUSIVE for:
      18        EVANS, an individual; and DOES 1           1. Negligence;
      19        though 50 INCLUSIVE                        2. Premise Liability;
                                                           3. Violations of Unruh Civil Rights
      20                      Defendants.                        Act, Ca. Civ. Code §§ 51, 52 et
                                                                 seq.;
      21                                                   4. Violations of Fair Housing Act (42
      22                                                         U.S.C. §§ 3604 et seq.);
                                                           5. Violation of 42 U.S.C. § 1982
      23                                                   6. Violation of 42 U.S.C. § 1983
                                                           7. Violation of 42 U.S.C. § 1985
      24                                                   8. Violation of 42 U.S.C. § 1986
      25                                                   9. Malicious Prosecution (December
                                                                 2021 Unlawful Detainer);
      26                                                   10. Malicious Prosecution (June 2022
                                                                 Unlawful Detainer);
      27
      28
                            VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1                                                             11. Violations of City of Los Angeles
                                                                  Temporary Protection of Tenants
2                                                                 During COVID-19 Pandemic
3                                                                 (L.A.M.C. §§ 49.99 et seq.);
                                                              12. Violations of Fair Debt Collection
4                                                                 Practices Act (15 U.S.C. §§ 1692 et
                                                                  seq);
5                                                             13. Violations of Ca. Civ. Code §
6                                                                 1942.5 (Retaliation)
                                                              14. Violations of Tom Bane Civil
7                                                                 Rights Act (Ca. Civ. Code §§ 52.1,
                                                                  52 et seq).;
8                                                             15. Violations of Tenant Anti-
                                                                  Harassment Ordinance (TAHO)
9
                                                                  (L.A.M.C §§ 45.30 et seq.);
10                                                            16. Civil RICO (18 U.S.C. §§ 1962(c),
                                                                  1964(c)), Predicate Act: Honest
11                                                                Services Fraud (18 U.S.C. § 1346);
                                                              17. Civil RICO (18 U.S.C. §§ 1962(c),
12
                                                                  1964(c)), Predicate Act: Wire Fraud
13                                                                (18 U.S.C. § 1343);
                                                              18. Violations of Unfair Competition
14                                                                Law (Bus. & Prof. Code §§ 17200
                                                                  et seq.);
15
                                                              19. Breach of Contract
16                                                            20. Intentional Infliction of Emotional
                                                                  Distress; and
17                                                            21. Negligent Infliction of Emotional
                                                                  Distress
18
19                                                                 JURY TRIAL DEMANDED

20
           Plaintiff Brittany A. Stillwell submits this Verified Complaint under penalty of perjury
21
22      pursuant to Ca. Civ. Code §§ 446 and 2015.5 that the facts and statements contained herein

23      are true and correct.
24
           Under penalty of perjury, Plaintiff Brittany A. Stillwell alleges as follows:
25
                                               INTRODUCTION
26
27
28
                       VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1           1.      Plaintiff Brittany Stillwell (“Stillwell”) files this verified Complaint against

2    her landlords, Onni Real Estate IX, LLC (“Onni”) and Onni Real Estate Holdings Ltd.
3
     (“Onni-BC”), attorney Chris James Evans (“Evans”), debt collection agency Kimball,
4
     Tirey & St. John LLP (“KTS”), which holds itself out to be “southern California’s most
5
     prominent real estate law firms,” and the City of Los Angeles (“LA City”).
6
7           2.      At the height of the COVID-19 pandemic Onni, one of Los Angeles’ largest

8    developer and one of America’s largest corporate landlords, cheated its Los Angeles
9
     tenants out millions of dollars in excessive fees, hidden charges, and by passing off its
10
     corporate expenses to its residents.
11
            3.      From March 2021 through March 2022, Onni submitted at least two-
12
13   hundred and seventy (270) rental assistance applications that contained fraudulent

14   information about the amount of rent and fees in arrears for its Los Angeles tenants. Onni’s
15   COVID-19 rental assistance scheme defrauded California’s neediest families out of more
16
     than $1 million and led to the unlawful eviction of more than twenty (20) families that had
17
     pending rental assistance applications.
18
19          4.      From December 2021 through June 2022, Evans and KTS represented Onni

20   in more than fifty (50) unlawful detainer lawsuits against minority tenants, including
21   Stillwell, despite the local state and national eviction moratoriums that were in place.
22
            5.      Onni evicted tenants who had pending rental assistance applications that
23
     Onni ultimately received payment for, despite unlawfully evicting the tenants. After
24
25   eviction, Onni collected up to 18 months in past and prospective rental assistance payment,

26   then leased the apartments out as short-term rentals under the guise of Level Hotels &
27   Furnished Suites, the illegal hotel Onni operates inside of Hope + Flower Apartments.
28
                       VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1            6.      In addition to operating an illegal hotel at Hope + Flower, Onni allowed several

2    illegal marijuana dispensaries to operate at Hope + Flower and allowed drug and criminal activity
3
     to continue despite receiving many complaints from residents.
4
             7.      Upon information and belief, Onni and Onni-BC were aware of the illegal
5
     gambling, drug distribution, and drug-fueled parties that occurred in Penthouse 4002 of the Hope
6
7    Tower and led to the death of Heidi Planck (“Planck”) in October 2021.

8            8.      Upon information and belief, Planck died in Penthouse 4002 after encountering a
9
     fentanyl laced item; Planck’s body was thrown down the trash chute after unsuccessful
10
     resuscitation attempts. Tenants, including Stillwell, that witnessed, or complained about Planck’s
11
     death were harassed, threatened, and faced unlawful detainer eviction lawsuits out of retaliation.
12
13           9.      Onni and Does 1 though 50 inclusive have engaged in a systemic, relentless, and

14   ongoing barrage of discrimination retaliation and harassment of Stillwell for more than thirty (30)
15   months.
16
             10.     Onni’s adverse actions include but were not limited to multiple unlawful entries
17
     into Stillwell’s home, overcharging Stillwell more than $7,000 in excessive fees, staging a burglary
18
19   that led to the theft of over $2,000,000.00 worth of Stillwell’s personal and business property,

20   mounting two hidden cameras in Stillwell’s apartment, and other conduct that led to more than
21   fifty (50) violations of local, state, and federal law, as discussed in detail below.
22
             11.     Upon information, complaints about Onni's unlawful conduct to LA City, Los
23
     Angeles County, and California State officials and agencies went uninvestigated due to Onni's
24
25   stronghold on LA City Councilmembers and other elected officials via an extensive, on-going pay-

26   for-play scheme, which is discussed below. Onni's pervasive disregard for the law was embolden
27
28
                        VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1    by elected LA City, County, and State officials, who turned a blind eye to Onni's corruption

2    in exchange for bribes, kickbacks, and campaign donations.
3
            12.      Upon information and belief, LA City Councilmembers used its so-called
4
     "planning process" as a play-to-play game, set up to benefit developers and the politicians
5
     who serve them. Nearly all projects that a part of this pay-for-play scheme receive
6
7    unanimous approval by the members of the LA City Council, owing to the unspoken

8    agreement that "I'll approve your project if you'll approve mine." There's rarely any
9
     discussion of a project's actual merits or flaws, and any talk of planning is limited to sound
10
     bites to appease the concerns raised by many Angelenos and advocacy groups.
11
            13.     While acting in their unofficial capacities, corrupt LA City Councilmembers
12
13   negotiated contracts and collected bribes and kickbacks from Onni and other real estate

14   developers. While acting in their official capacities, corrupt LA City Councilmembers
15
     approved measures, issued permits, passed ordinances, and approved annual budgets,
16
     based on the bribes and kickbacks that were negotiated in their unofficial capacities. These
17
     extensive pay-for-play would ultimately leave the City of Los Angeles facing annual
18
19   deficits of $200 million to $400 million over the next several years.

20          14.     As discussed in detail below, LA City Councilmembers also collected
21   bribes and kickbacks to pass new zoning ordinances that would allow Onni and other real
22
     estate developers convert thousands of residential housing units to transient occupancy
23
     hotel rooms. This scheme allowed Onni and other developers to avoid offering prior agreed
24
25   upon affordable residential housing, despite receiving millions of dollars in tax incentives,

26   thus exacerbating Los Angeles’ current housing and homelessness crisis.
27
28
                        VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1            15.      Stillwell files this Complaint against LA City to enjoin the City of Los Angeles

2    from enforcing its revised zoning ordinances, which were the result of bribes and kickbacks that
3
     deprive LA City residents of honest services. Stillwell also seeks to enjoin LA City from issuing
4
     and renewing Onni’s building and occupancy permits at Hope + Flower Apartments, as these
5
     permits were obtained by Onni providing materially false statements, as discussed below. Lastly,
6
7    Stillwell seeks to enjoin LA City from contracting with Onni and its subsidiaries due to Onni’s

8    unlawful conduct described herein, its complicity in criminal activity, and its pattern of violating
9
     the tenants’ civil rights of its tenants.
10
             16.      Upon information and belief every document incorporated by reference in this
11
     verified Complaint is in the possession of the Plaintiff and or each Defendant and is discoverable.
12
13                                                    PARTIES

14           17.      Plaintiff Brittany Stillwell (“Stillwell”) is a natural person currently residing in Los
15   Angeles, California.
16
             18.      Defendant City of Los Angeles is a municipal corporation, organized and existing
17
     under the Constitution and laws of the State of California, and holding a freeholders' charter.
18
19                 a. The Los Angeles City Charter created several departments of city government that

20                    are under the control and management of boards of five commissioners.
21                    Commissioners are appointed by the Mayor and approved by City
22
                      Councilmembers.1
23
24
25
     1
       Los Angeles Police Department (“LAPD”) is led by the Chief of Police, the highest-ranking
26
     officer in the LAPD; The Chief of Police is appointed by the Mayor and subjected to approval by
27   the Police Commission and City Council.

28
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1             b. The City Charter established the nine-member City Planning Commission (CPC),

2                which provides recommendations to the Mayor, City Council, and Director of
3
                 Planning on land use policies and proposed development projects. The Los Angeles
4
                 City Charter also created several departments of city government that are under the
5
                 control and management of City Council.
6
7             c. The City of LA is divided up into 15 council districts composed of multiple

8                neighborhoods and each containing approximately between 200,000-300,000
9
                 residents. Each of the 15 council district is represented by an elected official called
10
                 a Council Member, who votes on proposed laws and budgets for the entire city, and
11
                 has informal power over development, transportation, many other types of city
12
13               services and projects in their own district.

14            d. The LA City Council is responsible for enacting laws that govern the City of Los
15               Angeles and have final say on the budget for all departments and agencies within
16
                 the City.
17
              e. The Planning and Land Use (“PLUM”) Committee of the City Council has
18
19               extensive influence over the zoning in Downtown Los Angeles. The City Council

20               holds public hearings on certain real estate developments that affect the City’s
21               general plan for development. These hearings will typically take place before the
22
                 PLUM Committee, which will make a recommendation to City Council. Following
23
                 that hearing, there will be a vote before the full City Council regarding whether to
24
25               amend the general plan. In addition, PLUM is a step of the approval process for

26               development projects seeking to build in Los Angeles. PLUM also handles the
27               appeals process for project approvals.
28
                    VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1                 f. The City of Los Angeles is government that received more than $10,000.00 per

2                    fiscal year in funds from the United States, including for the years 2013 through
3
                     2022, in the form of grants, contracts, subsidies, loans, guarantees, insurance, and
4
                     other forms of federal assistance. All legislative power in LA City is vested in the
5
                     City Council and is exercised by ordinance subject to a veto by the Mayor.
6
7                 g. Council Members maintain tremendous power and influence over their respective

8                    districts and the City of Los Angeles.
9
            19.      Defendant Onni Real Estate IX, LLC (“Onni”) is incorporated as a limited liability
10
     corporation in Delaware, with its headquarters and principal location in Phoenix, Arizona. At all
11
     relevant times and as mentioned in this Complaint, Onni was doing business as Hope + Flower
12
13   located at 1201 S. Hope Street, Los Angeles, California 90015.

14                a. According to its website, https://www.onni.com/rental-apartments/unfurnished/
15
                     Onni owns and operates five (5) apartment complexes in Los Angeles County,
16
                     California.
17
                  b. According     to   its   websites,   https://www.onni.com/hospitality/level/    and
18
19                   https://stayinglevel.com/destinations/los-angeles/ Onni owns and operates three (3)

20                   hotels in Los Angeles County, California.
21          20.      Upon information and belief, Defendant Onni Real Estate Holdings LTD (“Onni-
22
     BC”) is a Canadian limited corporation incorporated in Vancouver, British Columbia, Canada.
23
     Onni Group’s headquarters is located at 1010 Seymour Street, Suite 200, Vancouver, British
24
25   Columbia, Canada V6B 3M6. Onni Group’s principal location is in the United States of America

26   at 1031 S. Broadway, Suite 400, Los Angeles, California 90015.
27
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1                 a. Onni-BC is the parent of: Onni Real Estate Group USA (Master) Limited

2                    Partnership, Onni Real Estate VII LLC, Onni Real Estate VII LLC, Onni Real
3
                     Estate IX LLC, Onni Real Estate USA (NO. 1) Limited Partnership, Onni Real
4
                     Estate USA (NO. 2) Limited Partnership, Onni Real Estate USA (NO. 3) Limited
5
                     Partnership, and Onni Real Estate USA (NO. 4) Limited Partnership, (collectively,
6
7                    hereafter, “Onni Group”).

8                 b. Each of the eight (8) legal entities comprising of the Onni Group are incorporated
9
                     in Delaware, United States of America.
10
                  c. According to Onni-BC’s website, “Onni is proud to offer a wealth of rental
11
                     opportunities in some of North America’s most renowned cities; managing more
12
13                   than 11,200 rental apartment units in Metro Vancouver, Los Angeles, Chicago, and

14                   Phoenix, with another 10,600 in the pipeline.”
15                d. Onni-BC has over fifty (50) subsidiaries and legal entities registered in California
16
                     that are related to real estate, construction, and property management.
17
                  e. Onni Group is one of America’s largest corporate landlords. Since the enaction of
18
19                   America’s federal eviction moratorium in 2020, Onni Group has been one of

20                   America’s a top ten (10) filers of evictions, despite national, state, and local eviction
21                   moratoriums in place.
22
                  f. Upon information and belief, Onni Group was one of America’s top ten (10)
23
                     recipients of COVID-19 rental assistance paid to corporate landlords.
24
25                g. Onni Group is an enterprise, as defined by 18 U.S.C. § 1961(4).

26          21.      Upon information and belief and according to the Louisiana Secretary of State,
27   Defendant, Kimball, Tirey & St. John LLP (“KTS”) is incorporated as a “Collection Agency/ Debt
28
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 1    Collector” pursuant to Louisiana’s Debt Collector Registration statute, R.S. 9:3534.5, with its

 2    principal business office address located at “1202 Kettner Blvd. San Diego, California 92101.”
 3
                 a. A true and correct copy of KTS’ Louisiana Certificate of Incorporation and
 4
                    Collection Agency/Debt Collector Registration Form, obtained from the Louisiana
 5
                    Secretary of State, is incorporated by reference and attached as Exhibit A.
 6
 7               b. KTS holds itself out as a law firm with its Los Angeles office located 915 Wilshire

 8                  Boulevard, Suite 1650, Los Angeles County, California 90017. According to KTS
 9
                    website https://www.kts-law.com/practice-areas/collection-division/ “Kimball,
10
                    Tirey & St. John LLP is a law firm, not a collection agency.” Below is a true and
11
                    correct copy of a screenshot KTS’ taken on December 25, 2022 of KTS’ website.
12
13
14
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 1
 2              c. According        to   the    California     Secretary      of    State’s     website,
 3
                   https://bizfileonline.sos.ca.gov/search/business at the time of filing this Complaint,
 4
                   KTS is not a licensed business or limited liability partnership in the state of
 5
                   California.
 6
 7              d. According to the Los Angeles County Registrar and County Clerk’s website,

 8                 https://www.lavote.gov/fbn-search at the time of filing this Complaint, ‘Kimball,
 9
                   Tirey & St. John LLP’ is not a fictious business name of any business in Los
10
                   Angeles County.
11
                e. According to the County of Los Angeles Treasurer and Tax collector website,
12
13                 https://ttc.lacounty.gov/search-existing-business-license/ at the time of filing this

14                 Complaint, KTS does not have an existing business license.
15
                f. Upon information and belief, KTS is not licensed to conduct business in the state
16
                   of California.
17
         22. Upon information and belief, Defendant Chris James Evans (“Evans”) is an individual who
18
19          resides in Los Angeles County, California.

20              g. According Evans’ Attorney Profile on the State Bar of California website,
21                 https://apps.calbar.ca.gov/attorney/Licensee/Detail/202135 Evans was admitted to
22
                   the California Bar on June 27, 1999 and his California Bar Number is 202135.
23
                   Evans’ address is listed as: “Address: Kimball Tirey & St John, 915 Wilshire
24
25                 Boulevard, Suite 3400, Los Angeles, CA 90071.”

26              h. According to KTS website, https://www.kts-law.com/attorneys/chris-j-evans/,
27                 “Chris Evans is the Managing Partner for the Landlord/Tenant Practice Group in
28
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 1                    our Los Angeles office. Mr. Evans practices in the areas of unlawful detainer

 2                    litigation and real estate law.” Below is a true and correct copy of a screenshot of
 3
                      KTS website, https://www.kts-law.com/attorneys/chris-j-evans/, taken on Decem
 4
                      18, 2022.
 5
 6
 7
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10
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19
20
             23.      Defendants KTS and Evans each are engaged in the business of collecting debts,
21
      using mail and telephone in this state with its principal place of business located at 915 Wilshire
22
23    Boulevard, Suite 3400, Los Angeles, CA 90071

24
                   a. Defendants KTS and Evans each are engaged in the business of a collection agency,
25
                      using the mails, telephone, and consumer collection agencies to collect consumer
26
27                    debts originally owed to others.

28
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 1                   b. Defendants KTS and Evans each regularly collects or attempts to collect defaulted

 2                      consumer debts due or asserted to be due another, and is a “debt collector” as
 3
                        defined in 15 U.S.C. § 1692a(6) of the FDCPA.
 4
 5                   c. Defendants KTS and Evans are each a “furnisher of information” as that term is
 6                      defined by the FCRA, 15 U.S.C. §1681s-2(b).
 7
               24.      Whether individual, corporate, associate, or otherwise, defendants' true names and
 8
 9    capacities DOES 1 through 50, (hereafter, “Doe Defendants”) are unknown to Plaintiff currently.

10    Therefore, Plaintiff sues those defendants by such fictitious names pursuant to Ca. Code Civ. P. §

11    474 will amend this Complaint to show their true names and capacities when ascertained.
12
               25.      Onni-BC, Onni, Evans, KTS, and the Doe Defendants are each a person as defined
13
      by 18 U.S.C. § 1961(3), that participated in the conduct of Onni Group via a pattern of racketeering
14
      activity, as defined by 18 U.S.C. §1961(5).
15
16             26.      Onni-BC, Onni, Evans, KTS, and the Doe Defendants each devised, intended to

17    devise, and or participated in a scheme or artifice to defraud Stillwell and other tenants of Hope +
18
      Flower Apartments of money and or property by means of false or fraudulent pretenses,
19
      representations, or promises in violation of 18 U.S.C. §§ 1343, 1962 as discussed in detail below.
20
               27.      Onni, Evans, KTS, and the Doe Defendants participated in schemes to defraud
21
22    Stillwell and other tenants at Hope + Flower Apartments of COVID-19 rental assistance payments,

23    in exchange for kickbacks, and in violation of 18 U.S.C. §§ 1346, 1962 as discussed in detail
24    below.
25
26
27
28
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 1            28.     Onni, Evans, KTS, and the Doe Defendants were each necessary and each

 2    committed at least two predicate acts in furtherance of Onni Group’s schemes, as discussed in
 3
      detail below.
 4
              29.     Plaintiff is informed, believes, and based thereon alleges, that at all times relevant,
 5
      each Defendant was acting as an agent, joint venturer, and/or alter ego for each of the other
 6
 7    Defendants, and each were co-conspirators with respect to the acts and the wrongful conduct

 8    alleged herein so that each is responsible for the acts of the other in connection with the conspiracy
 9
      in such wrongful acts with the other Defendants.
10
              30.     Plaintiff is informed, believes, and based thereon alleges, that each Defendant was
11
      acting partly within and partly without the scope and course of their employment, and was acting
12
13    with the knowledge, permission, consent, and ratification of every other Defendant.

14            31.     Plaintiff is informed and believes, and therefore alleges, that each of the Defendants
15    was an agent, managing general partner, managing member, owner, co-owner, partner, employee,
16
      and/or representative of each of the Defendants and was at all times material hereto, acting within
17
      the purpose and scope of such agency, employment, contract and/or representation, and that each
18
19    of them is jointly and severally liable to plaintiff.

20            32.     Plaintiff is informed and believes, and therefore alleges, that each of the Defendants
21    is liable to plaintiff under legal theories and doctrines including but not limited to (1) joint
22
      employer; (2) integrated enterprise; (3) agency; and/or (4) alter ego, based in part, on the facts set
23
      forth below.
24
25            33.     Plaintiff is informed and believes, and therefore alleges, that each of the named

26    Defendants are part of an integrated enterprise and have acted or currently act as the employer
27    and/or joint employer of plaintiff making each of them liable for the violations alleged herein.
28
                         VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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 1                                       JURISDICTION & VENUE

 2            34.    Under 28 U.S. Code § 1391(d) a corporation shall be deemed to reside in any
 3
      district in that State within which its contacts would be sufficient to subject it to personal
 4
      jurisdiction if that district were a separate state. Accordingly, Jurisdiction is proper in this Court
 5
      because Defendants LA City, Onni, Onni-BC, Evans, and KTS are located in Los Angeles County
 6
 7    and work and or conduct business in Los Angeles County, thus having sufficient contacts with Los

 8    Angeles County, California to subject each Defendant to personal jurisdiction in this Court’s
 9
      district.
10
              35.    Defendants KTS and Evans, collect debt and are headquartered in Los Angeles,
11
      California. Accordingly, this court has jurisdiction of the federal claims against KTS and Evans
12
13    pursuant to 15 U.S.C. § 1692k(d).

14
              36.    Defendants KTS and Evans has actual knowledge of where Plaintiff resided, and
15
      by attempting to collect from Plaintiff, purposefully availed themselves to the jurisdiction in which
16
      Plaintiff resided. Defendants KTS and Evans knowingly attempted to collect on a debt allegedly
17
18    incurred in Los Angeles, California and thus has sufficient minimum contacts with this venue.

19    Venue is additionally proper under 28 U.S. Code § 1391(b)(1).
20
              37.    Under 28 U.S. Code § 1391(b)(2) a civil action may be brought in a judicial district
21
      in which a substantial part of the events or omissions giving rise to the claim occurred. The acts
22
23    that occurred giving rise to this complaint occurred in Los Angeles County, California. Defendants

24    LA City, Onni, Onni-BC, Evans, and KTS have sufficient minimum contacts with this venue, thus
25    making this a proper venue under 28 U.S. Code § 1391(b)(2).
26
                      ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
27
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 1        Hope + Flower Apartments

 2            38.      Hope + Flower Apartments (“Hope + Flower”) is located at 1201 S. Hope Street,
 3
      Los Angeles, California 90015, in City Council District 14 ("CD14"). The current city
 4
      councilmember is Kevin DeLeon ("DeLeon").2
 5
              39.      Hope + Flower is approximately three (3) years old and began leasing in January
 6
 7    2020.

 8                  a. Hope + Flower has two towers: “Tower 1” is called Hope Tower, and “Tower 2” is
 9
                       called Flower Tower. The Hope Tower has forty-one (41) floors, and the Flower
10
                       Tower has thirty-four (34) floors.
11
          40. Upon information and belief, there are six hundred and sixty (660) residential apartment
12
13            units at Hope + Flower, and each apartment has a balcony. There are also balconies in the

14            common areas on the eighth floor and on each rooftop.
15
          41. Onni advertises Hope + Flower as “luxury rental apartments” with “courteous staff.” Hope
16
              + Flower’s advertised amenities include, but not limited to: “secure valet parking, ”premier
17
              parcel management system includes cold storage, Amazon lockers, package lockers, and
18
19            even grocery delivery service,” “secure and convenient bike storage,” and “any additional

20            requests can be taken care of by our attentive 24-hour concierge and security to ensure all
21            your needs have been met.
22
23
24
25    2
       In June 2020, former CD14 city councilmember Jose Huizar ("Huizar") was arrested on Federal
      RICO Charge that alleges Huizar operated a 'Pay-to-Play' scheme and agreed to accept at least
26
      $1.5 million in illicit benefits from real estate developers who funneled cash and other benefits to
27    secure favorable treatment from Los Angeles city councilmembers.

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 1           42.      As discussed in detail below, more than 2 years prior to opening, Onni applied to

 2    convert more than two hundred (200) residential units into transient housing. Onni intended for
 3
      the 28th floor in Hope Tower to be used as transient residential units. Accordingly, Onni furnished
 4
      the 28th floor of Hope Tower with subpar appliances and no CCTV recording.
 5
                   a. Stillwell’s oven and washing machine have been broken for over three-months,
 6
 7                    forcing Stillwell to resort to stove-top cooked meals only and hand-washing her

 8                    clothes – not quite a luxurious experience, as advertised.
 9
             43.      On        its    website,     https://stayinglevel.com/destinations/los-angeles/downtown-
10
      flower/ Onni advertises its short-term rentals at Hope + Flower “Luxury furnished short-term
11
      rentals in downtown Los Angeles. Spacious suites, unparalleled lifestyle amenities and dedicated
12
13    Guest Services. Level Flower welcomes extended stays of 30+ nights” The rentals also advertised

14    and leased under the name Level Flower, located at 1201 S. Hope Street.
15
                   a. Hope + Flower is not zoned or licensed to be a hotel, motel, or boarding house as
16
                      required          by    Los     Angeles    County     Municipal    Code     (“L.A.M.C.”)
17
                       § 7.50.020.
18
19                 b. Below are five true and correct screenshots the Level Flower website taken on

20                    December 25, 2022.
21                         i.         The following screenshot show Onni’s advertisement of illegal hotels in
22
                                      Los Angeles at “Downtown Flower,” “Downtown South Olive,” “Long
23
                                      Beach (Winter 2023) and “Hollywood (Summer 2023”). Each of these
24
25                                    properties were originally approved for residential housing, not hotels.

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13                   ii.   The following screenshot shows the address of “Downtown Flower” as

14                         “1201 S. Hope Street, Los Angeles, CA 90015,” which is the same address
15
                           as Hope + Flower Apartments.
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 1                  iii.   The following screenshot shows the “Offers” page, which advertises

 2                         “Extended Stays (30+ Nights)”
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16                  iv.    The following screenshot shows the “In-Suite Amenities” page, which
17
                           advertises: “fully-equipped kitchen, in-suite laundry, WIFI, pet friendly,
18
                           housekeeping, open-air balconies, premium linens, King or Queen bed
19
                           with Hypnos mattress, air conditioning, flat-screen TV, spacious, modern
20
21                         design, private phone line, utilities” Onni passed its commercial costs of

22                         an operating illegal hotel to tenants at Hope + Flower, as discussed in
23
                           detail below.
24
25
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28
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12
                     v.   The following screenshot shows the “In-Suite Amenities” page, which
13
14                        advertises: “24hr Guest Services, Secure parking, outdoor pools, fully-

15                        equipped gyms, entertainment spaces”
16
17
18
19
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28
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 1             c. Onni also blatantly advertised “Level Hotels & Furnished Suites” on Hope +

 2                Flower’s website. On the landing page, the option for “FURNISHED” appears just
 3
                  above “CONTACT.” Clicking “FURNISHED takes users to the following website
 4
                  for Level at Hope+Flower, https://hopeflowerdtla.com/level-furnished
 5
               d. The website advertises:
 6
 7                         Whether you’re in town for 30 days, a few months or more, start your next
                           DTLA adventure at Level Downtown Flower. We’re pleased to provide
 8                         elegant accommodations, resort-inspired amenities and exceptional
                           service. Our suites feature fully-equipped kitchens and spa-like
 9
                           bathrooms. Expect thoughtful touches like in-suite laundry,
10                         hypoallergenic linens and complimentary WiFi. Enjoy exclusive access
                           to our recreational and social areas, including a premium fitness center,
11                         outdoor pool and laidback sports lounge. We also provide a 24-
                           hourconcierge to make sure your stay is seamless. Welcome back!
12
13             e. Below are two true and correct screenshots the Hope + Flower website taken on

14                December 25, 2022
15
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16           44.     Upon information and belief, in June 2020 Onni began converting more than 40%
17
      of its apartments at Hope + Flower to short term rentals, hotels, and Airbnb rentals. Onni denied
18
      offering short-term rentals, despite many residents locating the “weekend rentals” on sites such as
19
20    Airbnb. During this time many Hope + Flower residents, including Stillwell, began to complain to

21    Onni about the increase in crime at Hope + Flower caused by transient guests.
22           45.     Upon information and belief, Onni converted hundreds of Residential Units to
23
      commercial use and or and tourists’ units, then passed its commercial costs of utilities to residents
24
      of Hope +Flower, including the costs of at least forty (40) EV charging and the utilities of more
25
26    than two hundred (200) units that were illegally converted into a hotel or short-term rentals.

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28
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 1           46.      In or about March 2020, more than fifty (50) Hope + Flower residents joined a

 2    private Facebook group, Hope + Flower Residents, where the tenants organized and exchanged
 3
      information related to tenancy at Hope + Flower.
 4
             47.      At the time of filing this Complaint, Onni has three (3) available apartments in
 5
      Hope Tower and three (3) available apartments in Flower Tower advertised on its website for Hope
 6
 7    + Flower Apartments, https://hopeflowerdtla.com/availability

 8                 a. Based on the number of available units listed on Hope + Flower’s website, at the
 9
                      time of filing this Complaint Hope + Flower’s occupancy is approximately ninety-
10
                      nine percent (99%) and the monthly rents range from $3,230.00 to $56,118.00.
11
                   b. Upon information and belief, at the time of filing this complaint, more than two-
12
13                    hundred (200) of Hope+ Flower’s apartments are not listed as available for rent

14                    because they are used as illegal hotel rooms.
15
      RICO Scheme #1: Hope + Flower Plan Approval Bribes (2014)
16
             48.       Hope + Flower is currently zoned [Q]R5-4D-O. According to Los Angeles
17
      Department of City Planning the "R5" zoning is "restricted density multiple dwellings" for one
18
19    and two-family dwellings, apartment houses, multiple dwellings, and home occupations.

20           49.      According to the chart copied from the LA City ZIMAS3 website on December 25,
21    2022, http://zimas.lacity.org, Hope + Flower is in the following economic zones:
22
23
24
25
      3 Zone Information and Map Access System (“ZIMAS”) is a web-based mapping application
26
      that provides users with a convenient and centralized point of reference for planning and zoning
27    information on properties in the City of Los Angeles. ZIMAS assists residents and businesses
      in making better informed land use decisions. LA City Planning maintains ZIMA.
28
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 1
                     Business Improvement District                 GREATER SOUTH PARK
 2
                     Hubzone                                       None
 3                   Jobs and Economic Development
                     Incentive Zone (JEDI)                         None
 4                   Opportunity Zone                              No
 5                   Promise Zone                                  South Los Angeles Transit
                                                                   Empowerment Zone
 6                   State Enterprise Zone                         LOS ANGELES STATE
                                                                   ENTERPRISE ZONE
 7
 8
             50.     According to the LA City ZIMAS website Hope + Flower is subjected to the
 9
10    following local and State ordinances: Rent Stabilization Ordinance (RSO) [APN:

11    5138026036], Housing Crisis Act Replacement Review, Housing Element Replacement

12    Required, and Senate Bill 166. Hope + Flower’s density is listed as “Above Moderate.”
13
             51.     Pursuant to the Subdivision Map Act, Cal. Gov. Code § 66474.2, the approval of
14
      a vesting tentative parcel map or vesting tentative tract map shall confer a vested right to proceed
15
      with development in substantial compliance with the ordinances, policies, and standards as
16
17    described in Section 66474.2 of the Subdivision Map Act.

18           a.      The purpose of the Vesting Tentative Tract Map (“VTTM”) is to show the design
19
      and improvement of the proposed subdivision in relationship to the existing conditions and the
20
      adjacent properties.
21
             52.     According to the VTTM for Hope + Flower, Vesting Tentative Tact No. 72560
22
23    ("VTT No. 72560"):

24                   The adopted Central City Community Plan designates the subject property for High
25                   Density Residential land use which permits R5 uses. The property is currently
26
                     zoned [Q]R5-4D-O. The "Q" condition allows uses permitted in the C4 Zone, a
27
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 1                  primary objective of the Central City Plan is to facilitate the expansion of housing

 2                  choices in order to attract new and "economically and ethnically diverse
 3
                    households."
 4
                    The subject property is located within the Greater Downtown Housing Incentive
 5
                    Area which permits unlimited density within the confines of the permitted floor
 6
 7                  area ratio (FAR). The height district on the site permits a FAR of 13:1. There is

 8                  however a "D" limitation on the zone which limits the floor area to a maximum
 9
                    FAR of 6:1, unless a Transfer of Floor Area (TFAR) is approved. The applicant has
10
                    requested a TFAR as part of the discretionary approval (Case No. CPC-2013-4125-
11
                    TDR-MCUP-ZV-SPR) to transfer 325,946 square feet from the Los Angeles
12
13                  Convention Center (Donor Site) to the project site (Receiver Site) to permit a FAR

14                  of 11.01:1 and 716,000 square feet of floor area, in lieu of a 6:1 FAR which permits
15                  only 390,054 square feet of floor area.
16
             53.    VTT No. 72560 is 26-pages long, dated September 11, 2014 and addressed to
17
      Applicant Rossano De Cottis, Onni Real Estate IX, LLC.VTT No. 72560 is incorporated by
18
19    reference, and can be downloaded directly from the Los Angeles City Clerk website at:

20                  https://cityclerk.lacity.org/councilagenda/AttachmentViewer.ashx?AttachmentID
21                  =51945&ItemID=50703
22
             54.    Upon information and belief, after accepting bribes and kickbacks from Onni
23
      Group in their unofficial capacities LA City Planning Commission took the following actions in
24
25    their official capacities on October 9, 2014: approved variances and other concessions for two

26    high-rise development towers, 31 and 40 stories in height, located between South Flower and
27
28
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 1    South Hope Streets, and West 12th Street and West Pico Boulevard, in downtown Los Angeles

 2    ("Project"), proposed by Onni.
 3
                   a. the Planning Commission abused its discretion in granting variances for the Project
 4
                      and allowing other deviations from the City Code and the Downtown Design Guide.
 5
                   b. As stated in the L.A.M.C. § 12.27, a variance is a "special privilege.” Onni’s project
 6
 7                    design decisions alone were not an adequate reason to grant special privileges

 8                    regarding compliance with the City's development standards. The Transfer of Floor
 9
                      Area Rights ("TFAR") Ordinance expressly states that projects utilizing the City's
10
                      TFAR option must comply with all such standards.
11
                   c. Onni would not have suffered unnecessary hardships if the requested variances
12
13                    were denied. There are no special circumstances on the Project site that warranted

14                    the variances, and the variances were not required for the preservation and
15                    enjoyment of a substantial property right.
16
                   d. Onni’s Project utilized a large proportion of the City's Convention Center floor area
17
                      rights (approximately 266,928 square feet).
18
19                 e. Upon information and belief, the LA City Planning Commission knowingly and

20                    willingly acted based on inaccurate and misleading information regarding the scope
21                    of the City's discretion under the TFAR Ordinance, in exchange for bribes and
22
                      kickbacks from Onni Group.
23
             55.      Upon information and belief, after accepting bribes and kickbacks from Onni
24
25    Group in their unofficial capacities PLUM Committee and Councilmembers Huizar, Gilbert A.

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 1    Cedillo (“Cedillo”), and Mitchell Englander4 (“Englander”) took the following actions in their

 2    official capacities on December 9, 2014:
 3
                 a. Approved, and recommended the City Council approve, Onni’s request to purchase
 4
                    the City's limited TFAR rights for a project that deviated from City development
 5
                    standards. Onni failed to provide more than $5,000,000 dollars in direct public
 6
 7                  benefits by refusing to commit to local hire and prevailing wages, as authorized by

 8                  the TFAR Ordinance.
 9
                 b. Approved the requested Variance from LAMC Section 12.21 G.2(a)(3) to provide
10
                    one tree per 11.1 dwelling units in lieu of one tree per four dwelling units (47 trees
11
                    in lieu of 131 trees).
12
13               c. Approved the requested Variance from LAMC Section 12.21 A.5(c) to permit

14                  compact stalls to be utilized as all required parking, in lieu of a maximum of 40%
15
                    of compact stalls for non-residential uses, and in lieu of a minimum of one standard
16
                    space for each residential unit.
17
                 d. Approved the requested Variance from LAMC Section 12.21 A.16(e)(2)(iii) to
18
19                  deviate from the location and access requirements for long-term bicycle parking,

20                  which requires specific locations for long-term bicycle parking in parking garages.
21
22
      4
23      In 2021, Englander was charged by the Justice Department with obstructing a corruption
      investigation. In 2022 Englander was sentenced to 14 months in federal prison for accepting cash
24    bribes from a developer who had business with and projects in LA City. Prosecutors have charged
25    nine other people and two developers in the so-called “Operation Casino Loyale,” including the
      alleged mastermind, former City Councilmember Jose Huizar. Huizar was charged with 41
26    criminal counts involving racketeering and fraud, with a criminal trial set for 2023.
27
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 1                 e. From 2014 through 2019, throughout Onni’s development of Hope + Flower, the

 2                    PLUM Committee knowingly and willingly acted based on inaccurate and
 3
                      misleading information approved other major variances that are discoverable via
 4
                      the LA City Clerk’s records. These variances helped line the pockets of corrupt
 5
                      politicians while simultaneously saving Onni Group millions of dollars at the
 6
 7                    expensive of depriving Angelenos of affordable housing.

 8    Los Angeles Housing + Community Investment Department ("HCID")
 9
             56.      Los Angeles Housing + Community Investment Department (HCID) serves as the
10
      head housing department for the City of Los Angeles. A core responsibility of HCID includes
11
      developing housing programs to expand access to housing to low-income, homeless, and special
12
13    needs populations/communities.

14                 a. HCID's Regulatory Compliance and Code Bureau serves as a resource center to
15
                      landlords and tenants, to provide information on their rights and responsibilities
16
                      under City and State Housing Code, Rent Stabilization Ordinance (RSO), and
17
                      evictions.
18
19                 b. HCID administers programs related to tenant protections and affordable housing

20                    production, while the City Planning Department creates plans for housing
21                    production and approves new construction, and Housing Authority of the City of
22
                      Los Angeles (HACLA) runs the City's limited stock of public housing.
23
                   c. Lastly, HCID acts as a research and data hub for government agencies and the
24
25                    general public on market trends and socio-economic factors around housing.

26                 d. The highest-ranking HCID employees are appointed by the City Council.
27    Los Angeles Housing Department ("LAHD")
28
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 1           57.      In 2012, responding to a statewide budget deficit due to the Great Recession, the

 2    State of California ended the legal authority for redevelopment activities, resulting in the closure
 3
      of the Community Redevelopment Agency of Los Angeles (CRA/LA). The City transferred
 4
      CRA/LA's housing assets to the Los Angeles Housing Department ("LAHD"). LAHD.
 5
                   a. Subsequently, LA City split up the Community Development Department
 6
 7                    ("CDD"), created the Economic and Workforce Development Department and

 8                    transferred CDD's community development functions to LAHD, which was
 9
                      renamed the Los Angeles Housing + Community Investment Department
10
                      (HCIDLA) in mid-2013.
11
                   b. In 2021, the LA City Council approved to split operations from HCIDLA including
12
13                    the creation of a new department and the renaming of the existing department. As

14                    of August 2021, HCIDLA officially became the Los Angeles Housing Department
15                    (LAHD).
16
                   c. The highest-ranking LAHD employees are appointed by the City Council.
17
18    Housing Element & Regional Housing Needs Assessment (RHNA)

19           58.      In the State of California, all cities are required to develop a General Plan, and the

20    Housing and Safety Elements are a required component of every city’s General Plan. The General
21
      Plan can be thought of as a city’s “constitution for development,” or the foundation upon which
22
      all land use decisions are to be based. It establishes policies and programs that assist decision
23
      makers as they review planning approvals for a new project or consider a proposed ordinance or
24
25    policy. the General Plan provides the foundational guide for planning, outlining how land is to be

26    used and how the City allocates its resources.
27
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 1           59.     Pursuant to Assembly Bill 686 (2018), the Housing Element must include an

 2    analysis and determination of consistency with Affirmatively Furthering Fair Housing (AFFH)
 3
      requirements. AFFH is defined as "taking meaningful actions, in addition to combating
 4
      discrimination, that overcome patterns of segregation and foster inclusive communities free from
 5
      barriers that restrict access to opportunity based on protected characteristics."
 6
 7           60.     The Los Angeles General Plan includes a total of 12 elements, covering specific
 8
      aspects of land use and planning, such as ecological conservation and infrastructure provision. The
 9
      General Plan is maintained by the Department of City Planning but intended to capture the work
10
      of all City Departments that have a role in land use and development decisions.
11
12
             61.      According to LA City’s General Plan:
13
14           To meet the 2021-2029 RHNA Allocation, the City needs to permit about 57,000 units per
             year; however, since 2014 the City has produced an average of 16,700 units per year,
15           indicating substantial changes are needed to achieve these housing goals. This need is most
             pronounced when considering the lower income Allocation. Of the City’s total 2021-2029
16
             RHNA, about 23,000 units per year should be affordable to lower income households (80%
17           of the area median income, or AMI, and below); however, the City has only produced an
             average of 1,650 affordable units per year since 2014.
18
             The Housing Element Update establishes a new Goal 2 focused on housing preservation
19           and tenant protections in order to elevate critical City priorities around housing stability.
20           This new goal is a recognition of the importance of maintaining existing affordable
             housing, enforcing existing and newly adopted tenant protections, keeping people housed,
21           and preventing displacement. The five goals that guide the 2021-2029 Housing Element
             are as follows:
22
                     GOAL 1: A City where housing production results in an ample supply of housing
23                   to create more equitable and affordable options that meet existing and projected
24                   needs.

25                   GOAL 2: A City that preserves and enhances the quality of housing and provides
                     greater housing stability for households of all income levels.
26
                     GOAL 3: A City in which housing creates healthy, livable, sustainable, and resilient
27                   communities that improve the lives of all Angelenos.
28
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 1                     GOAL 4: A City that fosters racially and socially inclusive neighborhoods and
                       corrects the harms of historic racial, ethnic, and social discrimination of the past
 2                     and present.
 3                     GOAL 5: A City that is committed to preventing and ending homelessness.
 4           Updated, new and noteworthy Policies (Pol.) supporting housing preservation and housing
 5           stability can be summarized as follows:

 6                 •   Strengthen the protection of tenants’ rights through enhanced RSO enforcement
                       and legal assistance (Pol. 2.1.4)
 7
                   •   Expand right of first refusal and ensure a no net loss of affordable units (Pol. 2.1.5)
 8
                   •   Promote acquisition and extension of expiring covenants (Pol. 2.1.5)
 9
                   •   Limit short-term rentals, residential conversions to hotels and vacancies (Pol. 2.1.6)
10
                   •   Develop local anti-displacement strategies with big investments (Pol. 2.1.7)
11
                   •   Expand individual and community ownership opportunities (Pol. 2.2.1)
12
                   •   Prioritize wealth generation for underserved communities (Pol. 2.2.3)
13
                   •   Protect communities, especially communities of color, from predatory lending, land
14                     acquisition, speculative real estate transactions (Pol. 2.2.5)
15
16           62.        The LA City Housing Plan is incorporated by reference, and can be downloaded
17
      directly         from      the       Los       Angeles         City       Clerk       website        at:
18
      https://planning.lacity.org/odocument/e5bf573f-0132-4cc6-a8ba-186931cca4e0
19
             63.        Pursuant to the LA City Housing Plan, LA City Council enacted legislation such
20
21    as the Tenant Anti-Harassment Ordinance (“TAHO”), but underfunded the departments charged

22    with enforcing the regulations. At the time of filing this complaint, LA City has not brought any
23    TAHO suits against any landlords, despite receiving thousands of tenant complaints.
24
             64.       LA City councilmembers enacted but failed to enforce laws that penalized
25
      landlords, developers and participants of a lucrative pay-for-play scheme. City Hall corruptions
26
27
28
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 1    and pay-for-play schemes hurt millions of Los Angeles’ most vulnerable residents, which are

 2    renters who spend more than 30% of their incomes on housing.
 3
               65.    Upon information and belief, benefits of Onni Group’s bribes to LA City
 4
      councilmembers included but were not limited to, LAHD and other departments refusing to
 5
      investigate housing discrimination complaints against Onni.
 6
 7             66.    Upon information and belief, Onni, LA City councilmembers, and other elected

 8    officials used threats, intimidation, or coercion, or attempted to interfere by threat, intimidation, or
 9
      coercion against LAHD employees to prevent the investigation of complaints involving the Onni
10
      Group.
11
               67.    At the time of filing this Complaint, Stillwell’s complaints to LAHD about Onni’s
12
13    theft of Stillwell’s COVID-19 rental assistance, and her multiple housing discrimination and safety

14    complaints have not been investigated. Stillwell’s last complaint to LAHD about Onni was in June
15    2022.
16
               68.    Onni, LA City councilmembers, and other elected officials used threats,
17
      intimidation, or coercion, or attempted to interfere by threat, intimidation, or coercion with
18
19    Stillwell’s exercise or enjoyment of rights secured by the Constitution or laws of the United States,

20    or of the rights secured by the Constitution or laws of California, in violation of Ca. Civil Code
21    §52.1
22
      RICO Scheme #2: Transient Occupancy Tax (TOT) Scheme
23
               69.    In 2017, Onni Group sought exceptions to the city's required set-asides for
24
25    affordable housing because it wanted out of its obligation to include nearly one hundred (100)

26    affordable units at Hope + Flower, a real estate project which was initially approved for 730
27
      residential units.
28
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 1           70.     On November 28, 2017 Onni applied for a Transit Occupancy Residential Structure

 2    conversion (“TORS conversion”). According to Onni's Application / Permit 17016-10000-35147
 3
      for Plan Check / Job No. B17LA21705 so that it could "CHANGE OF USE FOR PORTION OF
 4
      APARTMENT (R2) PERMANENT RESIDENTIAL TO (R1) TRANSIENT RESIDENTIAL
 5
      UNITS: TOWER 1 - LEVELS 10-16 AND 28 ; TOWER 2 - LEVELS 10-17 AND 36 . TOTAL #
 6
 7    OF UNITS = 207 UNITS."

 8           71.     A TORS conversion allows residential housing to be converted into hotel rooms.
 9
             72.     Once converted into TORS designation hotel rooms, former residential units are no
10
      longer counted when calculating Downtown Los Angeles' vacancy rate, which is used to determine
11
      the necessity of residential real estate projects. Accordingly, if a residential apartment is empty,
12
13    then it's considered a vacant unit. Conversely, a vacant hotel room, is just an empty hotel room

14    and not calculated in the vacancy rate.
15           73.     L.A.M.C. § 21.7 establishes the Transient Occupancy Tax (TOT), a 14% tax on the
16
      rent charged to transient guests in hotels, motels, and short-term rentals. In Fiscal Year 2022-2023,
17
      the TOT is projected to raise $263 million to pay for vital city services, and in recent years the
18
19    TOT has represented as much as 5% of General Fund revenue.

20           74.     Onni’s operation of Illegal hotels at Hope + Flower and Level were part of a tax
21    avoidance scheme. LA City failed to collect the tax and enforce its transient occupancy tax
22
      obligations on the Onni Group, in exchange for bribes and kickbacks of LA City councilmembers.
23
             75.      Seeking a TORS designation up front, allows real estate developers like Onni to
24
25    use news building as housing or hotel once the building is open, despite the project description

26    being approved and zoned for residential only.
27
28
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 1            76.      This unscrupulous reclassification scheme allows corrupt City Hall officials to

 2    reduce the Downtown vacancy rate thus creating a false scarcity and need for housing in
 3
      Downtown. The false justification leads to the "need" and subsequent approval for more real estate
 4
      development, which allows for more lucrative bribes in a massive pay-for-play scheme.
 5
              77.       For developers that can't market residentials units as apartments or condos, just
 6
 7    turn them into hotel rooms. That way you're turning a profit even if there really is no demand for

 8    housing. And the best part is, once you slap on the TORS designation,
 9
              78.      In 2017 local activists discovered that Onni was illegally offering residential units
10
      at Level Furnished Living (888 S. Olive Street) as hotel rooms. Instead of fining Onni, City Hall
11
      granted Onni grant a TORS conversion for 97 units at Level. It was approved as 303 residential
12
13    units

14            79.      L.A.M.C. § 21.7 establishes the Transient Occupancy Tax (TOT), a 14% tax on the
15
      rent charged to transient guests in hotels, motels, and short-term rentals. In Fiscal Year 2022-2023,
16
      the TOT is projected to raise $263 million to pay for vital city services, and in recent years the
17
      TOT has represented as much as 5% of General Fund revenue.
18
19            80.      Onni’s operation of Illegal hotels at Hope + Flower and Level were part of a tax

20    avoidance scheme. LA City failed to collect the tax and enforce its transient occupancy tax
21    obligations on the Onni Group, in exchange for bribes and kickbacks of LA City councilmembers.
22
              81.      At the time of filing this Complaint, Hope + Flower is not zoned or licensed as
23
      hotels, motels, or boarding houses as required by L.A.M.C. § 7.50.
24
25                  a. Since 2020 Onni was allowed to avoid paying the City of Los Angeles hundreds of

26                     thousands of dollars by bribing elected officials to operate its illegal hotel at Hope
27                     + Flower.
28
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 1    RICO Scheme #3: Up-Zoning Related Bribes

 2           82.     Upon information and belief, beginning in sometime in 2017 Huizar undertook an
 3
      initiative as the Chair to overhaul the City’s entire zoning guidelines.
 4
             83.      Upon information and belief, beginning sometime in 2017 through 2022, and at
 5
      the time of filing this Complaint, Councilmembers Huizar, Englander, DeLeon5, Cedillo, and other
 6
 7    Los Angeles elected officials6 and Councilmembers accepted bribes and kickbacks from Onni

 8    Group in exchange for up-zoning land that allowed Onni Group to avoid paying LA City millions
 9
      in public benefit payments and escape its obligations to provide affordable housing.
10
             84.     Sometime in 2018 Huizar flew to Vancouver, British Colombia, Canada, where
11
      Onni-BC is headquartered, and discussed rezoning the Downtown Community Plan Area (“Plan
12
13    Area”). The Plan Area is located in Huizar’s former and DeLeon’s current district, CD14.

14           85.     Upon information and belief, sometime in 2019, the PLUM committee agreed to
15
      Huizar’s rezoning of the Plan Area and agreed to move forward with the overhaul of LA City’s
16
      zoning ordinances after LA City’s Housing Element7 for 2021-2029 was approved.
17
18
      5 DeLeon was President pro tempore of the California State Senate, the highest-ranking democrat
19
      in California, from October 15, 2014 – March 21, 2018. DeLeon was proceeded Cedillo was served
20    from December 2, 2002 – November 30, 2010.
      6
21      On October 17, 2017, former Mayor Eric Gracetti (“Gracetti”) nominated Jennifer Barraza
      Mendoza (“Mendoza”) as a Commissioner on the Los Angeles Area Planning Commission
22    (“LAAPC”). At the time of Mendoza’s nomination, she was the political consultant to DeLeon,
      who was then the California Senate pro temp. Mendoza’s appointment was approved by Huizar’s
23    PLUM Committee. Mendoza served on the LAAPC from November 28, 2017 to September 16,
      2020. Mendoza’s LAAPC term ended one month before DeLeon’s term as the LA City
24
      Councilmember for CD14, which conveniently began on October 15, 2020. Mendoza currently
25    serves as DeLeon’s Chief of Staff. Gracetti’s appointment letter for Mendoza is incorporated by
      reference      and     can     be    accessed   at   the    LA       City  Clerk’s     website:
26    http://clkrep.lacity.org/onlinedocs/2017/17-1194_rpt_MAYOR_10-17-2017.pdf
      7
27     The Housing Element is a required component of every jurisdiction's General Plan and
      must comply with specific standards and requirements set by the state. The Housing
28
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 1           86.      On December 17, 2019 Onni withdrew its TOT application due to a bribed

 2    arrangement with Huizar and other City Councilmembers that would allow Onni to operate it
 3
      illegal hotels until the Plan Area up-zoning was completed.
 4
             87.      Upon information and belief, sometime in 2020 after Huizar’s arrest, Onni
 5
      demanded repayment of money it paid for up-zoning and or reassurances that the Plan Area would
 6
 7    still be up-zoned as previously agreed.      Several current PLUM Committee and LA City

 8    councilmembers accepted bribes to carry out Huizar’s rezoning plan for the Plan Area.
 9
             88.      On June 29, 2022 the California Department of Housing and Community
10
      Development (HCD) sent a letter to Planning Director Vince Bertoni confirming that the revised
11
      "Plan to House L.A." is in full compliance with the State Housing Element Law. The HCD letter
12
13    is incorporated by reference and can be accessed at              LA City Planning website:

14    https://planning.lacity.org/odocument/c30f832f-9f91-47ff-bcc0-
15
      69f33b197a11/LACityAdoptedIN062922.pdf
16
             89.      On September 27, 2022, PLUM Committee members DeLeon, Cedillo, and Curren
17
      Price (“Price”) approved Huizar’s up-zoning plan, which has been since rebranded as “DTLA
18
19    2040,” but contains proposed ordinances that will make the zoning applicable city-wide.

20                 a. Once enacted city-wide, the new zoning ordinances will remove thousands of
21                    residential units from the housing market, thus worsening LA City’s housing and
22
                      homeless crisis.
23
24
25    Element must be updated every eight years, with an additional progress report created
      annually. The 2021-2029 Housing Element was adopted by the Los Angeles City Council
26
      on November 24, 2021 but rejected by the State. On June 14, 2022, LA City Council
27    adopted the targeted amendments, which were ultimately accepted by the State, and will
      be in effect through 2029.
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 1                 b. LA City Council is expected to vote on DTLA 2040 before the end of 2022.

 2                 c. The PLUM Committee’s proposed ordinances for DTLA 2040 is incorporated by
 3
                      reference and can be accessed at the LA City Clerk’s website at:
 4
                      https://planning.lacity.org/pdiscaseinfo/document/Mjg4NTk0/1823a02c-
 5
                      5d95-4003-95c4-258347c32f18/pdd
 6
 7    Councilmembers violated Brown Act, Cal. Gov. Code § 54952.2

 8           90.      The Brown Act, Cal. Gov. Code § 54952.2 forbids the Los Angeles City Council
 9
      and its committees from meeting in secret to conduct its public business. The prohibition is found
10
      at §54952.2(b)(1), which states categorically that: “A majority of the members of a legislative
11
      body shall not, outside a meeting authorized by this chapter, use a series of communications of
12
13    any kind, directly or through intermediaries, to discuss, deliberate, or take action on any item of

14    business that is within the subject matter jurisdiction of the legislative body.”
15
                   a. There are both civil remedies and criminal misdemeanor penalties for Brown Act
16
                      violations pursuant to Cal. Gov. Code §§ 5460, 54960.1. Any person may also seek
17
                      declaratory and injunctive relief to find a past practice of a legislative body to
18
19                    constitute a violation of the Brown Act

20                 b. The civil remedies include injunctions against further violations, orders nullifying
21                    any unlawful action, and orders determining the validity of any rule to penalize or
22
                      discourage the expression of a member of the legislative body. The provision
23
                      relating to efforts to penalize expression may come up in the context of measures
24
25                    by the legislative body to censure or penalize one of its members for breaching

26                    confidentiality or other violations.
27
28
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 1           91.      Upon information and belief, several LA City Councilmembers, directly or through

 2    intermediaries, discussed pending motions, votes, rezoning CD14, and other subject matter
 3
      jurisdiction of the City Council in secret and in violation of the Brown Act.
 4
      92.    Upon information and belief, on the following dates Huizar had secret meetings with Onni
 5
             Group to discuss the zoning and permits for Hope + Flower, in violation of the Brown Act:
 6
 7                 a. Wednesday, January 11, 2017: “Dinner with Onni @ Terroni, located at 802 S

 8                    Spring St. Los Angeles, CA 90014”
 9
                   b. Saturday, March 24, 2018: “Dinner @ Beverly Hills (with Art Gasteulum & Mark
10
                      Spector, Vice President of Dev. CA at Onni Group of Comp. 618 N Beverly Dr,
11
                      Beverly Hills, CA 90210, USA 5pm-6pm”
12
13                 c. Saturday, March 24, 2018: “Dinner @ (Home of Mr. & Mrs. De Cotiis) (with Art

14                    Gasteulum & Mark Spector, Vice President of Dev. CA at Onni Group of Comp.
15                    618 N Beverly Dr, Beverly Hills, CA 90210, USA 6pm-7pm”
16
             93.      Sometime in October 2022, an audio recording of a secret Councilmember meeting
17
      that took place in October 2021, (“Secret Meeting”), was posted on Reddit.com. The Secret
18
19    Meeting, which violates the Brown Act, was attended by former LA City Council President Nury

20    Martinez (“Martinez”,) DeLeon, Cedillo, and former Los Angeles County Federation of Labor
21    President, Ron Herrera (“Herrera”).
22
                   a. The comments made during this meeting were extremely disturbing, exposing the
23
                      racism and bigotry of the meeting’s attendees. For example, Martinez made
24
25                    remarks about Councilmember Mike Bonin, who is white, and Bonin’s young son,

26                    who is Black. At one point, Martinez called Bonin a “little bitch” and referred to
27
28
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 1                 his son as “Parece changuito,” or “like a monkey.” She also said Bonin’s son had

 2                 misbehaved on a parade float and needed a “beatdown.”
 3
               b. Upon information and belief, during the October 2021 secret meeting, Martinez,
 4
                   DeLeon, Cedillo, and Herrera also discussed DTLA 2040, the rezoning, and
 5
                   rezoning of CD14 and citywide redistricting.
 6
 7             c. Every 10 years LA City undergoes a process called redistricting to redraw the maps

 8                 that determine each district. It is important that the districts are defined fairly and
 9
                   equally with the updated population sizes. According to the U.S. Constitution, all
10
                   electoral districts within a given redistricting map must contain approximately the
11
                   same number of people. The redistricting maps determine the allocation of political
12
13                 power and representation at every level of government (city, county, state and

14                 federal) across the nation for at least the next ten years.
15             d. On October 29, 2021, less than two weeks after the Secret Meeting, the Los Angeles
16
                   City Council Redistricting Commission8 (“LACCRC”) submitted its final report
17
                   with recommendations and map to LA City Council (C.F. 20-0668-S7).
18
19             e. On December 15, 2021, the LACCRC passed resolutions to adopt a final

20                 redistricting plan and report. The final redistricting plan, including shapefiles can
21                 be accessed and downloaded from the Los Angeles County Redistricting website
22
                   at https://redistricting.lacounty.gov/final_map_and_submissions/
23
24
25
      8 The Los Angeles City Council Redistricting Commissioners were appointed by former
26    Mayor Gracetti and confirmed by LA City Council pursuant to the Charter of the City
27    of Los Angeles.

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 1                 f. Upon information and belief, the LACCRC’s redistricting maps were unlawfully

 2                    discriminatory and based upon the racially discriminatory conduct of LA City’s
 3
                      elected officials through a series of secret meetings that violate the Brown Act.
 4
      LA City Councilmember Kevin DeLeon’s Refusal to Resign
 5
      94.    In late 2022, Martinez, Cedillo, and Herrera each resigned from their respective positions
 6
 7           after a recording of the Secret Meeting was posted on Reddit.com. However, DeLeon

 8           refuses to resign despite pleas from United States President Joseph R. Biden and California
 9
             Governor Gavin Newsom.
10
                   a. Upon information and belief, DeLeon’s refusal to resign places Angelenos at risk
11
                      for on-going and future corruption, as DeLeon has accepted bribes and kickbacks
12
13                    to carryout Huizar and Onni Groups prior unfinished plans.

14                 b. Upon information and belief, DeLeon laundered bribe money through several out-
15
                      of-state business including: Dallas-based Leon Capital Group
16
                      (www.leoncapitalgroup.com) and an Ohio based nonprofit, Northeast Ohio
17
                      Association for Hispanic Health, LLC (https://noahhsalud.org)
18
19                 c. DeLeon’s refusal to resign can potentially cost Los Angeles and California

20                    taxpayers for the costs of removal proceedings and litigation, if LA City agrees to
21                    cover expenses.
22
             95.      In California, legislators, public employees, and other public servants may face
23
      severe consequences for violating the public trust. The range of penalties includes censure,
24
25    removal from office, permanent disqualification from holding any state position, restitution,

26    decades in prison, and fines up into the hundreds of thousands of dollars.
27
28
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 1                 a. Pursuant to California’s Penal Code, bribing is punishable by imprisonment in the

 2                    state prison for two, three or four years. Cal. Penal Code § 85. Acceptance of a
 3
                      bribe is punishable by imprisonment in the state prison for two, three, or four years
 4
                      and, in cases in which no bribe has been actually received, by a restitution fine of
 5
                      not less than $4,000 or not more than $20,000 or, in cases in which a bribe was
 6
 7                    actually received, by a restitution fine of at least the actual amount of the bribe

 8                    received or $4,000, whichever is greater, or any larger amount of not more than
 9
                      double the amount of any bribe received or $20,000, whichever is greater. In
10
                      imposing a fine under this section, the court shall consider the defendant's ability
11
                      to pay the fine. Cal. Penal Code § 86. Shall also result in forfeiture of elected office.
12
13                    Cal. Penal Code § 88.

14                 b. Despite having laws and procedures in place, LA City and the State of California
15                    have not taken any legal action or steps towards the investigation and removal of
16
                      DeLeon and other corrupt elected officials. Thus, subjecting Angelenos to on-going
17
                      systemic corruption that deprives Angelenos of honest services from its elected
18
19                    officials, as well as millions of taxpayers’ dollars.

20           96.      This Court has the authority to enjoin the City of Los Angeles from covering
21    litigation costs related to DeLeon’s refusal to resign. This Court also has authority to enjoin LA
22
      City from enforcing any ordinances or legislation put forth by or voted on by DeLeon.
23
      RICO Scheme #4: City Contract Related Bribes
24
25           97.      Upon information and belief, Huizar and other LA City elected officials accepted

26    bribes and kickbacks from Onni Group in exchange for contracts with the City of Los Angeles.
27
28
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 1    The actual number of contracts existing between Onni Group and LA City is known by Defendant

 2    City of Los Angeles and is discoverable.
 3
             98.      According to LA City Council meeting Item No. 19-0607, on June 25, 2019 Huizar
 4
      motioned LA City Council to “AUTHORIZE the Department of General Services (GSD) to
 5
      negotiate and execute a new lease agreement with Onni Group dba Onni Times Square Limited
 6
 7    Partnership for office space located at 145 South Spring Street, for a term of five years, with four

 8    one-year options to extend.”
 9
                   a. According to LA City Council meeting Item No. 19-0607, on July 2, 2019 Huizar
10
                      motioned LA City Council to “TRANSFER OF FUNDS relative to a lease
11
                      agreement with Onni Group for office space located at 145 South Spring Street.
12
13                    Recommendation for Council action, SUBJECT TO THE APPROVAL OF THE

14                    MAYOR: AUTHORIZE the Controller to transfer $491,901 in Capital
15                    Improvement and Expense Program funds to the Department General Services
16
                      leasing account for all costs to be incurred in Fiscal Year (FY) 2019-20 “
17
                   b. The 5-year Onni Times Square lease is worth $1.46 million dollars.
18
19           99.       According to LA City Contract No. C-138578, in July 2021, LA City contracted

20    with Onni Group, to “provide emergency housing for those affected by the events on June 30th
21    where confiscated illegal fireworks resulted in the damage to several homes in Council District 9.”
22
      The initial contract was worth $300,000.
23
                   a. Onni provided housing at “the HOTEL, known as ONNI 888 OLIVE ST. LP
24
25                    located at: 888 South Olive Street, Los Angeles, CA 90014” According to Contract

26                    No. C-138578, “the representative of the HOTEL shall be: LEVEL Furnished
27                    Living, 888 South Olive Street Los Angeles, CA 90014”
28
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 1              b. Paragraph 5 of the contract contains “antidiscrimination provisions” that state in

 2                 relevant part, “HOTEL shall comply with the provisions of the Fair Employment
 3
                   and Housing Act (Government Code, Section 12900 et seq.), the regulations
 4
                   promulgated thereunder (California Code of Regulations, Title 2, Section 11000 et
 5
                   seq.), the provisions of Article 9.5, Chapter 1, Part 1, Division 3, Title 2 of the
 6
 7                 Government Code (Government Code, Sections 11135-11139.8), and the

 8                 regulations or standards adopted by the awarding City to implement such article.”
 9
                c. LA City Contract No. C-138578 is incorporated by reference and can be
10
                   downloaded from the LA City Clerk’s website at:
11
                   https://clkrep.lacity.org/onlinecontracts/2021/C-138578_c_7-20-21.pdf
12
13              d. The First Amendment to LA City Contract No. C-138578 (“1st Amendment”) was

14                 on September 2, 2021 and extended the contract through December 31, 2021 for a
15
                   total amount of $463,000. The 1st Amendment is incorporated by reference and
16
                   can be downloaded from the LA City Clerk’s website at:
17
                   https://clkrep.lacity.org/onlinecontracts/2021/C-138578_C_9-2-21.pdf
18
19              e. The Second Amendment to LA City Contract No. C-138578 (“2nd Amendment”)

20                 was on January 10, 2022 and extended the contract from January 1, 2022 through
21                 December 31, 2022. There is no total amount listed on the 2nd Amendment. The 1st
22
                   Amendment is incorporated by reference and can be downloaded from the LA City
23
                   Clerk’s website at: https://clkrep.lacity.org/onlinecontracts/2022/C-138578_C_01-
24
25                 10-2022.pdf

26    Onni Group’s business and building permits are revokable; Onni’s contracts are voidable
27
28
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 1           100.    Upon information and belief, all LA City contracts contain antidiscrimination

 2    provisions. As discussed in detail below, Onni breached each of its contracts with LA City by
 3
      continuing to participate in a pattern of discrimination that violate city, state, and federal housing
 4
      discrimination laws.
 5
             101.    Pursuant to L.A.M.C. §§ 93.0209, 98.0601 the Board of Building and Safety
 6
 7    Commissioners9 (“the Department”) can revoke city permits and approvals for real estate projects

 8    if the City Council finds that developers or their representatives engaged in corruption, made
 9
      material misrepresentations, or if the permits violate local, state, or federal laws.
10
                 a. Onni Group and their representatives engaged in corruption, knowingly made
11
                     material misrepresentations to obtain permits, building checks and pass inspections
12
13                   for Hope + Flower. Onni’s building permits at Hope + Flower is revokable pursuant

14                   to L.A.M.C. §§ 93.0209, 98.0601.
15
             102.    Pursuant to L.A.M.C. § 5.04.230 LA City Council can revoke Onni Groups
16
      business licenses if the City Council finds:
17
                     The building, structure, premises or equipment used to transact or conduct the
18                   business fails to comply with any applicable health, zoning, fire, or building and
19                   safety laws of the United States, the state of California, or the city; (2) The
                     licensee has knowingly made any false, misleading or fraudulent statement of
20                   material fact in the application for a business license, in the application for an
                     exemption pursuant to Section 5.04.180 of this chapter, or in any other report or
21                   statement required to be submitted to the business license officer; (3) The licensee
22                   or any of the licensee’s employees or agents has violated any provision of federal
                     or state law or any provision of this code or any other rule or regulation regarding
23                   the business premises or otherwise in transacting and carrying on the business;
                     or (4) Any other condition for which a business license application could be
24                   denied under Section 5.04.210 of this chapter.
25
26    9 Board of Building and Safety Commissioners were appointed by former Mayor

27    Gracetti Mayor and confirmed by LA City Council pursuant to the Charter of the City
      of Los Angeles.
28
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 1              a. As discussed herein, Onni Group used Hope + Flower to transact and conduct

 2                 unlawful business and criminal activity, and knowingly made any false, misleading,
 3
                   or fraudulent statements of material fact on their applications for business licenses.
 4
                   Onni Groups business permits in the City of Los Angeles are revokable pursuant to
 5
                   L.A.M.C. § 5.04.230.
 6
 7       103.      This Court has the authority to enjoin LA City from enforcing its proposed rezoning

 8          of the Plan Area, now known as “DTLA 2040,” because it materially reduces the amount
 9
            of affordable residential housing by allowing developers to convert thousands of residential
10
            units into hotels into hotel rooms.
11
                a. The proposed rezoning of Downtown Los Angeles (“DTLA”) was the result of
12
13                 corruption, bribes, and unlawful schemes that deprived Los Angeles’ residents of

14                 the honest services of its elected officials.
15              b. The proposed DTLA 2040 rezoning ordinances, violate the Brown Act (Cal. Gov.
16
                   Code § 54952.2), California’s No Net Loss (Senate Bill 166, codified at Cal. Gov.
17
                   Code § 65863), California’s Housing Element statues, codified at Cal. Gov't Code
18
19                 §§ 65580 et seq., and California’s Housing Crisis Act of 2019 (Senate Bill 330,

20                 codified at Cal. Gov. Code § 65863), which prohibits local jurisdictions from
21                 enacting new laws that would have the effect of reducing residential housing
22
                   withing their borders.
23
                c. Upon information and belief, LA City councilmembers, and other elected officials
24
25                 used threats, intimidation, or coercion, or attempted to interfere by threat,

26                 intimidation, or coercion with Stillwell and the Residents of Los Angeles’ exercise
27                 or enjoyment of rights secured by the Constitution or laws of the United States, or
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 1                 of the rights secured by the Constitution or laws of California, in violation of Ca.

 2                 Civil Code §52.1
 3
      Housing Discrimination
 4
         104.      California's Unruh Civil Rights Act, Cal. Civ. Code § 51(b) provides:
 5
                   All persons within the jurisdiction of this state are free and equal, and no matter
 6
                   what their sex, race, color, religion, ancestry, national origin, disability, medical
 7                 condition, genetic information, marital status, sexual orientation, citizenship,
                   primary language, or immigration status are entitled to the full and equal
 8                 accommodations, advantages, facilities, privileges, or services in all business
                   establishments of every kind whatsoever.
 9
10       105.      Cal. Civ. Code § 51(e)(6) of California's Unruh Civil Rights Act provides that "Sex,

11          race, color, religion, ancestry, national origin, disability, medical condition, genetic
12
            information, marital status, sexual orientation, citizenship, primary language, or
13
            immigration status” includes a perception that the person has any particular characteristic
14
            or characteristics within the listed categories.
15
16       106.      Cal. Gov. Code § 12955(a) of California’s Fair Employment and Housing Act

17          (“FEHA”) states:
18                 It shall be unlawful for the owner of any housing accommodation to discriminate
19                 against or harass any person because of the race, color, religion, sex, gender, gender
                   identity, gender expression, sexual orientation, marital status, national origin,
20                 ancestry, familial status, source of income, disability, veteran or military status, or
                   genetic information of that person.
21
22       107.      Cal. Gov. Code § 12955(m) of FEHA states:

23                 “race, color, religion, sex, gender, gender identity, gender expression, sexual
                   orientation, marital status, national origin, ancestry, familial status, source of
24                 income, disability, veteran or military status, or genetic information,” includes a
25                 perception that the person has any of those characteristics or that the person is
                   associated with a person who has, or is perceived to have, any of those
26                 characteristics.
27
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 1       108.        The Fair Housing Act, 42 U.S.C. §§ 3601 et seq. (“FHA”), prohibits discrimination

 2           because of race, color, religion, sex, familial status, and disability.
 3
         109.        Stillwell is a 38-year-old is an unmarried, Black, African American woman with
 4
             Native American ancestry. Stillwell has resided and continues to reside at Hope + Flower
 5
             apartments since March 2020.
 6
 7       110.        From March 2020 until June 2021, Stillwell resided at Hope + Flower with a co-

 8           tenant Felix Felder ("Felder"). Felder is a 37-year-old Black, African American man.
 9
         111.        At all relevant times, Stillwell and Felder resided on the twenty-first (21st) and
10
             twenty-eighth (28th) floors of the Hope Tower, where they were the only African American
11
             residents.
12
13       112.        Upon information and belief, less than five (5) percent of Hope + Flower residents

14           are African American.
15
      Discrimination because of Marital Status / Color/Race: Apartment #2914
16
      113.   On March 9, 2020, Felder paid $500.00 holding deposit for Apartment #2914 and paid an
17
         application fee of $47.50. According to Onni, Felder had 72 hours to complete his rental
18
19       application and be approved, otherwise Felder’s $500.00 holding fee would be forfeited.

20    114.   On March 9, 2020, Felder completed his portion of the rental application. According to
21       Onni, most rental applications are approved on the same day.
22
         115.        Onni’s rental application has a required question which states: “Martial Status” and
23
             the two available options are “single” and “married.”
24
25       116.        Upon information and belief, on or about March 9, 2020, Onni became aware that

26           Stillwell and Felder were unmarried after Felder completed his rental application.
27
28
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 1       117.      Cal. Gov. Code § 12955(b) of FEHA states make it unlawful for Onni to make or

 2          to cause to be made any written or oral inquiry concerning the marital status of any person
 3
            seeking to purchase, rent, or lease any housing accommodation.
 4
         118.      On March 9, 2020, an Onni leasing agent emailed Stillwell stating in part,
 5
                   Good Morning Brittany, Felix came by to tour a few two bedrooms and he narrowed
 6
                   down to a large two-bedroom two bath in the Hope Tower called the D14 floor
 7                 plan. The apartment he liked best is 2914 which looks at the Staples Center and the
                   city from the living room.” The email further stated, “With this home, you will
 8                 receive 6 weeks free on a 13-25 month lease in addition to a $500 move in rent
                   credit.
 9
10       119.      In March 2020, the monthly rent for Apartment #2914 was advertised as $ 4498 on

11          Hope + Flower’s website, and Onni was advertising eight (8), not six (6) weeks of free rent
12
            for new leases that were more than twelve (12) months long.
13
         120.      Upon information and belief, in March 2020, Onni offered similarly situated
14
            persons outside of Stillwell’s protected classes eight (8) of free rent for new leases that
15
16          were more than twelve (12) months long.

17       121.      Offering inferior terms, conditions, privileges, or services in connection with
18          renting, such as Onni offering Stillwell less than 8 weeks of free rent is an act of
19
            discrimination as defined by Cal. Gov. Code § 12927(c)(1), a discriminatory housing
20
            practice as defined by 42 U.S.C. § 3602(f), and unlawful housing discrimination as defined
21
22          by 24 C.F.R. § 100.50 (b)(2).

23       122.      On March 9, 2020, Onni knowingly and intentionally offered Stillwell inferior
24          terms, conditions, privileges, or services in connection with renting Apartment #2914
25
            because of Stillwell’s race and or color in violation of Cal. Civ. Code § 51(b), Cal. Gov.
26
27
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 1          Code § 12955(a), 42 U.S.C. § 3604(b), 24 C.F.R. § 100.60(a)(3), and 24 C.F.R.

 2          §100.50(b)(2).
 3
      More Stringent Income Criterion: Apartment #2914
 4
         123.      On March 11, 2020, Onni informed Stillwell that she needed to complete “occupant
 5
            screening” as part of Felder’s rental application. On March 11, 2020, Stillwell completed
 6
 7          Onni’s screening process, which asked several questions related to Stillwell’s employment,

 8          including the contact information for Stillwell’s employer, income, prior felonies, prior
 9
            evictions, date of birth, social security number, and marital status.
10
         124.      On March 11, 2020, Onni made inquiries concerning Stillwell’s marital status in
11
            violation of Cal. Gov. Code § 12955(b).
12
13       125.      On March 11, 2020, after Stillwell completed the Occupant screening, an Onni

14          leasing agent called Stillwell stating that Onni could not accept Stillwell’s foreign
15
            employment or foreign income. Onni further required Stillwell to remove her foreign
16
            employment and foreign income from the Occupant screening form.
17
         126.      On March 11, 2020, Stillwell at approximately 2:27PM, Stillwell updated the
18
19          following required responses on the Occupant screening: Country and Gross Monthly

20          Income. Stillwell changed Country from “Saudi Arabia” to “United States” and she
21          changed Gross Monthly Income from $50,000.00 to $13,500.00.
22
         127.      On March 11, 2020, at approximately 3:33PM, Onni emailed Stillwell and Felder
23
            stating in part, “It looks like the screening was not completed for Brittany because she did
24
25          not provide her social. Brittany, can you log back into the portal and enter your social

26          security number to complete the screening.”
27
28
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 1       128.        On March 11, 2020, Stillwell logged into Rent Cafe, an online portal Onni uses for

 2          rental applications, and noticed she was listed as “Roommate of Felix Felder” for
 3
            “Apartment #2727” and the rent listed was “$2,255 - $15,676.” A true and correct
 4
            screenshot of Stillwell’s Rent Cafe profile taken by Stillwell on March 11, 2020 appears
 5
            below:
 6
 7
 8
 9
10
11
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19
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21
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23
24
25       129.        On March 11, 2020, Stillwell called Onni to clarify the need for her social security

26          number and to confirm that Felder applied for Apartment #2914, not Apartment #2727.
27
28
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 1          Onni confirmed Felder applied for Apartment #2914 and stated Occupants are required to

 2          provide a social security number as part of its occupant screening process.
 3
         130.       Onni misrepresented to Stillwell that it collected Occupants’ social security
 4
            numbers for legal purposes such as needing to enforce a court order if an Occupant causes
 5
            damages.
 6
 7       131.       On March 11, 2020, Stillwell provided Onni with her social security number to

 8          complete the Occupant screening process.
 9
         132.       On March 11, 2020, at 6:04PM Onni emailed Stillwell and Felder stating in part,
10
            “The screening results came back as accepted for you, Brittany. I just need your income
11
            documents for the manager to approve the application. If you have your 2018 tax return,
12
13          you may provide that instead. I'll also need your 3 recent bank statements.”

14       133.       On or about March 12, 2020, Stillwell provided Onni three months of bank
15          statements and a copy her tax return, which included a Form 2555, for Foreign Earned
16
            Income. The Form 2555 listed Stillwell’s bona fide foreign residency in Saudi Arabia as
17
            beginning in 2017.
18
19       134.       On or about March 12, 2020, Onni verified Stillwell’s employment and income.

20       135.       On or about March 13, 2020, Onni informed Stillwell and Felder that they were not
21          approved for Apartment #2914 because Felder’s application was not completed by close
22
            of business on March 12, 2020. According to Onni, Felder’s credit report was the only item
23
            still pending.
24
25       136.       Upon information and belief, Onni verified’ Felder’s employment and income on

26          or about March 9, 2020.
27
28
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 1       137.      Onni does not subject its short-term renters to background, credit checks or

 2          stringent qualification criteria. Upon information and belief, Onni does not have a limit on
 3
            how long long-term renters can rent. Stillwell is aware of a least one short-term renter, who
 4
            was not a member of Stillwell’s protected class, who stayed at Hope + Flower for over
 5
            fifteen (15) months.
 6
 7       138.      On March 13, 2020, by Proclamation 9994, former President Donald Trump

 8          declared a national emergency concerning the coronavirus disease 2019 (COVID-19)
 9
            pandemic. California had declared a state of emergency nearly ten (10) days prior. Felder
10
            and Stillwell were both living in hotels desperate to secure housing.
11
         139.      On or about March 13, 2020, Felder made a Onni a bona fide offer to pay
12
13          $60,000.00 “up front,” which was the approximate cost of thirteen (13) months of rent in

14          Apartment #2914. Onni refused Felder’s bona fide offer because Felder’s credit report
15
            allegedly still pending.
16
         140.      On or about March 13, 2020, Stillwell made Onni a bona fide offer to pay the
17
            $60,000.00 up front to cover 13 months of rent in Apartment #2914. Onni refused
18
19          Stillwell’s bona fide offer stating it could only consider Stillwell’s “U.S. earned income”

20          and Stillwell’s banking statements reflected Stillwell’s foreign income.
21       141.      Cal. Gov. Code 12955(p) defines "source of income" as "lawful, verifiable income
22
            paid directly to a tenant or paid to a representative of a tenant." Stillwell's foreign earned
23
            income was lawful, verifiable income paid directly to Stillwell and considered a "source of
24
25          income" as defined by Cal. Gov. Code 12955(p).

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 1       142.      At all relevant times, Stillwell’s source of income was and is as “lawful, verifiable

 2          income paid directly to a tenant or paid to a representative of a tenant,” as defined by Cal.
 3
            Gov. Code §12955(p).
 4
         143.      Upon information and belief, over twenty (20%) of residents at Hope + Flower are
 5
            non-United States Citizens and / or foreign exchange students and persons who used
 6
 7          foreign earned income to qualify for apartments.

 8       144.      Upon information and belief, at all relevant times, Onni accepted foreign earned
 9
            income from similarly situated persons outside of Stillwell’s protected classes.
10
         145.      Pursuant to 24 C.F.R. §§100.60(a), 100.60(b)(1) and 100.60(b)(2), it is unlawful to
11
            refuse to rent an apartment to a person, or who has made a bona fide offer, because of race
12
13          or color. It is also unlawful to refuse to negotiate with a person, because of race or color.

14       146.      Onni’s exclusion of Stillwell’s foreign earned income, and Onni’s refusal to
15          consider, negotiate, or accept Stillwell’s offer to pay the rent for Apartment #2914 is an act
16
            of discrimination as defined by Cal. Gov. Code § 12927(c)(1), a discriminatory housing
17
            practice as defined by 42 U.S.C. § 3602(f), and unlawful housing discrimination as defined
18
19          by 24 C.F.R. §§ 100.50 (b)(1) and 100.50 (b)(3).

20       147.      On March 13, 2020, Onni knowingly and intentionally excluded Stillwell’s source
21          of income so that it could refuse Stillwell’s bona fide offer, because of Stillwell’s race and
22
            or color in violation of Cal. Civ. Code § 51(b), Cal. Gov. Code § 12955(a), 42 U.S.C. §
23
            3604(a), 24 C.F.R. § 100.60(a), and 24 C.F.R. §§100.50(b)(1) and 100.50(b)(3).
24
25       148.      On March 13, 2020, after refusing bona fide offers from Stillwell and Felder, Onni

26          informed Stillwell and Felder “the only way you two can rent an apartment today is if the
27          apartment in Brittany’s name,” or “you could wait until Felix’s application is processed.”
28
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 1       149.      On March 13, 2020, Onni offered to execute a “temporary” lease listing Stillwell

 2          the Tenant and Felder the Occupant. Onni stated once it received Felder’s credit report an
 3
            “updated” lease would be executed listing Felder as the Tenant and Stillwell as the
 4
            Occupant. Stillwell and Felder accepted this offer.
 5
         150.      On March 13, 2020, Onni informed Stillwell that rental applications are typically
 6
 7          approved same day and blamed the delay in receiving Felder’s credit report on COVID-19

 8          related business closures.
 9
         151.      Stillwell agreed to be the temporary primary Tenant on the lease for Apartment
10
            #2914, with Felder listed as an Occupant.
11
         152.      On March 13, 2020, after Stillwell agreed to sign the lease for Apartment #2914,
12
13          Onni informed Stillwell that she no longer met the income requirements for Apartment

14          #2914 because it could not consider Stillwell’s foreign earned income.
15       153.      On March 13, 2020, Onni informed Stillwell that the rent special for Apartment
16
            #2914 ended, and the new monthly rent was $4,772.00, and no longer $4,498.00. However,
17
            monthly rent for Apartment #2914 remained advertised as $4,498.00 on Hope + Flower’s
18
19          website.

20       154.      Upon information and belief, in March 2020, Onni offered Apartment #2914 to
21          Stillwell at a higher rental rate than it offered to similarly-situated persons outside of
22
            Stillwell’s protected classes.
23
         155.      On March 13, 2020, after excluding Stillwell’s foreign earned income, Onni stated
24
25          Stillwell was only qualified to rent apartments with monthly rents of $3,600.00 or less,

26          based on Stillwell’s net income.
27
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 1       156.       On March 13, 2020, Onni knowingly and intentionally used more stringent criterion

 2          to disqualify Stillwell from renting apartments at Hope + Flower with monthly rents that
 3
            exceeded $3,600.00, because of Stillwell’s source of income, race and or color in violation
 4
            of Cal. Civ. Code § 51(b), Cal. Gov. Code § 12955(a), 42 U.S.C. § 3604(b), 24 C.F.R. §§
 5
            100.60(b)(2) and 100.60(b)(3), and 24 C.F.R. §§100.50(b)(2) and 100.50(b)(3).
 6
 7       157.       On March 13, 2020, Onni knowingly and intentionally excluded Stillwell’s source

 8          of income so that it could refuse leasing Apartment #2914 to Stillwell, because of
 9
            Stillwell’s source of income, race and or color in violation of Cal. Civ. Code § 51(b), Cal.
10
            Gov. Code § 12955(a), 42 U.S.C. § 3604(b), 24 C.F.R. §§ 100.60(b)(2) and 100.60(b)(3),
11
            and 24 C.F.R. §§100.50(b)(2) and 100.50(b)(3).
12
13       158.       On March 13, 2020, Onni informed Stillwell that Felder’s income could not be

14          considered to determine Stillwell income qualifications, since Felder’s credit report was
15          still pending.
16
         159.       Pursuant to Cal. Gov. Code § 12955(n), it is unlawful for landlords to use a financial
17
            or income standard in the rental of housing that fails to account for the aggregate income
18
19          of persons residing together or proposing to reside together on the same basis as the

20          aggregate income of married persons residing together or proposing to reside together.
21       160.       Pursuant to 24 C.F.R. § 100.60(b)(4), its unlawful to use different qualification
22
            criteria or applications, or different rental standards or procedures, such as income
23
            standards, application requirements, application fees, credit analysis or sale or rental
24
25          approval procedures or other requirements, because of race, color, religion, sex, handicap,

26          familial status, or national origin.
27
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 1       161.       Upon information and belief, at all relevant times, Onni used the aggregate gross

 2          incomes of similarly situated, unmarried persons residing together or proposing to reside
 3
            together in determining whether applicants met its income criterions.
 4
         162.       On March 13, 2020, Onni knowing and intentionally excluded Felder’s income and
 5
            refused to use the aggregate gross incomes of Stillwell and Felder because they were
 6
 7          unmarried, and so that it could refuse leasing Apartment #2914 to Stillwell in violation of

 8          Cal. Civ. Code § 51(b), Cal. Gov. Code § 12955(a).
 9
         163.       Upon information and belief, at all relevant times, Onni used the aggregate gross
10
            incomes of similarly situated persons outside of Stillwell’s protected classes residing
11
            together or proposing to reside together in determining whether applicants met its income
12
13          criterions.

14       164.       On March 13, 2020, Onni knowing and intentionally excluded Felder’s income and
15          refused to use the aggregate gross incomes of Stillwell and Felder so that it could refuse
16
            leasing Apartment #2914 to Stillwell, because of Stillwell's race and or color in violation
17
            of Cal. Civ. Code § 51(b), Cal. Gov. Code § 12955(a), 42 U.S.C. § 3604(b), 24 C.F.R. §§
18
19          100.60(a) and 100.60(b)(4), and 24 C.F.R. §§100.50(b)(2) and 100.50(b)(3).

20       165.       Onni’s offer to lease Apartment #2914 to Stillwell at a higher rent is an inferior
21          term, conditions, privileges, or services, and is an act of discrimination as defined by Cal.
22
            Gov. Code § 12927(c)(1), a discriminatory housing practice as defined by 42 U.S.C. §
23
            3602(f), and unlawful housing discrimination as defined by 24 C.F.R. §§ 100.50 (b)(2) and
24
25          100.50 (b)(3).

26       166.       Onni’s use of an “occupant screening” application, refusal to consider Felder’s
27          income, and its different income requirements, rental standards, and qualification criteria
28
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 1          for Stillwell to lease Apartment #2914 are all acts of discrimination as defined by Cal. Gov.

 2          Code § 12927(c)(1), a discriminatory housing practice as defined by 42 U.S.C. § 3602(f),
 3
            and unlawful housing discrimination as defined by 24 C.F.R. §§ 100.50 (b)(2) and 100.50
 4
            (b)(3), and 24 C.F.R §§ 100.60(a) and 100.60(b)(4).
 5
         167.        On March 13, 2020, Onni knowingly and intentionally offered Stillwell higher rates
 6
 7          and used different qualification criteria to discourage Stillwell from renting for Apartment

 8          #2919, because of Stillwell’s race and or color in violation of Cal. Civ. Code § 51(b), Cal.
 9
            Gov. Code § 12955(a), 42 U.S.C. § 3604(b), 24 C.F.R §§ 100.60(b)(3) and 100.60(b)(4),
10
            and 24 C.F.R § 100.70(c)(1).
11
         168.        On or about March 13, 2020, Stillwell informed Onni she wanted to rent Apartment
12
13          #2118.

14       169.        Apartment #2118 has Floorplan B4 and is a 599 square foot one bedroom apartment
15          in Hope Tower. On March 13, 2020, the monthly rent advertised for Apartment #2118 on
16
            Hope + Flower’s website was $2,995.00.
17
         170.        All apartments with Floorplan B4 are only located in the Hope Tower at Hope +
18
19          Flower Apartments from floors 9 through 36. Floors 9 – 36 in the Hope Tower have the

20          same layout, and every Floorplan B4 apartment ends in -18. For example, Apartment #2118
21          is a Floorplan B4 unit located on the 21st floor of the Hope Tower.
22
         171.        On or about March 13, 2020, Stillwell asked Onni what additional information and
23
            documentation she would need to complete a Rental Application for Apartment #2118.
24
25          Onni informed Stillwell that she only needed to sign a document titled “Application Rental

26          Criteria” because Onni “accidentally” qualified Stillwell as Tenant, instead of an Occupant.
27
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 1       172.        On March 13, 2020, Stillwell signed Application Rental Criteria. A true and correct

 2          copy of Stillwell’s signed Application Rental Criteria is incorporated by reference and
 3
            attached as Exhibit F. According to Onni’s Application Rental Criteria
 4
                a. “A credit report is processed for every applicant.”
 5
                b. “A criminal background check is processed for every applicant.”
 6
 7              c.   “Applicant must show written proof of a minimum monthly gross income greater

 8                   than 2.5 times the monthly rent for the apartment,” which is a lower requirement
 9
                     than the “net income for three times the monthly rent” that Onni used to qualify
10
                     Stillwell.
11
         173.        Stillwell never authorized Onni to run a credit report or background check. Onni
12
13          knowingly and willingly obtained Stillwell’s social security number under false pretenses.

14       174.        On March 16, 2020, Stillwell noticed a feature in Rent Cafe titled “Alert and
15          Notifications” According to the notifications:
16
                a.   On March 12, 2020, Onni’s “Quoted rent changed from $3,814.00 to $3,964.00”
17
                b. On March 13, 2020 “Apartment Changed from Apt# 2727 to Apt #2118”
18
19              c. On March 13, 2020, Onni’s “Quoted rent changed from $3,964.00 to $3,175.00”

20              d. On March 15, 2020 “Move in Date changed from 3/16/2020 to 3/17/2020”
21              e. On March 16, 2020 “An occupant has been removed. Name: Brittany Stillwell”
22
                f. A true and correct screenshot Stillwell’s Rent Cafe Alerts and Notifications from
23
                     March 16, 2020, appears below:
24
25
26
27
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17       175.      On or about March 16, 2020, Stillwell discovered that Onni used the monthly rent

18          of Apartment #2727 to qualify Stillwell’s income to rent Apartment #2914. Stillwell never
19
            considered leasing Apartment #2727.
20
         176.      After Onni excluded Stillwell’s foreign earned income, Stillwell’s gross monthly
21
            income was reduced from $50,000.00 to $13,500.00.
22
23       177.      Upon information and belier, on or about March 12, 2022, after receiving Stillwell’s

24          proof of income, Onni arbitrarily applied a twenty (20%) reduction of Stillwell’s gross
25          income to calculate a net income of $10,800.00 to disqualify Stillwell from leasing
26
            Apartment #2914.
27
28
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 1       178.      On March 12, 2022, after calculating Stillwell net income, Onni increased the

 2          monthly rent for Apartment #2727 from $3,814 to $3,964, then qualified Stillwell’s income
 3
            for Apartment #2914 using three times the monthly rent of Apartment #2727.
 4
         179.      Based on Onni's Application Rental Criteria, when the monthly rent for Apartment
 5
            #2914 was $4,498.00, Stillwell and Felder's aggregate gross income needed to be $11,
 6
 7          245.00.

 8       180.      Based on Onni's Application Rental Criteria, when the monthly rent for Apartment
 9
            #2914 was $4, 772.00, Stillwell and Felder's aggregate gross income needed to be $11,
10
            930.00.
11
         181.      In March 2020, Stillwell and Felder's individual and aggregate gross incomes
12
13          exceeded the income requirements for Apartment #2914.

14    Inferior Leasing Terms: Apartment #2118
15
         182.      On March 14, 2020, Onni emailed Stillwell informing her that “application for 2118
16
            was approved” Attached to the emailed was a document titled “Welcome Letter_2118,”
17
            which is incorporated by reference and attached as Exhibit U.
18
19       183.      According to the Welcome Letter_2118, monthly rent for a thirteen (13) month

20          lease for Apartment #2118 was now $3,175.00 and Stillwell was only offered four (4)
21          weeks of free rent and no $500.00 move-in credit.
22
         184.      Upon information and belief, in March 2020, Onni offered similarly situated, non-
23
            African American potential renters eight (8) weeks of free rent and a $500.00 move-in rent
24
25          credit for new leases that were more than twelve (12) months long.

26       185.      On March 14, 2020, in connection with renting Apartment #2118, Onni knowingly
27          and intentionally offered Stillwell inferior terms, conditions, privileges, or services when
28
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 1          it offered Stillwell four (4) weeks of free rent and no $500.00 move-in credit, because of

 2          Stillwell’s race and or color in violation of Cal. Civ. Code § 51(b), Cal. Gov. Code §
 3
            12955(a), 42 U.S.C. § 3604(b), 24 C.F.R. § 100.60(a)(3), and 24 C.F.R. §100.50(b)(2).
 4
         186.      On March 16, 2020, Onni provided Stillwell with an eight (8) page lease for
 5
            Apartment #2118 that excluded Felder’s name as an Occupant. Onni informed Stillwell
 6
 7          that Felder could not be listed as an Occupant on the lease for Apartment #2118 until the

 8          lease was in force.
 9
         187.      On March 16, 2020, Stillwell signed a thirteen (13) month lease for Apartment
10
            #2118. The rent amount was $3,175.00 per month. The lease agreement began on March
11
            17, 2020, and ended on April 16, 2021, (“Temporary Lease”).
12
13       188.      The Temporary Lease is numbered consecutively “Page 1 of 8” through “Page 8 of

14          8” plus an unnumbered signature page, for a total length of (9) pages. Stillwell did not sign
15          any addendums to the Temporary Lease. A true and correct copy of the Temporary Lease
16
            is incorporated by reference and attached as Exhibit G.
17
         189.      The Temporary Lease was a legally valid and enforceable contract.
18
19       190.      Paragraph 10 SPECIAL PROVISIONS of the Temporary Lease states in relevant

20          part, “The following special provisions and any addenda or written rules furnished to you
21          at or before signing will become a part of this Lease Contract and will supersede any
22
            conflicting provisions of this printed Lease Contract form.”
23
         191.      Stillwell was not furnished any addenda or written rules until March 17, 2020, after
24
25          signing the Temporary Lease.

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 1       192.      On March 17, 2020, Onni provided Stillwell with a forty-eight (48) page document

 2          that included a signed copy of the Temporary Lease, plus thirty-nine (39) pages of unsigned
 3
            addenda, hereafter (“Lease Addenda.”)
 4
         193.      On March 17, 2020, Onni informed Stillwell that its standard practice is to provide
 5
            Lease Addenda to all residents after signing a lease because the Lease Addenda are
 6
 7          “notices” that California requires Onni to provide to tenants. Onni confirmed a lease

 8          addendum only become part of the lease if signed by Stillwell and Onni.
 9
         194.      Paragraph 2 OCCUPANTS of the Temporary Lease states “No one else may
10
            occupy the dwelling. Persons not listed above must not stay in the dwelling for more than
11
            7 consecutive days without our prior written consent, and no more than twice that many
12
13          days in any one month.”

14       195.      Paragraph 30 JOINT AND SEVERAL RESPONSIBILITY of the Temporary
15          Lease states in relevant part, “Each resident is jointly and severally liable for all Lease
16
            Contract obligations. If you or any guest or occupant violates the Lease Contract or rules,
17
            all residents are considered to have violated the Lease Contract.”
18
19       196.      Paragraph 32 DEFAULT BY RESIDENT states in relevant part, “You’ll be in

20          default if you or any guest or occupant violates any terms of this Lease Contract … Any of
21          the above defaults shall be a material breach of the Lease and shall be a just cause to evict
22
            you from the dwelling.”
23
         197.      On March 16, 2020, after Stillwell signed the Temporary Lease, Onni refused to
24
25          provide Stillwell with written consent for Felder to occupy Apartment #2118 pursuant to

26          Paragraph 2 of the Temporary Lease.
27
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 1       198.       Upon information and belief, Onni added spouses of married couples as Occupants

 2          to the lease.
 3
         199.       Upon information and belief, Onni provided written consent allowing Occupants to
 4
            similarly situated persons outside of Stillwell’s protected classes.
 5
         200.       Stillwell took possession of Apartment #2118 on March 17, 2020. Onni refused to
 6
 7          complete an initial walkthrough with Stillwell.

 8       201.       On March 18, 2020, Onni blocked Stillwell’s access to using the amenities at Hope
 9
            + Flower Apartments but allowed similarly situated persons outside of Stillwell’s protected
10
            classes access to use the amenities.
11
         202.       By March 27, 2020, Felder’s seven (7) consecutive days of occupancy in Apartment
12
13          #2118 was a material breach of the Temporary Lease and just cause to for Onni to evict

14          Stillwell and Felder. The material breach was a result of Onni’s omission of Felder from
15          the lease, and Onni’s refusal to provide Stillwell written consent
16
         203.       On May 23, 2020, more than sixty (60) days after singing the Temporary Lease,
17
            Onni informed Stillwell that it received Felder’s credit report. Onni also informed Stillwell
18
19          that she and Felder were qualified to rent apartments with monthly rents up to $20,000.00

20          based upon their combined incomes.
21       204.       On or about May 23, 2020, Onni emailed Stillwell and Felder an “updated” lease
22
            for Apartment #2118, which listed Stillwell and Felder as co-tenants. Onni informed
23
            Stillwell that it could not make her an Occupant on the “updated” lease for Apartment
24
25          #2118, despite the representations Onni made to Stillwell on March 13, 2020.

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 1       205.      On May 26, 2020, Felder signed the “updated lease” for Apartment #2118

 2          (hereafter “May 2020 Lease”). The May 2020 Lease contained the same terms and
 3
            conditions as the Temporary Lease.
 4
         206.      Onni uses an 8-page template containing fifty-five (55) paragraphs, titled ‘Lease
 5
            Contract’ that was created by the National Apartment Association, (hereafter “Standard
 6
 7          Onni Lease”). Every Standard Onni Lease offered by Onni to Hope + Flower tenants

 8          contains the same standard contracting language.
 9
         207.      The May 2020 Lease is numbered consecutively “Page 1 of 8” through “Page 8 of
10
            8” plus an unnumbered signature page, for a total length of (9) pages. Stillwell did not sign
11
            any addendums to the May 2020 Lease. A true and correct copy of the May 2020 Lease is
12
13          incorporated by reference and attached as Exhibit H.

14       208.      The May 2020 Lease was a legally valid and enforceable contract.
15       209.      On March 13, 2020, and March 16, 2020, Onni knowingly and intentionally
16
            misrepresented to Stillwell that once it received Felder’s credit report, an “updated” lease
17
            for Apartment #2118 would be executed listing Stillwell as an Occupant and Felder as the
18
19          Tenant.

20       210.      Onni offered Stillwell inferior terms, conditions, privileges, and or services for
21          Apartment #2118, because of Stillwell’s race and or color in violation on the following
22
            dates: March 13, 2020, March 14, 2020, March 16, 2020, March 17, 2020, March 18, 2020,
23
            May 23, 2020, May 25, 2020. Onni’s conduct is an act of discrimination as defined by Cal.
24
25          Gov. Code § 12927(c)(1), a discriminatory housing practice as defined by 42 U.S.C. §

26          3602(f), and unlawful housing discrimination as defined by 24 C.F.R. §§ 100.50 (b)(2) and
27          100.50 (b)(3), and 24 C.F.R. § 100.70.
28
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 1    RICO Scheme #5 Unlawfully Withholding Tenant Deposits

 2       211.      Under Cal. Civ. Codes §§ 1959.5, 1940.5(g) California law, a landlord must return
 3
            the renter's security deposit, with an itemized statement of deductions, within 21 days after
 4
            the renter has surrendered the rental property to the landlord.
 5
         212.      Upon information and belief, from March 2020 and at the time of filing this
 6
 7          complaint, Onni developed and continues to engage in a scheme to defraud residents of

 8          Hope + Flower out of their rental deposits. Onni accomplishes this scheme by charging
 9
            residents excessive fees and charges, then refusing to provide its tenants with an itemized
10
            statement of deductions as required by California law.
11
         213.      On August 31, 2020, Stillwell completed an exit tour of Apartment #2118 with
12
13          Onni, returned the key fobs, and vacated the apartment.

14       214.      On September 1, 2020, Onni informed Stillwell that her $500 deposit for Apartment
15          #2118 would become the deposit for Apartment #2814 since there was no damage in
16
            Apartment #2118.
17
         215.      In August 2022, Stillwell discovered that Onni charged her excessive fees for
18
19          utilities and cleaning which equaled exactly $500.00. Specifically,

20              a. On September 1, 2020, Onni charged Stillwell $100.18 for a “Miscellaneous
21                 Income”
22
                b. On September 3, 2020, Onni charged Stillwell twice for common area electric,
23
                   sewer, water, gas allegedly accrued from “08/01/20 to 09/01/20.” The cost of
24
25                 utilities totaled $189.82.

26              c. On September 3, 2020, Onni charged Stillwell $140.00 for paint and drywall, and
27                 $70 for a “clean fee”
28
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 1              d. The charges listed in subparagraphs a-c equal $500.00, the amount of Stillwell’s

 2                 deposit. Stillwell had autopay set up and became aware of Onni’s excessive utility
 3
                   charges in August 2022.
 4
                e. In September 2020, Onni failed to return Stillwell’s $500 deposit for Apartment
 5
                   #2118, and never provided Stillwell an itemized statement of deductions, in in
 6
 7                 violation of Cal. Civ. Codes §§ 1959.5 and 1940.5(g)

 8              f. Below is a true and correct screenshot of Stillwell’s payment account for Apartment
 9
                   #2118 reflecting these charges:
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26       216.      On October 26, 2020, Onni charged Stillwell a $500.00 deposit for Apartment

27          #2814, after previously stating Stillwell's $500 deposit from Apartment #2118 would be

28
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 1          transferred to Apartment #2814. Stillwell had autopay set up and became aware of Onni’s

 2          duplicate security deposit for Apartment #2814 in August 2022.
 3
         217.      In August 2022, Stillwell became aware of Onni’s scheme to unlawfully withhold
 4
            deposits from Hope + Flower residents after reading Yelp.com reviews of other Hope +
 5
            Flower residents whose deposits were never returned.
 6
 7    Overcharged Rent for Apartment #2118

 8       218.      In March 2020, Onni leasing agents informed Stillwell that the monthly rent for
 9
            apartments in the Hope Tower are calculated by using the monthly rent, of any Floorplan
10
            on the 9th Floor and adding $15.00 per floor. The least expensive Floorplan B4 unit is
11
            Apartment #918 and the most expensive Floorplan B4 unit is Apartment #3618.
12
13       219.      Upon information and belief, in March 2020 the monthly rent for Apartment #918,

14          the least expensive Floorplan B4 unit, was $2,805.00, and the monthly rent for Apartment
15
            #3618, the most expensive Floorplan B4 unit, was $3,186.00. The advertised monthly rent
16
            for Apartment #2118, was $2,995.00.
17
         220.      Upon information and belief, the monthly rents at Hope + Flower have increased at
18
19          least twenty (20) percent since March 2020.

20       221.      Upon information and belief, in September 2022 the monthly rent for Apartment
21          #918 was $2,987.00. In September 2022, the advertised monthly rent for Apartment #3618,
22
            the most expensive Floorplan B4 unit available, was $3,158.00, which is less expensive
23
            than the rent Onni charged Stillwell for Apartment #2118 more than two years ago.
24
25       222.      Upon information and belief, Onni advertised and quoted a Stillwell higher rent for

26          Apartment #2118 than similarly situated persons outside of Stillwell’s protected classes.
27
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 1       223.        From March 17, 2020 until August 31, 2020, Onni overcharged Stillwell for rent

 2          six (6) times. Onni overcharged Stillwell at least $180.00 per month to rent Apartment
 3
            #2118, because of Stillwell’s race and or color in violation of Cal. Civ. Code § 51(b), Cal.
 4
            Gov. Code § 12955(a), 42 U.S.C. § 3604(b), 24 C.F.R. § 100.60(a)(3), and 24 C.F.R.
 5
            §100.50(b)(2).
 6
 7    Second Refusal to Lease Apartment #2914

 8       224.        Onni advertised and offered Hope + Flower residents ten (10) weeks of free rent
 9
            toward their new rentals of larger apartments with lease terms of at least 13 months on the
10
            following dates: July 20, 2020, August 14, 2020, August 26, 2020, September 16, 2020,
11
            October 23, 2020, and November 16. 2020.
12
13       225.        On or about August 20, 2020, Stillwell informed Onni informed she wanted to rent

14          Apartment #2914. Onni informed Stillwell that Apartment #2914 was available for rent
15
            with a monthly rent of $4,498.00.
16
         226.        Apartment #2914 is a Floorplan D14 and is a 1,028 square foot two-bedroom
17
            apartment in Hope Tower. In March 2020, Onni refused to rent to Stillwell Apartment
18
19          #2914.

20       227.        All apartments with Floorplan D14 are only located in the Hope Tower at Hope +
21          Flower Apartments from floors 9 through 36. Floors 9 – 36 in the Hope Tower have the
22
            same layout, and every Floorplan D14 apartment ends in -14. For example, Apartment
23
            #2914 is a Floorplan D14 unit located on the 29th floor of the Hope Tower.
24
25       228.        On or about August 24, 2020, Onni informed Stillwell that Apartment #2914 was

26          no longer available for rent because the apartment needed to be painted. Onni stated the
27
28
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 1          painting would not be completed before September 1, 2020. Onni recommended Stillwell

 2          rent Apartment #2814, which Onni stated had a monthly rent of $4,158.00.
 3
         229.        Based on Onni’s purported monthly rent increases of $15.00 per floor, the rent for
 4
            Apartment #2814 should have been $15.00 per month less than the rent for Apartment
 5
            #2914.
 6
 7       230.        Notable differences between Apartment #2914 and Apartment #2814 were the

 8          color of the finishings, the view of Staples Center, and the cost of rent. Apartment #2914
 9
            has dark brown finishings, and darker floors which Stillwell preferred. Apartment #2814
10
            has light brown finishings, and lighter floors. Stillwell also preferred the view of Apartment
11
            #2914 over the view of Apartment #2814. Apartment #2814 is located on the 28th floor of
12
13          Hope Tower, which Onni designated for short-term rentals and hotel stays, thus making

14          the 28th floor more prone to criminal activity.
15
         231.        On or about August 24, 2020, Stillwell agreed to rent Apartment #2814 for thirteen
16
            (13) months at a monthly rental rate of $4,158.00, and provided Onni with a Move-Out
17
            Notice, pursuant to Paragraph 48 MOVE-OUT NOTICE of the May 2020 Lease.
18
19       232.        Stillwell’s Move-Out Notice stated Stillwell would vacate Apartment #2118 by

20          11:59PM on September 1, 2020, to take possession of Apartment #2814.
21       233.        On August 26, 2020, at approximately 1:12pm, Onni emailed Stillwell a lease for
22
            Apartment #2814. The monthly rent was listed as $4752.00, which was $594.00 per month
23
            more expensive than the rate Onni originally told Stillwell.
24
25       234.        Onni informed Stillwell that it was no longer offering ten (10) weeks of free rent,

26          therefore the monthly rent for Apartment #2814 was now $4752.00.
27
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 1       235.      On August 26, 2020, at approximately 1:56PM, Onni emailed Hope + Flower

 2          residents, an advertisement offering Hope + Flower residents ten (10) weeks of free rent
 3
            toward their new rentals of larger apartments with lease terms. The email also advertised
 4
            Apartment #2914 as available with a monthly rent of $4,4998.00.
 5
         236.      On August 26, 2020, Stillwell asked a similarly situated persons outside of
 6
 7          Stillwell’s protected classes named “John” to inquire about the availability of Apartment

 8          #2914. Onni informed “John” that Apartment #2914 was “move-in ready” and confirmed
 9
            Apartment #2914 was available for lease on September 1, 2020.
10
         237.      On August 26, 2020, after confirming availability, “John” scheduled a tour of
11
            Apartment #2914. “John” informed Onni that he was out of town and would be sending an
12
13          agent to view Apartment #2914 on his behalf.

14       238.      On August 27, 2020, Stillwell toured Apartment #2914 on behalf of “John.”
15          Immediately after touring and confirming the move-in readiness of Apartment #2914,
16
            Stillwell recorded a video of Apartment #2914 to document her findings, (hereafter,
17
            "Apartment 2914 Tour Video").
18
19       239.      Apartment 2914 Tour Video is one minute and seventeen (17) seconds in length.

20          Stillwell uploaded the Apartment 2914 Tour Video to a secure cloud drive to make the
21          video available and accessible for viewing. A true and correct copy of the Apartment 2914
22
            Tour Video can be accessed and viewed at https://link.brittstillwell.com/Apt-2914-toured-
23
            on-08-27-2020 Stillwell incorporates the Apartment 2914 Tour Video by refence.
24
25       240.      Below are two true and correct screenshots taken from the Apartment 2914 Tour

26          Video. Both screenshots are time stamped “August 27, 2020 11:00 AM”
27
28
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18
         241.      On August 27, 2020, after touring Apartment #2914, Stillwell toured Apartment
19
            #2814 and noted several things that needed repair including the refrigerator and the
20
21          electricity in the guest bedroom.

22       242.      On August 27, 2020, at approximately 11:35am, Stillwell emailed Onni stating in
23
            part, "In addition to being cleaned, “There are several things that need to be repaired in
24
            2814 prior to move-in. Will these repairs be completed by September 1st"
25
26
27
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 1       243.        On or about August 27, 2020, Onni confirmed all repairs, painting, and cleaning

 2          for Apartment #2814 would be completed before Stillwell took possession on September
 3
            1, 2020.
 4
         244.        On August 27, 2020, Stillwell showed Onni its August 26, 2020, email that
 5
            advertised ten (10) weeks of free rent to other residents, and the Apartment 2914 Tour
 6
 7          Video.

 8       245.        On August 24, 2020, and August 27, 2020, Onni misrepresented to Stillwell that
 9
            Apartment #2914 was not available for lease because of Stillwell’s race and or color in
10
            violation of Cal. Civ. Code § 51(b), Cal. Gov. Code § 12955(a), 42 U.S.C. § 3604(d), and
11
            24 C.F.R. §§ 100.50 (b)(3) and 100.50 (b)(5).
12
13       246.        On August 26, 2020, Onni offered Stillwell inferior terms, conditions, privileges,

14          and or services for Apartment #2814, because of Stillwell’s race and or color in violation
15          of Cal. Civ. Code § 51(b), Cal. Gov. Code § 12955(a), 42 U.S.C. § 3604(b), 24 C.F.R. §
16
            100.60(a)(3), and 24 C.F.R. §100.50(b)(2).
17
         Inferior Leasing Terms (Apartment #2814): August 2020 Lease
18
19       247.        On or about August 28, 2020, Onni informed Stillwell that she was required to pay

20          a $500.00 for transfer fee. Similarly situated persons outside of Stillwell’s protected classes
21          were not charged a transfer fee to move into larger apartments.
22
         248.        On or about August 28, 2020, Onni agreed to honor its advertisement of ten (10)
23
            weeks free rent and offered to rent Stillwell Apartment #2814 with the monthly rent of
24
25          $4158.00. According to Onni, the monthly rent of $4158.00 was equivalent to ten weeks

26          of free rent, based on a 13-month lease.
27
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 1       249.      Onni informed Stillwell it calculated the rent for Apartment #2814 by subtracting

 2          the 10-week cost of rent for Apartment #2814, form the 13-month cost of rent, then
 3
            dividing this number by thirteen (13).
 4
                a. Onni calculated the 10-week cost of rent dividing $4752 by four (4), making each
 5
                   week of rent was equivalent to $1,188.00. Ten (10) weeks of free rent was
 6
 7                 equivalent to $11,880.00.

 8              b. Onni calculated the 13-month cost of rent by multiplying $4752 by thirteen (13),
 9
                   for total cost of $61,776.00.
10
                c. The 10-week cost of rent, subtracted from the 13-month cost of rent for Apartment
11
                   #2814, divided by thirteen (13) equals $3,838.15.
12
13       250.      On August 31, 2020, less than 24 hours before Stillwell was to take possession of

14          Apartment #2814, Onni emailed Stillwell the lease for Apartment #2814. The monthly rent
15          stated in the lease was $4752.00, not $4158.00. The lease also included a rental
16
            “concession” in the amount of $8,316.00, which was equivalent to seven (7) weeks of rent.
17
            Applying Onni’s calculation for rent, the rent for Apartment #2814 was now equivalent to
18
19          $4,112.00 per month.

20       251.      On August 31, 2020, the rent Onni offered Stillwell for Apartment #2814 was
21          approximately $274.00 per month more expensive than the rates offered to similarly
22
            situated persons outside of Stillwell’s protected classes.
23
         252.      On August 31, 2020, after Stillwell complained to Onni about the terms, Onni
24
25          informed Stillwell that if she did not accept the new lease terms, then Stillwell would vacate

26          Apartment #2118 by 11:59PM on September 1, 2020, pursuant to her Move-Out Notice.
27
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 1       253.      On August 31, 2020, Stillwell was forced to accept Onni's new rental terms and

 2          higher rent, or risk being homeless during the height of the COVID-19 pandemic.
 3
         254.      On August 31, 2020, Stillwell signed a thirteen (13) month lease for Apartment
 4
            #2814. The rent amount was $4,752.00 per month. The lease agreement began on
 5
            September 1, 2020 and ended on October 31, 2021 (“August 2020 Lease”).
 6
 7       255.      The August 2020 Lease is numbered consecutively “Page 1 of 8” through “Page 8

 8          of 8” plus an unnumbered signature page, for a total length of (9) pages. Stillwell did not
 9
            sign any addendums to the August 2020 Lease. A true and correct copy of the August 2020
10
            Lease is incorporated by reference and attached as Exhibit I.
11
         256.      The August 2020 Lease was a legally valid and enforceable contract.
12
13       257.      Stillwell took possession of Apartment #2814 on September 1, 2020. At all relevant

14          times, Stillwell was listed as the Primary Resident of Apartment #2814, where she currently
15          resides.
16
         258.      On August 28, 2020 and On August 29, 2020, Onni offered Stillwell inferior terms,
17
            conditions, privileges, and or services for Apartment #2814, because of Stillwell’s race and
18
19          or color, in violation of Cal. Civ. Code § 51(b), Cal. Gov. Code § 12955(a), 42 U.S.C. §

20          3604(b), 24 C.F.R. § 100.60(a)(3), and 24 C.F.R. §100.50(b)(2).
21    Overcharged Rent for Apartment #2814: August 2020 Lease
22
         259.      Upon information and belief, Onni advertised and quoted a Stillwell higher rent for
23
            Apartment #2814 than similarly situated persons outside of Stillwell’s protected classes.
24
25       260.      From September 1, 2020 until October 31, 2021, Onni overcharged Stillwell for

26          rent thirteen (13) times. Onni overcharged Stillwell at least $274.00 per month to rent
27          Apartment #2814, because of Stillwell’s race and or color in violation of Cal. Civ. Code §
28
                       VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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 1          51(b), Cal. Gov. Code § 12955(a), 42 U.S.C. § 3604(b), 24 C.F.R. § 100.60(a)(3), and 24

 2          C.F.R. §100.50(b)(2).
 3
       Tenant Anti- Harassment Ordinance (“TAHO”): L.A.M.C. §§ 45.30 et. seq.
 4
         261.      On June 23, 2021, the Los Angeles City Council adopted the Tenant Anti-
 5
 6          Harassment Ordinance #187109 ("TAHO") which prohibits the landlord’s knowing and

 7          willful harassment directed at a specific tenant or tenants. TAHO applies to all residential
 8          units in the City of Los Angeles. TAHO is codified under L.A.M.C. §§ 45.30 45.30 et. seq
 9
            and became effective August 6, 2021.
10
         262.      Under TAHO, the unlawful harassing behavior must cause detriment or harm, such
11
12          as an overpayment in rent, property damage, or wrongful eviction. Further, the harassing

13          conduct must have no lawful purpose. TAHO also makes violations a criminal offense.
14          Stillwell incorporates TAHO, L.A.M.C. §§ 45.30 45.30 et. seq l, by reference.
15
         263.      Onni and Onni-BC are landlords as defined by L.A.M.C. § 45.32. Stillwell is a
16
            tenant as defined by L.A.M.C. § 45.32.
17
         264.      From September 1, 2021, until October 31, 2021, Onni knowingly and willfully
18
19          overcharged Stillwell for rent twice for Apartment #2814, because of Stillwell’s race and

20          or color in violation of L.A.M.C. § 45.33(13). Each act constitutes a separate TAHO
21
            violation.
22
      Hope + Flower Resident Complaints About Safety via YELP REVIEWS
23
         265.      Upon information and belief, YELP is one of the premier marketing tools used by
24
25          Onni to promote living at Hope + Flower. The YELP Reviews of Hope + Flower

26          consistently showed a 4.0 Star Rating. However, upon information and belief, the 4.0 Star
27
            Rating was achieved through misrepresentation.
28
                         VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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 1       266.      Upon information and belief, Yelp was relied upon by Hope + Flower residents,

 2          like Stillwell, to remain informed of the criminal activity and safety issues at Hope +
 3
            Flower, as many residents were not part of Hope + Flower's Tenant Group.
 4
         267.      Upon information and belief, many Hope + Flower residents resorted to writing
 5
            YELP reviews after receiving no response from Hope + Flower management, because it
 6
 7          was widely known that Onni management typically acknowledged YELP reviews with a

 8          reply within one business day.
 9
         268.      At the time of filing this Complaint, there are 208 reviews of Hope + Flower. The
10
            oldest review is dated January 8, 2020, and the most recent review is dated September 1,
11
            2022. At least 122 of these reviews are one-star ratings and at least 15 of these reviews are
12
13          two-star ratings, mostly from former and current Hope + Flower. Seventy-five (75) reviews

14          are not currently recommended, and at least ten (10) one-star reviews have been removed.
15          These numbers do not reflect the number of reviews that have been deleted by tenants like
16
            Stillwell, after being threatened or harassed by Onni, as discussed further below.
17
         269.      Upon information and belief, many reviews containing video and photos of
18
19          criminal conduct has been removed. In December 2021, Onni filed an unlawful detainer

20          suit against Stillwell after she posted a review that contained evidence of criminal conduct
21          at Hope + Flower. Onni offered to dismiss the suit against Stillwell and honor her leasing
22
            agreement if Stillwell agreed to remove and never repost her Yelp review.
23
         270.      Below are excerpts from twelve (12) YELP reviews from former, current, and or
24
25          prospective Hope + Flower residents. The thirteen YELP reviews, in their entirety,

26          (hereafter "YELP Reviews") are incorporated by reference and attached as Exhibit J. The
27          YELP Reviews voice concerns like the allegations made by Stillwell in this Complaint.
28
                       VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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 1       271.      On October 5, 2020, Brandon B. states in their Yelp review:

 2                         There have also been two separate "gun incidents" within the building.
                           Management has acknowledged one via email but provided no details other
 3
                           than a "gun went off." All we know is that a gun was fired and it traveled
 4                         through a wall into a neighboring unit. No idea what actions were taken to
                           prevent this from happening again.
 5
                           ONNI has allowed several floors to be used as "short term rentals." This
 6
                           was a specific concern of ours and we were told explicitly by the leasing
 7                         agent that "this building will have NO short term rentals." This was a flat
                           out lie. If we had known we would be living in a glorified hotel during this
 8                         pandemic we would have never moved here.
 9
                a. Brandon's YELP review on October 5, 2020 included four photos, one of which,
10
                   upon information and belief, is a photo of a dispensary that was operated in the
11
                   Hope Tower in 2020 and contained the following caption "some units are
12
13                 dispensaries. Which is convenient if we didn't have guns being fired all the time."

14              b. Below is a true and correct copy of the photo that appears in Brandon's review:
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                      VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
                                         - 76 -
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 1
 2
 3
 4
         272.      On June 28, 2020, Leo S from states on their YELP review:
 5
                           Many of the 5-stars are fake or people who don't even live here or just
 6
                           moved in. Staff will ask you for one, which I'm sure the managers force
 7                         them to do.

 8                         Pay attention to the updated reviews (and longer ones) from PEOPLE WHO
                           ACTUALLY LIVE HERE!!!"
 9
10
         273.      On June 11, 2020, Luis R states in their Yelp review:
11
                           Don't be fooled. Most of the 5 star reviews are from a brokers event that My
12
                           friend came to she says they incentivized people for leaving reviews and
13                         others have to be fake. I've lived here 3 months and can assure you I will
                           not be resigning my lease.
14
         274.      On November 29, 2021, Beejoli states in their Yelp review:
15
16                         Not a safe building for women. I moved out of here after less than a year
                           due to the fact that the management did not enforce any consequences
17                         against bad actors, and I had my safety threatened and was physically
                           shoved by an older male resident when asking him to wear a mask. Utility
18                         prices soared while living there with no explanation, and management
19                         refused even simple help on major issues, like when my car was broken into
                           in the supposedly secure parking lot. (It wasn't secure, the gate was broken
20                         for months on end.)
21                         Most terrifyingly, a local woman, Heidi Planck, was murdered here at
22                         Hope+ Flower. This building is not safe. abc7.com/heidi-planck-ca…

23              a. Below is the complete web address for article about Heidi Planck that’s referenced
24                 in Beejoli’s Yelp review: https://abc7.com/heidi-planck-case-castaic-landfill-
25
                   downtown-la-missing-woman-search/11280849/
26
         275.      On April 28, 2022, Jennique states in their Yelp review:
27
28
                      VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
                                         - 77 -
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 1                       BEWARE do NOT move here !! I can assure you that all of the good
                         reviews are incentivized which should be illegal. They told my neighbor if
 2                       he write a good review he would get a concession on parking. Hope and
                         flower has great potential to be a good place to live because the building is
 3
                         beautiful and has more Amenities than any other building downtown but
 4                       living here has been a NIGHTMARE!

 5                       My friend was robbed at gunpoint and a lady went missing here. It's been
                         all over the news but no one in management ever tells the residents what's
 6
                         going on. There was also an armed robbery right in the lobby and unless
 7                       you're there to witness it they just don't tell you or report anything. This
                         building is NOT secure and it is NOT safe !
 8
         276.     On December 14, 2021, Ev A. states in their Yelp review:
 9
10                       They left eviction notices on my door when their online rent portal was
                         malfunctioning and then denied doing so when confronted.
11
                         Trash will often be piling up by the trash chutes, and is almost always on
12
                         the ground outside of the holding room. There was actually a time when
13                       there were filled trash bags left smack dab outside of my front door.

14                       LASTLY AND MOST IMPORTANTLY - in the last month I was living
                         there a local woman, Heidi Planck, was murdered 18 floors above me and
15                       they've done nothing but try to cover it up‚Ä¶. There are missing person
16                       posters now surrounding the building and it's absolutely creepy. For anyone
                         reading this I plead with you to look elsewhere, there are PLENTY of better
17                       options in Downtown LA and South Park specifically. It's simply not safe
                         here.
18
19
         277.     On October 25, 2021, K S. states in their Yelp review:
20
                         Safety is a major concern - cars and storage units broken into in our so called
21                       secured parking garage. There are units that are party houses and bring in
22                       all sorts of criminal activity into the building. Guns have been fired and
                         people have been robbed mid day.
23
                         We cannot use our balcony and have told this to resident services and they
24                       replied with oh you think eggs being thrown on your balcony is bad I almost
25                       got hit with an Xbox controller walking in to the building.

26
         278.     On April11, 2022, Justin M. states in their Yelp review:
27
28
                     VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
                                        - 78 -
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 1                       Don't move into Hope + Flower. Their employees entered my unit as I was
                         still moving out, before my lease had ended, rummaged through my
 2                       property, and stole the valuables they wanted -- leaving the trash they didn’t
                         want behind. I repeat -- their employees STOLE MY THINGS.
 3
 4                       When confronted about this, residential services took ZERO ownership and
                         said it was nobody's fault, when it's so clearly theirs. Note that this all
 5                       happened while I still had my keys in my possession. When their employees
                         were asked to return the items, they returned only some of them. Many items
 6
                         to this day are still missing and many are damaged.
 7
 8       279.     On March 11, 2021, Chad M. states in their Yelp review:
 9
                         The HOPE + FLOWER APARTMENTS is a disgusting fraud, they will
10                       take your money and have you running for the hills. The staff and
                         management team is extremely prejudiced and has been targeting people of
11                       color since I got here. I have first-hand witnessed my friends and family
                         who visited being intimidated, harassed, and threatened by staff and
12
                         security. This is heartbreaking to go through all of this, while paying price
13                       gouging rent.

14                       The positive reviews you see on Yelp are from compensated individuals or
                         new tenants, which haven't lived through the horrible experiences with
15                       HOPE + FLOWER APARTMENTS yet.
16
                         The staff is extremely prejudiced, intimidating, and harassing my African-
17                       American friends and family by continuously asking them do they live
                         there, but never asking any other race.
18
19
         280.     On August 25, 2021, Avery V. states in their Yelp review:
20
                         RACIST towards African Americans!!!! This place really hurt my feelings
21                       .I sat in the lobby and watched as groups of people came in and out. When
22                       a group of AA came in , security was right on them/us. We were in the
                         elevator and one security guard ran in just to see where we were going and
23                       hopped right back out .:/A few of were going to the bathrooms by the pool
                         and you literally seen the security guard running towards the area to follow
24                       . I called to report to the manager and guess what !! She basically was like
25                       "I guess I can update the staff ". No type of care . !! Don't live here !!!
                         There's other good places !!
26
27       281.     On June 6, 2020, King N. states in their Yelp review:
28
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                                        - 79 -
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 1                        I typically don't write reviews but I feel compelled to speak up: Read the
                          rental agreement and be aware of what is being requested when applying if
 2                        you are a member of a protected class. Although seemingly nice in person,
                          Leasing agent, Chase, and Leasing Manager will demand additional items
 3
                          not required per rental requirements (I apologize, I actually read what I sign
 4                        and know proper protocol and etiquette). Senior Property Manager, James,
                          was understanding and agreed that it was inappropriate and would offer
 5                        discrimination training to the staff. I still did not feel comfortable
                          proceeding to secure housing at an apartment building that blatantly
 6
                          discriminates.
 7
 8       282.      On July 1, 2022, L D. states in their Yelp review:
 9
                          They've been overcharging me rent since March. They not only charged me
10                        for extra parking spots and storage that I never had or signed a contract for,
                          but they also continue to charge me late fees because I won't pay for stuff
11                        that I don't have or never signed for. Additionally, they never gave me a
                          portion of the concessions that were promised to me in my lease, and refuse
12
                          to refund the concessions I've lost as a result of them over charging me
13                        monthly.

14                        I had my life and property threatened by a non resident and they did
                          absolutely nothing about it. A non resident essentially broke into "secure"
15                        resident-only parking and parked in the personal spot, and when the
16                        building refused to tow him, I asked them to move after he was parked in
                          my spot for over 8 hours. Guy was clearly on drugs that he clearly
17                        acquired/took on the property. He became aggressive, threatened my life,
                          and attempted to ram my car. They NEVER did anything, and I've seen the
18                        guy back on property multiple times. All I can say is please please please,
19                        for your own sanity and piece of mind, listen to these reviews. I didn't take
                          the negative ones to heart when I first moved in and this has become the
20                        single worst decision in my entire life.
21
22       283.      Upon information and belief, many of the reviews that contained videos and photos

23          of the dispensaries and underground casino at Hope + Flower have been removed. Upon
24          information and belief, some of Onni's responses to certain reviews have been removed.
25
26
27
28
                      VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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 1       284.        Onni was made aware of the of the alleged unsafe conditions and discriminatory

 2           practices at Hope + Flower because Onni replied and acknowledged YELP reviews from
 3
             Hope + Flower residents that raised such concerns.
 4
         285.        Onni was aware of the crime occurring at Hope + Flower Apartments, as leaders of
 5
             the Tenant Group often emailed Onni the concerns of its residents, often including video
 6
 7           and photos of criminal conduct. Many residents, including Stillwell, also complained about

 8           the crime on sites like Yelp.
 9
         286.        On October 9, 2020, Onni emailed Hope + Flower Residents a Community
10
      Update that stated in relevant part:
11
                     Dear Residents,
12
13                   I will begin by introducing myself as your new Assistant Property Manager. My
                     name is Tania Martinez and I have been a Property Manager within the DTLA Onni
14                   Family for over two years…
15                   Now on to a few items that I’ve become familiar with in the last week since arriving
16                   at Hope and Flower: Lease violations are 100% preventable, which to list a few
                     specific to our community in the recent months include and are not limited to:
17                   setting fireworks on-site, illegal possession/accidental use of weapons, vandalism
                     throughout your common areas, allowing your pets or ESA to relieve themselves
18                   in common spaces while having a perfectly adequate dog run on-site, throwing
19                   items off of balconies which is not only unsafe but also illegal, use of drones
                     around your neighbors, harassment towards staff and fellow residents,
20                   noise/smoking disturbances, misusing parking services, etc.
21    Stillwell Complaints About Safety
22
         287.        Paragraph 21 PROHIBITED CONDUCT of the Standard Onni Lease states in
23
             relevant part,
24
25                   You, your occupants or guests, or the guests of any occupants, may not engage in
                     the following activities: behaving in a loud or obnoxious manner; disturbing or
26                   threatening the rights, comfort, health, safety, or convenience of others (including
                     our agents and employees) in or near the Community; disrupting our business
27                   activities; manufacturing, cultivating, delivering, selling, possessing with intent to
28
                        VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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 1                   deliver or sell, or otherwise possessing or using a controlled substance or drug
                     paraphernalia for use with a controlled substance
 2
 3
         288.        Upon information and belief, from June 2020 to December 2020 there were at least
 4
             two shootings, multiple break-ins, and robberies at Hope + Flower. One resident told
 5
             Stillwell she was sitting in her bathtub when bullets came through her walls.
 6
 7       289.        At all relevant times, there were known drug dealers, including at least two illegal

 8           marijuana dispensaries at Hope + Flower.
 9
         290.        Many residents, including Stillwell, complained about maintenance entering the
10
             units of residents without notice or consent. Upon information and belief, in November
11
             2020, Maintenance workers stole over $30,000.00 from a resident in Apartment #2222,
12
13           including her Audemars Piquet watch valued at $24,123.28.

14       291.        In December 2020, after a rash of thefts from residential units, tenants at Hope +
15
             Flower raised the safety concerns with Onni and asked for surveillance cameras to be
16
             installed in the hallways on all residential floors.
17
         292.        Onni declined to install cameras in the hallways and refused and continues to refuse
18
19           to allow residents to install doorbell cameras, despite the rising crime and ongoing criminal

20           activity at Hope + Flower. At all relevant times, Onni placed the privacy of criminals over
21           the safety of Hope + Flower residents.
22
         293.        Upon information and belief, Onni allowed illegal drug distribution and gambling
23
      in Penthouse 4002 of the Hope Tower, until October 2021, after the homicide of Heidi Planck
24
25    (“Planck”), whose corpse was thrown down the Hope Tower trash chute after Planck’s death.

26
27
28
                        VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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 1       294.       Upon information and belief, from 2020 and at the time of filing this complaint, the

 2    following unlawful items are sold and distributed at Hope + Flower: fake Canadian Passports,
 3
      firearms, cocaine, fentanyl, marijuana, and methamphetamines sold as black-market Adderall.
 4
         295.       Stillwell complained to Onni multiple times about stolen packages and stolen mail
 5
      from Stillwell’s mailbox, which Onni employees can access via a master key.
 6
 7              a. During litigation with Onni in both unlawful detainer suits, Stillwell never received

 8                  the mailed documents as stated in KTS’ proofs of service, which were signed under
 9
                    penalty of perjury.
10
                b. Upon information and belief, Onni removed court related documents from
11
                    Stillwell’s mailbox to prevent Stillwell from defending two unlawful detainer suits.
12
13              c. Unlawful Detainer suits filed in Los Angeles Superior Court are sealed cases.

14                  Stillwell was only able to access court documents to remain abreast of court
15                  proceedings by appearing physically in the Stanley Mosk Courthouse Records
16
                    department.
17
                d. Most recently, on November 3, 2022 Onni emailed Stillwell stating in relevant part,
18
19                  “We received a Box delivery from Fedex for Brittany Stillwell today. Please come

20                  to the Front Desk of the property Hope + Flower to pick up your delivery.”
21              e. On November 6, 2022 Onni emailed Stillwell stating in relevant part, “The items
22
                    which were dropped off at property Hope + Flower were picked up by Brittany
23
                    Stillwell on 11/06/2022. On November 6, 2022 Stillwell informed Onni that she,
24
25                  nor anyone on her behalf, picked up any packages from Concierge in November

26                  2022. At the time of filing this complaint, Stillwell’s Fedex package has not been
27
28
                       VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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 1                    located and Onni has refused to provide Stillwell with the tracking information for

 2                    the package.
 3
                 f. Upon information and belief, Onni is aware that its employees steal packages at
 4
                      Hope + Flower and send out falsified emails stating residents have collected their
 5
                      packages. Despite many complaints of theft at Hope + Flower, Onni has not taken
 6
 7                    any steps to prevent the theft of its tenants’ property, packages, and deliveries from

 8                    the Concierge and Front Desk employees.
 9
         296.         Upon information and belief, Onni is aware of an apartment that manufactures
10
      methamphetamine on the 28th floor of the Hope Tower (“Meth Lab”). Upon information and belief,
11
      the drugs manufactured on the 28th floor are distributed throughout Hope + Flower and were
12
13    distributed at illegal gambling parties that were held in Penthouse 4002.

14               a.   The Meth Lab has armed guards that wear all-white hazmat suits. The guards
15
                      routinely prevent residents from using both stairwells on the 28th floor whenever
16
                      the stairs are being used to transport items to and from the Meth Lab.
17
                 b. On November 7, 2022 Stillwell emailed Onni about two armed men with a dog that
18
19                    chased Stillwell from the 28th floor to the 26th floor of Hope Tower.

20               c. On December 4, 2022, a small fire in the 28th floor meth lab set off fire alarms on
21                    the 28th floor. Stillwell’s security cameras captured guards from the meth lab
22
                      preventing residents from exiting using the stairs, despite the fire alarm instructions
23
                      which repeatedly stated: “There has been a fire emergency reported in the building.
24
25                    Please evacuate the building by the nearest exit. Do not use the elevators.”

26               d. On December 11, 2022 Stillwell’s surveillance camera captured a meth lab security
27                    guard chasing two men.
28
                         VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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 1              e. At the time of filing this complaint, Onni has not investigated or responded to

 2                 Stillwell’s complaints or concerns regarding the drug distribution and meth
 3
                   laboratory on the 28th floor. Upon information and belief, the laboratory and
 4
                   distribution have been operational on the 28th floor since sometime in 2021.
 5
         297.      Upon information and belief, the Meth Lab in Hope Tower also manufactures
 6
 7          fentanyl.

 8              a. Upon information and belief, on or about August 25, 2022, more than fifteen (15)
 9
                   boxes of chemicals, including N-Phenyl-4-piperidinamine (“Phenyl-4”) were
10
                   shipped from China to a business registered to an apartment on the 28th floor of
11
                   Hope Tower.
12
13              b. Phenyl-4 is a compound used to manufacture fentanyl.

14              c. Below is a true and correct photo, taken by Stillwell, of the shipment of chemicals
15
                   on August 25, 2022 at 5:21AM.
16
17
18
19
20
21
22
23
24
25
26
27
28
                        VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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 1       298.      Based on the Yelp.com and Google reviews from tenants and guests of Onni's other

 2          properties located in Los Angeles, Onni has a pattern or practice of discriminatory,
 3
            unlawful, unsafe, and predatory housing practices.
 4
      Balcony Incident: February 21, 2021
 5
         299.      On February 21, 2021, at approximately 3:40AM Stillwell was awaken by yells and
 6
 7          screams for help. Stillwell went to her balcony and witnessed what she believed to be a

 8          person being thrown off a balcony in the Hope Tower. Upon information and belief, the
 9
            incident occurred in an apartment that was leased as a short-term rental under Level Hotel
10
            and transpired after a ‘drug deal went bad.’
11
                a. On February 21, 2021, Stillwell followed up Onni regarding the incident and to
12
13                 express her concerns about safety and the lack of response from the concierge and

14                 security. A property manager laughed at Stillwell in front of several other Onni
15
                   employees and told Stillwell that she was “hallucinating” because the incident
16
                   “simply did not happen.”
17
                b. Stillwell provided Onni with video of the incident, (hereafter “February 2021
18
19                 Balcony Incident Video”). After receiving Stillwell’s video, Onni never responded,

20                 followed-up or addressed Stillwell’s safety concerns. Stillwell uploaded the
21                 February 2021 Balcony Incident Video to a secure cloud drive to make the video
22
                   available and accessible for viewing.
23
                c. A true and correct copy of the February 2021 Balcony Incident Video can be
24
25                 accessed and viewed at https://link.brittstillwell.com/balconyincident-02-21-21

26                 Stillwell incorporates the February 2021 Balcony Incident Video by refence.
27
28
                      VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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 1               d. Below is a true and correct screenshot taken from the February 2021 Balcony

 2                   Incident Video. The screenshot is timestamped “February 21, 2021 3:41 AM.”
 3
 4
 5
 6
 7
 8
 9
10
11
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18
      Balcony Incident: July 4, 2021
19
         300.        On July 4, 2021, Stillwell informed Onni multiple times that residents and guests
20
21    of Hope +Flower were shooting fireworks from the parking lot located across from Hope Tower,

22    on 12th and Hope Streets.
23
         301.        On July 4, 2021, at approximately 10:20PM Stillwell showed the Hope Tower
24
      concierge and security video of the fireworks getting “dangerously close” to Stillwell’s balcony.
25
      Onni dismissed and never addressed Stillwell’s concerns stating, Stillwell’s balcony was “too
26
27    high” for fireworks to reach.

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 1       302.        The fireworks were so close that Stillwell could see flashes from fireworks outside

 2    of her windows. On July 4, 2021, at approximately 10:27 PM Stillwell stood near the entrance of
 3
      her apartments and recorded more video of the fireworks to provide proof to Onni that the
 4
      fireworks were getting dangerously close to Stillwell’s apartment.
 5
                 a. At the 00:05 second mark, Stillwell’s dining room and office are illuminated by the
 6
 7                   fireworks. At the 00:06 second mark, Stillwell’s dining room is shown without the

 8                   illuminated of the fireworks.
 9
                 b. Below are true and correct screenshots from Stillwell’s video taken from the 00:05
10
                     00:06 second marks. Both screenshots are timestamped “July 4, 2021 10:27 PM”
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 1       303.           On July 4, 2021, at approximately 10:31PM, the fireworks and pyrectics

 2    originating from the parking lot on 12th and Hope Streets looked and sounded like explosions.
 3
      Stillwell began recording more video to substantiate her safety concerns to Onni about the
 4
      fireworks, (hereafter “July 4, 2021 Balcony Video”).
 5
         304.        Stillwell uploaded the July 4, 2021 Balcony Video to a secure cloud drive to make
 6
 7    the video available and accessible for viewing. The July 4, 2021 Balcony Video is thirty-nine (39)

 8    seconds long and contains at least twenty (20) seconds of bright flashing lights. A true and correct
 9
      copy   of   the     July   4,   2021   Balcony   Video    can   be   accessed    and   viewed     at
10
      https://link.brittstillwell.com/July-4-2021-Balcony-Video Stillwell incorporates the July 4, 2021
11
      Balcony Video by refence.
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 1       305.         Below are two true and correct screenshots taken from the July 4, 2021 Balcony

 2    Video.      Both     screenshots      are     timestamped      “July     4,     2021      10:31PM”
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         306.         On July 4, 2021, Stillwell was injured after a firework, originating from the parking
19
      lot on 12th and Hope Streets, was shot into the Hope Tower.
20
21       307.         Studies have shown that exposure to flickering light, can have detrimental effects

22    and can invoke measurable physiological changes.
23       308.         The bright flickering lights from the July 4, 2021 Balcony Video caused measurable
24
               physiological changes in Stillwell, who has a neurodevelopmental disorder.
25
         309.         Studies have shown that Noise-Induced Hearing Loss (“NIHL”) can be caused by
26
27             extremely loud bursts of sound, such as fireworks, gunshots or explosions, which

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 1           can rupture the eardrum or damage the bones in the middle ear. This kind of NIHL can be

 2           immediate and permanent. Loud noise exposure can also cause tinnitus—a ringing,
 3
             buzzing, or roaring in the ears or head.
 4
         310.        The loud noise exposure on July 4, 2021 caused Stillwell to experience a constant,
 5
             high-pitched ringing in both ears. At the time of filing this Complaint, Stillwell still
 6
 7           experiences a constant, high-pitched ringing in both ears.

 8       311.        Studies have shown that exposure to loud noise can lead to short term impairments
 9
             in cognitive function, particularly with respect to the ability to focus and remember, while
10
             some studies suggest that similar to air pollution, chronic exposure to noise pollution may
11
             increase the risk for dementia.
12
13       312.        Upon information and belief, the extremely loud bursts of sound in the July 4, 2021

14           Balcony Video caused Stillwell short term impairments in cognitive function.
15
         313.        On July 4, 2021, Stillwell was injured after being exposed to more three (3) hours
16
             of bright flickering lights and extremely loud bursts of sound while inside her apartment.
17
         314.        On or about July 5, 2021, Stillwell complained to Onni about her injuries, and the
18
19    glass on Stillwell’s balcony. Onni denied that fireworks were shot into Hope Tower.

20       315.        Onni was aware of residents shooting fireworks from Hope + Flower balconies and
21    from the parking lot located on 12th and Hope Streets as early as October 2020 and took no actions
22
      to stop residents and guests of Hope + Flower from using illegal fireworks.
23
         316.        In November 2020, Onni was aware of potential dangers of rioting after the 2020
24
25    United States Presidential elections and took precautions to protect residents.

26       317.        In November 2020, Onni emailed residents of Hope + Flower to announce the
27    safety measures it would be taking ahead of the. Onni worked with local business owners to
28
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 1    prevent gathering in the parking lot on 12th and Hope Streets, and Onni also removed scooters to

 2    prevent damage from the scooters being thrown at Hope + Flower.
 3
          318.        On or about July 5, 2021Stillwell threatened to sue Onni for injuries she sustained
 4
      during the July 4, 2021 Balcony Incident after Onni advised Stillwell to file an insurance claim for
 5
      any “make belief” injuries.
 6
 7        319.        Under Cal. Civ. Code § 1942.5(d) it is illegal for a landlord to retaliate against
 8
      a tenant who has lawfully and peaceably exercised any rights under the law.
 9
          320.        Stillwell’s complaints to Onni regarding the July 4, 2021 Balcony incident
10
11    and other unsafe or illegal living conditions at Hope + Flower were lawful, peaceful and

12    protected activities under, Cal. Civ. Code § 1942.5(d)
13
      National News and Viral Social Media Coverage of July 4, 2021 Incident
14
          321.        On July 5, 2021, ABC News Los Angeles (“KABC”) published an article titled,
15
16    “Fireworks shatter windows of downtown Los Angeles high-rise (hereafter, “KABC Article”).

17    The KABC Article incorporated by reference and can be accessed at https://abc7.com/los-

18    angeles-fireworks-downtown-la-fourth-of-july-independence-day/10863971/ . The KABC
19
      Article states in part:
20
              The windows of a downtown Los Angeles high-rise were shattered when someone set off
21            fireworks too close to the building. The fireworks were launched from the ground between
              two high-rises and crashed into the window of one of the upper units. Glass and debris
22
              rained down onto the street below.
23
24        322.        The KBAC Article also contains an embedded video of a KBAC news broadcast
25
      segment title “Fireworks shatter windows of downtown Los Angeles high-rise,” which discusses
26
      a July 4, 2022 firework incident at Hope + Flower, (hereafter, “KBAC News Segment”)
27
28
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 1       323.       The KBAC News Segment is forty-three (43) seconds long and begins with a video

 2    of a firework being launched from the parking lot on 12th and Hope Street. The firework is then
 3
      seen crashing into the Hope Tower. At approximately the 00:06 second mark, KBAC News
 4
      Anchor “Jovana” can be heard saying,
 5
             “take a look at what went wrong when someone set off illegal fireworks in downtown LA
 6
             last night” You can see one of those fireworks launched in the air between two high-rise
 7           buildings and then crash into a window of one of the upper units. Glass and debris was
             spotted on the street below.”
 8
 9       324.       The KBAC News Segment is embedded in the KBAC Article is incorporated

10    by reference and be accessed on YouTube at the following site https://youtu.be/P4geFfXFNms
11    At the time of filing this Complaint, the KBAC News Segment has more than 72,000 views
12
      on YouTube.
13
14       325.       On July 6, 2021, CBSLA News published an article titled, “Caught On Camera:

15    Fireworks Collide With DTLA High-Rise Apartment Building, (hereafter, “CBSLA Article”). The
16    CBSLA      Article    is   incorporated     by     reference     and    can     be    accessed      at
17
      https://www.cbsnews.com/losangeles/news/caught-on-camera-fireworks-collide-with-dtla-high-
18
      rise-apartment-building/. The CBSLA Article states in part:
19
                    There was still broken glass on the street in downtown Los Angeles Tuesday where
20
                    fireworks shattered at least one window on the Fourth of July.
21
                    Dramatic video circulating on social media shows the fireworks shoot into the sky
22                  before colliding with the side of the high-rise at the intersection of Hope and 12th
                    streets. The people setting off the illegal fireworks quickly left the scene.
23
24
                    “I thought it looked like a war zone," Miguel Altamirano, who was home at the
25                  time, said. "It actually hit my floor. Not me, it hit the unit next to me, but it was on
                    my floor, the 34th floor."
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28
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 1       326.         The CBSLA Article also contains an embedded video of a CBSLA news broadcast

 2    segment title “Firework Launched Into High Rise” which discusses a July 4, 2022 firework
 3
      incident at Hope + Flower, (hereafter, “CBSLA News Segment”)
 4
         327.         The CBSLA News Segment is two minutes and twenty-two seconds long and starts
 5
      with a female news anchor stating: “Dramatic video of fireworks slamming into the side of a
 6
 7    downtown high-rise is blasting across social media,” which is immediately followed by a male

 8    news anchor stating, “the fireworks shattered a window and as you can imagine, rattling the nerves
 9
      of residents”
10
         328.         At approximately the 0:15 second mark, cameras then cut to news anchor
11
12    Kristine Lazar (@CBSLAKristine) who is standing on 12th Street in front of Hope +

13    Flower. At approximately the 0:35 second mark, a voice states, “watch as these fireworks
14
      shoot into the sky and collide with the Hope and Flower high rise in downtown L.A.” At
15
      approximately the 0:37 second mark, a video begins and shows fireworks being shot into
16
17    the Hope Tower from the parking lot on 12th and Hope.
18
         329.         The CBSLA News Segment is embedded in the CBSLA Article is
19
      incorporated by reference and be accessed on YouTube at the following site
20
21    https://youtu.be/A4gM_DOt92c. At the time of filing this Complaint, the CBSLA News

22    Segment has more than 49,500 views on YouTube. Stillwell incorporates the CBSLA News
23
      Segment by reference.
24
         330.         On July 6, 2021, Newsweek published an article titled, “Viral Video Shows
25
      Moment Apartment Catches Fire From Rogue Firework, (hereafter, “Newsweek Article”). The
26
27    Newsweek        Article   is   incorporated   by   reference    and   can    be    accessed    at:

28
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 1    https://www.newsweek.com/viral-video-shows-moment-apartment-catches-fire-rogue-firework-

 2    1607269?amp=1. The Newsweek Article states in part:
 3
                    Viral video captured the moment another apartment building was hit by a firework
 4                  during the Fourth of July festivities, prompting a response from a local fire
                    department. According to a report from KABC, a fireworks display in downtown
 5                  Los Angeles resulted in a fire in a high-rise complex after one of the rockets crashed
                    through an apartment window on Sunday at approximately 10:30 p.m. One witness
 6
                    known by her TikTok handle @axhleylashes confirmed with Newsweek that she
 7                  saw the firework explode in her neighboring apartment in real time. Ashley later
                    posted footage of the incident to her account, which has since been viewed over 7
 8                  million times and liked by over 1.5 million viewers.
 9
                    Ashley also noted with Newsweek that she went outside to check on her brother's
10                  vehicle, and confirmed that another car was found with a shattered windshield.
                    Many viewers took to the comments to air grievances about the damage fireworks
11                  can cause." This is exactly why personal fireworks should be illegal," one user
                    wrote.
12
13
         331.       The TikTok video posted by witness Ashley with TikTok handle @axhleylashes
14
      is embedded in the Newsweek Article. Upon information and belief, witness Ashley with TikTok
15
16    handle @axhleylashes mentioned in the Newsweek Article changed her TikTok handle to

17    @axhley.danielle.
18       332.       At the time of filing this Complaint, Ashley’s TikTok video from Newsweek
19
      Article (hereafter “Axhley.Danielle TikTok Video”) has 1.8 million likes, and over 10,000
20
      comments. The Axhley.Danielle TikTok Video was posted on TikTok on July 5, 2021, saved
21
22    more than 72, 600 times and was shared more than 20, 200 times.

23       333.       The Axhley.Danielle TikTok Video, which is embedded in the Newsweek Article
24    is incorporated by reference and can be viewed and downloaded from TikTok at
25
      https://www.tiktok.com/t/ZTRaYmwHE/. The Axhley.Danielle TikTok Video is TikTok user
26
      @axhley.danielle’s top liked video on TikTok.
27
28
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 1                  Another clip taken from another nearby building was also posted to TikTok shortly
                    after the firework incident. Lexie Jayy, or @lexie_jayy on the platform, is seen
 2                  sitting on a friend's lap, reflecting that the fireworks display had ended. Behind her,
                    the rogue firework flies into the apartment complex across from her building. Her
 3
                    video provides a clearer image of the moment of impact and the fire beginning.
 4
                    Lexie's video has been viewed nearly 400,000 times and liked by over 87,000
 5                  viewers, many of whom previously viewed Ashley's video. "Lucky no one was in
                    the unit," one viewer commented. "The glass trinkling down hurts my stomach,"
 6
                    another added.
 7
                    "I didn't think it would actually reach the building, but it hit the building," witness
 8                  Andrew Yi said. "I think one of the sparks caught something on fire, and that was
                    it. I wasn't expecting it. I've never seen anything like that in the past."
 9
10                  NBCLA reported that the fire had been put out by the time emergency responders
                    arrived, and that the person or persons responsible have not yet been identified by
11                  law enforcement.
12
         336.       The TikTok video posted by witness Lexie Jayy with TikTok handle @lexie_jayy
13
      is embedded in the Newsweek Article. At the time of filing this Complaint, Lexie Jayy’s TikTok
14
      video from Newsweek Article (hereafter “Lexie Jayy TikTok Video”) has 1.1 million likes, and
15
16    3,213 comments. The Lexie Jayy TikTok k Video was posted on TikTok on July 7, 2021, saved

17    more than 21,700 times and was shared 8,677 times. The Lexie Jayy TikTok Video is TikTok user
18    @lexie_jayy’s top liked video on TikTok. The Lexie Jayy TikTok Video, is incorporated by
19
      reference    and     can      be     viewed      and      downloaded        from      TikTok       at
20
      https://www.tiktok.com/t/ZTRaYEAmr/
21
22       337.       Below are two true and correct screenshots from the Lexie Jayy TikTok Video

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19
      July 3, 2022 Helipad Incident
20
         338.       On July 3, 2022, Stillwell informed Onni that several people were shooting
21
22    fireworks and throwing objects from the Flower Tower helipad. Onni dismissed Stillwell’s

23    concerns as “impossible” stating that the “helipads are secure” and “no resident can access the
24    helipad without the alarms going off”
25
                 a. On July 3, 2022, Stillwell provided Onni with video of people on the Flower tower
26
                    helipad, (hereafter “July 2022 Helipad Incident Video”).
27
28
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 1              b. Stillwell uploaded the July 2022 Helipad Incident Video to a secure cloud drive to

 2                  make the video available and accessible for viewing.
 3
                c. A true and correct copy of the July 2022 Helipad Incident Video can be accessed
 4
                    and viewed at https://link.brittstillwell.com/Helipad-Incident-07-03-22 Stillwell
 5
                    incorporates the July 2022 Helipad Incident Video by refence.
 6
 7      339.        On July 3, 2022, July 4, 2022 and July 5, 2022 Stillwell experienced severe

 8   emotional distress, and pain and suffering after observing residents and guests of Hope + Flower
 9
     shoot fireworks from the parking lot on 12th & Hope Streets, as well as from the balconies
10
     residents. Observing people throwing objects from the Flower Tower helipad also caused Stillwell
11
     severe emotional distress, and pain and suffering.
12
13      340.        Onni had knowledge of residents shooting fireworks and throwing objects from

14   balconies since at least October 2020 and has taken no reasonable precautions to prevent
15
     foreseeable injuries.
16
     Locker Room A2: Storage Unit #21
17
        341.        On or about November 5, 2020, Stillwell contacted Onni for information about
18
19          renting a storage unit. Stillwell was informed by Onni that its storage units were located

20          inside locked storage facilities that were located inside Onni's "secure parking structure."
21      342.        Onni's storage units are located inside storage lockers inside of the parking structure
22
            at Hope + Flower. The parking structure has eight levels and requires card access to enter
23
            and exit. The parking structure connects the Hope and Flower Towers.
24
25      343.        On or about November 5, 2020, Onni assured Stillwell that the storage facilities

26          were safe and monitored by surveillance. Onni stated Hope + Flower valet and security
27
28
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1        made rounds throughout the garage frequently, due to the number of expensive vehicles

2        parked in the parking structure.
3
      344.       Onni advertised the storage units as having "a third layer of security" because the
4
         storage units were located inside a "locked storage locker" that could only be accessed by
5
         the key fobs of residents with storage units assigned to a particular storage locker.
6
7     345.       Onni advertised the storage units to residents and small businesses and informed

8        Stillwell that members of the Los Angeles Clippers rent its storage facilities.
9
      346.       On November 7, 2020, Stillwell signed an addendum to the August 2020 Lease to
10
         lease Space 05, Storage Unit #21, located inside Locker Room A2, for $100.00 per month,
11
         ("Storage Addendum"). The Storage Addendum became effective November 7, 2020 and
12
13       ended on October 31, 2021, the same date as the August 2020 Lease. A true and correct

14       copy of the Storage Addendum is incorporated by reference and attached as Exhibit K.
15    347.       Paragraph 2 LEASE CONTRACT DESCRIPTION of the Storage Addendum
16
         states in part,
17
                           This Addendum constitutes an Addendum to the above described Lease
18                         Contract for the above described premises, and is here by incorporated into
19                         and made a part of such Lease Contract. Were the terms or conditions found
                           in this Addendum very or contradict any terms or conditions found in the
20                         Lease Contract, this Addendum shall control.
21    348.       Pursuant to Paragraph 3 GARAGE, CARPORT, OR STORAGE UNIT of the
22
         Storage Addendum, Stillwell was "entitled to exclusive possession" of her storage unit.
23
      349.       Stillwell’s storage unit was not subjected to the California Self-Service Storage
24
25       Facility Act, Bus. & Prof. §§ 21700-21716 et seq.

26    350.       Stillwell’s tenancy rights for her storage unit were the same as the Stillwell’s
27       tenancy rights for Apartment #2814.
28
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1       351.       On or about November 8, 2020, began to store her belongings inside Locker Room

2           A2, Space 05, Storage Unit #21, (hereafter, “Storage Unit #21”) At all times Storage Unit
3
            #21 was locked with secured lock Stillwell purchased from Public Storage.
4
     Storage Unit: Retaliation / Unlawful lockout / Unlawful Eviction
5
        352.       On August 29, 2021, Stillwell was unable to access Storage Unit #21 because
6
7           Locker Room A2 was locked with a chain and lock.

8       353.       Under Ca. Civil Code § 789.3(b), lockouts are illegal, and a landlord cannot prevent
9
            the tenant from gaining reasonable access to the property by “changing the locks or using
10
            a bootlock or similar methods.” Tenants may only be removed from the property by a
11
            sheriff acting pursuant to a court order. An unlawful lockout is punishable as a crime under
12
13          California Penal Code § 418.

14      354.       On August 29, 2021, the door of Locker Room A2 contained an undated letter,
15
            (“Storage Letter”), which stated:
16
                   We are currently doing storage renovations and will need to relocate you into a new
17                 storage unit. Please take this as our written 18-day notice. We asked that you please
                   contact us at your earliest convenience at the email below.
18                 HFresidentservices@onni.com.
19
        355.       Below is a true and correct photo of the Storage Letter affixed to Locker Room A2.
20
            The photo taken by Stillwell on August 29, 2021. The photo is timestamped “August 29,
21
22          2021 9:12 AM” and shows the chain and lock that prevented Stillwell from accessing

23          Locker Room A2 with her key fob.
24
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18    356.      On August 29, 2021, after gaining access to Locker A2, Stillwell noticed that the

19       lock on her storage unit had cut off and all the contents of Stillwell’s storage unit were

20       gone. Onni informed Stillwell that the location of her belongings was “unknown.”
21
      357.      On August 29, 2021, Stillwell explained to the Onni property manager that her
22
         father recently passed away and his funeral scheduled for September 2, 2021. Stillwell
23
         informed Onni that without access to her belongings in storage, Stillwell would not be able
24
25       to honor her father’s dying wishes.

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1     358.      On August 29, 2021, Stillwell called Los Angeles Police Department (“LAPD”)

2        and filed a police report after Onni refused to provide Stillwell with information about her
3
         belongings.
4
      359.      Onni has the address, phone number, and email address of every person or business
5
         that rents storage units at Hope + Flower. Onni did not inform Stillwell that her storage
6
7        unit was being renovated, or her belongings were being relocated.

8     360.      On August 29, 2021, Stillwell recorded video of the storage units inside Locker
9
         Room A2, (hereafter, “Locker Room A2 Video”) The Locker Room A2 Video is fourteen
10
         (14) seconds in length. Stillwell uploaded the Locker Room A2 Video to a secure cloud
11
         drive to make the video available and accessible for viewing.
12
13           a. A true and correct copy of the Locker Room A2 Video can be accessed and viewed

14              at https://link.brittstillwell.com/Storageunit-08-29-21
15
             b. Stillwell incorporates the Locker Room A2 Video by refence.
16
             c. Below are two true and correct screenshots taken from the Locker Room A2 Video
17
                Both screenshots are time stamped “August 29, 2021 9:13 AM”
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      361.      On November 6, 2020 Onni in an email titled, “Weekly Updates: Important
19
20       Information, Onni stated in part:

21              no personal belongings are permitted to sit in outside of storage units or in common
                areas. If you are renting a storage cage, all belongings must be kept within your
22              unit. Any items left unattended and in the exterior of cages will be removed and
23              disposed of.

24    362.      On August 29, 2021, there were items left unattended in Locker Room A2, exterior
25       of cages. At all times Stillwell’s belongings were locked inside Storage Unit #21.
26
27
28
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1     363.      Upon information and belief, at all relevant times, Stillwell was the only Black, and

2        African American leasing a storage unit in Locker Room A2.
3
      364.      On August 29, 2021, there did not appear to be any renovations, or preparations for
4
         renovations, as more than eighty percent (80%) of the occupied storage units inside Locker
5
         Room A2 had not been relocated.
6
7     365.      Upon information and belief, Stillwell was the only resident whose property was

8        “relocated” due to Onni’s alleged renovations of Locker Room A2.
9
      366.      On August 29, 2021, Stillwell had not surrendered the premises and there was no
10
         emergency, or law reason for Onni to enter Stillwell’s storage unit.
11
      367.      Pursuant to Ca. Civil Code §1954, Onni was required to serve Stillwell at least a
12
13       24-hour notice and obtain Stillwell’s consent before entering her storage unit. Under Ca.

14       Civil Code §1940.2 (a)(4) it unlawful Commit a significant and intentional violation of Ca.
15       Civil Code §1954.
16
      368.      Upon information and belief, sometime in July 2021, Onni knowingly and willingly
17
         evicted Stillwell from her storage unit to retaliate against Stillwell for her complaints about
18
19       the July 4, 2021, Balcony Incident, violation of Cal. Civ. Code § 1942.5(d)

20    369.      On or about August 29, 2021, Onni used threat, intimidation, or coercion, or
21       attempted to interfere by threat, intimidation, or coercion with Stillwell’s exercise or
22
         enjoyment of rights secured by the Constitution or laws of the United States, or of the rights
23
         secured by the Constitution or laws of California, in violation of Ca. Civil Code §52.1.
24
25    370.      Onni’s conduct related to the Storage Unit #21 lockout and eviction of Stillwell was

26       menacing conduct constituting a course of conduct that interfered with Stillwell’s quiet
27
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1          enjoyment of the premises and created an apprehension of harm in Stillwell in violation of

2          Cal. Civ. Code §§ 1927 and §1940.2 (a)(3).
3
        371.       Onni has a duty to provide Stillwell with quiet enjoyment of the premises, pursuant
4
           to Ca. Civil Code §1927.
5
        372.       Physically removing Stillwell’s possessions from her storage unit and changing the
6
7          locks to the unit and/or blocking the Stillwell access to her storage unit is an illegal eviction

8          tactic that violates Ca. Civil Code §§ 789.3(b) and 1940.2 (a)(3).
9
     Storage Unit: Burglary
10
        373.       On August 29, 2021, with Stillwell present, an Onni property manager informed
11
           LAPD that Onni first became aware of thefts and break-ins of several storage units as early
12
13         as “June or July” 2021. Onni also stated it filed police reports each time it was made aware

14         of a theft on its property and in its storage facilities.
15
        374.       Stillwell last placed additional items in Storage Unit #21 sometime in June 2021.
16
        375.       Sometime in June 2021, Onni had actual knowledge of the unsafe conditions
17
           surrounding its locker rooms and storage units and Hope + Flower and failed to take
18
19         reasonable precautions to prevent foreseeable injuries.

20      376.       Onni failed to inform Stillwell of the unsafe conditions once it became aware of
21         unsafe condition. The theft of Stillwell’s belongings from Storage Unit #21 was a
22
           foreseeable injury.
23
        377.       Stillwell would have removed all of her belongings from Storage Unit #21 if she
24
25         knew about thefts and storage break-ins in June 2021.

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1       378.       Storage Unit #21 is located five storage units from the entrance of Locker Room

2          A2. A burglar would have passed more than six occupied storage units before reaching
3
           Storage Unit #21.
4
        379.       On August 29, 2021, there was external damage to the metal door of Storage Unit
5
           #21 that was caused by the removal of Stillwell’s lock. Storage Unit #21 was the only unit
6
7          inside Locker Room A2 with external damage caused by the removal of a lock.

8       380.       Upon information and belief, Storage Unit #21 was the only unit in Locker Room
9
           A2 that was damaged, burglarized and or vandalized by the forceful entry.
10
        381.       Upon information and belief, a special apparatus was used to cut through the metal
11
           exterior of Storage Unit #21 to remove Stillwell’s belongings. At all relevant times, Hope
12
13         + Flower maintenance staff and management had access to the special equipment needed

14         to cut through the metal exterior of Storage Unit #21.
15      382.       Fob access is required to enter Locker Room A2, and card access is required to
16
           enter and exit the parking structure where Locker Room A2 is located.
17
        383.       Upon information and belief, Stillwell’s items were stolen from Storage Unit #21
18
19         by Onni and or the Doe Defendants, who would have needed Onni’s assistance to bypass

20         more than four layers of security to remove Stillwell’s belongings from the parking
21         structure.
22
     Property Stolen From Storage
23
        384.       Upon information and belief, Stillwell’s belongings were stolen from Storage Unit
24
25         #21 sometime in July 2021. Stillwell became aware of the theft on August 29, 2021.

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1       385.       The following electronic devices stolen from Storage Unit #21 contain information

2           required for Stillwell to access an undisclosed amount of assets belonging to Plaintiff and
3
            a company wholly owned by Stillwell, The Compliance Firm LLC:
4
               a. A USB containing Stillwell’s passphrase for thirty (30) bitcoins, one laptop, a
5
                   portable hard drive, two cellular phones, and three sim cards from three different
6
7                  countries that Stillwell used abroad for business purposes;

8              b. On August 29, 2021, the opening price of one Bitcoin was $48,911.25 USD; and
9
               c. On August 29, 2021, Stillwell’s thirty (30) Bitcoins were worth a total of
10
                   $1,467,337.50 USD.
11
               d. The theft of Stillwell’s cryptocurrency prevented Stillwell from retaining legal
12
13                 counsel to represent her company, The Compliance Firm LLC (“TCF”) in several

14                 court cases. As a result, a $360,000 default judgement against TCF in a lawsuit that
15                 was barred and pre-empted by the PREP Act10
16
        386.       The following items were also stolen from Storage Unit #21:
17
               a. More than $50,000.00 worth of Stillwell’s home goods, jewelry, and personal and
18
19                 business property that were imported to the United States from Stillwell’s former

20                 residence abroad;
21             b. Stillwell’s citizenship documents needed for her Native American tribal enrollment
22
                   in the Muscogee (Creek) Nation of Oklahoma, including Stillwell’s birth certificate
23
                   and social security card; and
24
25
26
     10 FN Logistics, LLC v. The Compliance Firm LLC, et al. (Case No. 22STCV0144) pending in
27
     California Superior Court of Los Angeles County
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1                c. Stillwell’s family heirlooms, family photos and historical documents, including

2                   ancestral wills and deeds to more than one-hundred and twenty (120) acres located
3
                    in Okmulgee County, Oklahoma. Upon information and belief, the land willed and
4
                    deeded to Stillwell is worth approximately $500,000.00.
5
                 d. Plaintiff is the last Stillwell of her family’s lineage and will not be able to replace
6
7                   her family’s historical documents, some of which dated back to the early 1800s.

8       387.        Stillwell only recovered $2,500.00 for her losses, because Stillwell’s insurance
9
           company applied a “special limit of liability of $2,500.00 for personal property stolen on
10
           the residence premises and are used for business purposes.”
11
        388.        Onni’s dishonesty, lack of care, and overall handling of the theft of Stillwell’s
12
13         property caused Stillwell severe emotional distress, and pain and suffering.

14   Unauthorized Storage Unit fees:
15
        389.        On August 29, 2021, Onni refused to provide Stillwell with a temporary location
16
           to use as a storage unit, while Onni completed its alleged renovations of Locker Room
17
           A2.
18
19      390.        Onni never stopped charging Stillwell $100.00 per month for Storage Unit #21,

20         despite Stillwell loss of use and access in August 2021.
21      391.        In August 2021, September 2021, and October 2021 Stillwell provided with written
22
           and oral notice to terminate the lease terms for Storage Unit #21. Stillwell asked Onni to
23
           remove the $100 monthly storage fee from her account numerous times, most recently in
24
25         August 2022.

26
27
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1       392.      Pursuant to the Storage Addendum, the lease terms for Storage Unit #21 ended o

2          October 31, 2021. Stillwell did not renew the Storage Addendum or sign a new storage
3
           addendum for her Current Lease.
4
        393.      From August 29, 2021 until October 31, 2021, Onni over-charged Stillwell at least
5
           three (3) months of storage fees for Storage Unit #21, which Stillwell did not have access
6
7          due to Onni’s unlawful lockout and subsequent eviction.

8       394.      From November 1, 2021 until the time of filing this Complaint, Onni has over-
9
           charged Stillwell at least fifteen (15) months of storage fees for Storage Unit #21, which
10
           Stillwell does not have access to and did not agree to rent beyond October 31, 2021.
11
               a. On November 1, 2021, Onni knowingly and willing charged Stillwell twice for
12
13                Storage Unit #21.

14             b. Onni owes Stillwell a credit of at least $1,500.00 for overcharging Stillwell at least
15                fifteen (15) times for storage rental fees.
16
        395.      At the time of filing this Complaint, Onni knowingly and willfully continues
17
           charging Stillwell for Storage Unit #21 in violation of Cal. Civ. Code § 1942.5 and has not
18
19         refunded or credited Stillwell’s account.

20   Discrimination & Retaliation related to Storage Unit
21      396.      With respect to Storage Unit #21, Onni knowingly and willfully discriminated
22
           against Stillwell on account of her protected classes of color and race, in violation of Cal.
23
           Civ. Code § 51(b) and 42 U.S.C. §§ 3604, 3617, and did not subject similarly situated
24
25         persons outside of Stillwell’s protected classes to the following adverse actions:

26             a. Unlawful lockout and evictions after complaining about safety issues;
27             b. Overcharging monthly storage fees despite no Storage Addendums being in force;
28
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1              c. Overcharging monthly storage fees despite having no access to the storage unit;

2              d. Failure to Notify Stillwell of Locker Room A2 renovations, or that her belongings
3
                  were being relocated;
4
               e. Failure to Notify Stillwell of any alleged storage unit burglaries or theft;
5
               f. Entering Stillwell’s storage unit without notice or consent as required by Ca. Cvil
6
7                 Code § 1954; and

8              g. Physically removing Stillwell’s possessions from her storage unit.
9
        397.      From August 2021, until the filing of this Complaint, Onni knowingly and willfully
10
           overcharged Stillwell for Storage Unit #21, in violation of Civ. Code §§ 51(b), 1942.5(d),
11
           42 U.S.C. §§ 3604, 3617, and L.A.M.C. § 45.33(13). Each of the more than fourteen (14)
12
13         acts constitutes a separate act of discrimination, retaliation and a separate TAHO violation.

14   Apartment #2814 Lease Renewal: (October 2021)
15
        398.      In August 2021, Felder informed Onni them that he would not be renewing the
16
           August 2021 Lease with Stillwell and needed to be removed from the August 2021 Lease
17
           so that Stillwell could renew her lease.
18
19      399.      On September 1, 2021, Onni informed Stillwell and Felder that Felder’s needed to

20         complete a “Notice to Vacate” form to be removed from August 2020 Lease. Onni emailed
21         Felder a “Notice to Vacate” form “to sign as soon as possible.” Felder returned the signed
22
           Notice to Vacate form on September 2, 2021. A true and correct copy of the Notice to
23
           Vacate is incorporated by reference and attached as Exhibit L.
24
25      400.      On or about September 5, 2021, Onni emailed and mailed Stillwell a lease renewal

26         letter (hereafter “Renewal Letter”) which offered Stillwell the following lease renewal
27         options:
28
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1            a. Tenancy for 8 months at $4814.00 per month;

2            b. Tenancy for 14 months at $4,619.00 per month;
3
             c.   Tenancy for 15 months at $4,619.00 per month; and
4
             d. Month-to-month tenancy at $5,226.00 plus a $500 month-to-month fee, for a total
5
                  of $5,726.00.
6
7            e. According to the Renewal Letter, the prices were only honored through October 3,

8                 2021. The Renewal Letter also required “a 30-day written notice-to-vacate” and a
9
                  copy of “Renter’s Insurance Policy”
10
             f. A true and correct copy of the Renewal Letter is incorporated by reference and
11
                  attached as Exhibit M.
12
13    401.        On or about September 17, 2021, Stillwell informed Onni she wanted to renew her

14       lease, without Felder, for fifteen (15) months with rent at $4,619.00 per month. Stillwell
15       also asked Onni to remove the monthly storage fee of $100.00 per month from her account.
16
      402.        On or about September 23, 2021, Onni informed Stillwell that she was required to
17
         sign her lease in person, because Rent Cafe would automatically require Felder’s signature
18
19       on the Lease since Felder was still listed as a co-tenant in Rent Cafe.

20    403.        On September 23, 2021, prior to Stillwell signing the lease Onni confirmed that the
21       $100.00 monthly storage unit fee was removed, and Stillwell’s account would be credited
22
         $300.00.
23
      404.        On September 23, 2021, Stillwell provided Onni with a copy of her Renter’s
24
25       Insurance Policy. Onni requires all Hope+ Flower tenants to purchase personal liability

26       insurance
27
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1       405.      Pursuant to Paragraph 8 INSURANCE of the Standard Onni Lease, “failure to

2          maintain personal liability insurance is an incurable breach of this Lease Contract and may
3
           result in the termination of tenancy and eviction and/or any other remedies as provided by
4
           this Lease Contract or state law.”
5
        406.      On September 23, 2021, Stillwell renewed her lease for Apartment #2814 in
6
7          person with Sandra Leal, (“Leal”), the assistant property manager of Hope + Flower.

8       407.      On September 23, 2021, Stillwell signed a fifteen (15) month lease for Apartment
9
           #2814, with a monthly rent of $4,619.00 that began on November 1, 2021 and ends on
10
           January 31, 2023, (hereafter, “September 23, 2021 Lease”).
11
        408.      The September 23, 2021 Lease was numbered consecutively “Page 1 of 8” through
12
13         “Page 8 of 8” plus an unnumbered signature page, for a total length of (9) pages. Stillwell

14         did not sign any addendums to the September 23, 2021 Lease.
15      409.      Leal did not provide Stillwell with a copy of the September 23, 2021 Lease. Leal
16
           stated the countersigned lease would be uploaded to Rent Café.
17
        410.      The September 23, 2021 Lease was a legally valid and enforceable contract.
18
19   Cancelled September 23, 2021 Lease:

20      411.      On or about October 6, 2021, Onni canceled Stillwell’s September 23, 2021, Lease.
21      412.      On October 6, 2021, Onni sent Stillwell a new lease, via Rent Cafe for a term of
22
           fifteen (15) months and monthly rent of $5,726.00, which was the total cost of the month-
23
           to-month tenancy offered in the Renewal Letter, (hereafter “October 6, 2021 Lease”)
24
25      413.      The October 6, 2021 Lease contained Felder’s name and was $1,107.00 per month

26         more expensive than the rent Stillwell agreed to in the September 23, 2021 Lease. Stillwell
27         contacted Onni to inquire about the different leases.
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1     414.      On October 6, 2021, Onni informed Stillwell it had no record of Stillwell signing

2        the September 23, 2021 Lease, and the rental rates listed in Stillwell’s Renewal Letter
3
         expired on October 3, 2021.
4
      415.      On October 6, 2021, Stillwell signed the October 6, 2021 Lease via Rent Cafe, since
5
         she had no copy of the September 23, 2021 Lease or any other way of proving that she
6
7        renewed her lease.

8     416.      The October 6, 2021 Lease was numbered consecutively “Page 1 of 8” through
9
         “Page 8 of 8” plus an unnumbered signature page, for a total length of (9) pages. Stillwell
10
         did not sign any addendums to the October 6, 2021Lease. The October 6, 2021 Lease
11
         began on November 1, 2021 and ends on January 31, 2023.
12
13    Cancelled October 6, 2021 Lease / Refused Rent / Refusal to Lease

14    417.      On or about October 27, 2021, Onni rejected and refunded Stillwell’s October 2021
15
         rent payment.
16
      418.          On or about October 27, 2021 blocked Stillwell and Felder’s access to Rent Cafe,
17
         which prevented Stillwell from paying her rent, viewing her ledger, and accessing her lease
18
19       renewal documents.

20    419.      Stillwell became aware of Onni’s October rent payment rejection and Rent Cafe
21       lockout on October 28, 2021, when Onni contacted Stillwell to schedule a move-out
22
         inspection, pursuant to Onni’s purported “courtesy” seventy-two (72) hour end of lease
23
         process.
24
25    420.      On October 28, 2021, after Stillwell informed Onni that she renewed her lease,

26       Onni informed Stillwell that the October 6, 2021 Lease was “void” and not being honored
27       because Stillwell had not paid rent in October 2021. Onni then told Stillwell she would not
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1        be out of Apartment #2814 by 11:59PM on October 31, 2021, which was the end date of

2        the August 2020 Lease.
3
      421.      Onni never served Stillwell with a 3-Day Notice for October 2021 Rent, and never
4
         explained why they rejected and refunded Stillwell’s October 2021 rent payment.
5
      422.      On October 28, 2021, Stillwell informed Onni that she would be suing Onni for its
6
7        retaliatory and discriminatory leasing practices, including Onni’s refusal to honor

8        Stillwell’s September 23, 2021 Lease.
9
      423.      On October 28, 2021, after Stillwell’s threats of litigation, Onni agreed to renew
10
         Stillwell’s lease, only if she paid her October rent via “certified fund,” in the amount of
11
         $5562.03, drawn from Felder’s bank account by 5:00PM on Friday, October 29, 2021.
12
13       Onni also informed Stillwell that the payment would need to include a $100 late fee.

14    424.      On October 28, 2021, Stillwell informed Onni that Felder was “on the East Coast,”
15       and it was “after close of business there,” so Felder would not be able to make it to the
16
         bank until October 29, 2021, thus making Onni’s deadline impossible, unless Felder took
17
         a last-minute flight to Los Angeles. Onni refused October 2021 rent from Stillwell.
18
19    425.      On Friday, October 29, 2021, Felder was forced to take a last-minute flight to Los

20       Angeles, California to present Onni with certified funds drawn from his banking account.
21    426.      At approximately 3:00PM on October 29, 2021, Stillwell and Felder presented
22
         Onni with a certified check, drawn from Felder’s banking account, in the amount of
23
         $5562.03.
24
25    427.      Leal refused to speak with Felder and Stillwell, until approximately 4:30PM, after

26       Stillwell complained to Onni’s regional manager, James O’Neill (“O’Neill”). When Leal
27
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1        finally agreed to speak with Stillwell, Leal informed Stillwell that Felder would remain on

2        Stillwell’s lease until Felder provided a sixty (60) day notice.
3
      428.      Stillwell provided Leal with a copy of her Renewal Letter, which required “a 30-
4
         day written notice-to-vacate,” along with a copy of Felder’s “Notice to Vacate,” which
5
         Felder signed and returned to Onni via email on September 2, 2021. Leal refused to honor
6
7        Felder’s Notice to Vacate or the terms of Renewal Letter

8     429.      October 29, 2021, Leal agreed to release Felder from the August 2020 Lease,
9
         effective October 31, 2021, only after both Stillwell and Felder signed a form titled Release
10
         of Roommate(s) and/or Additional Roommate(s) form, (“Release of Roommates,”).
11
      430.      On October 29, 2021, Stillwell and Felder signed the Release of Roommates, and
12
13       Felder was released from any legal liability relating to Apartment #2814 arising after

14       October 31, 2021. A true and correct copy of the Release of Roommates is incorporated by
15       reference and attached as Exhibit D.
16
      October 29, 2021 Lease
17
      431.      On October 29, 2021, after Stillwell and Felder signed the Release of Roommates,
18
19       Leal informed Stillwell that Onni would not be able to renew Stillwell’s lease without

20       completing a credit check, and without Stillwell providing proof of income for the prior
21       three months, which could take up to “3 to 5 business days” to complete, since it was “after
22
         5:00PM on a Friday.”
23
      432.      Stillwell and Felder were not subjected to a second tenant screening process when
24
25       they signed the August 2020 Lease. Stillwell was not subjected to a second tenant screening

26       process when she signed the September 23, 2021 and October 6, 2021 Leases.
27
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1     433.      Upon information and belief, in October 2021, Onni was allowing people to stay at

2        Hope + Flower Apartments for more than six (6) months via short term rentals and did not
3
         require background checks, credit checks, or proof of income for short term rentals.
4
      434.      On October 29, 2021, Stillwell informed Leal that she was reporting Onni. to
5
         California Department of Fair Employment and Housing (“DFEH”). After Stillwell’s
6
7        complaints Leal allowed Stillwell to renew her lease and agreed to credit Stillwell’s

8        account for $300.00 for Storage Unit #21.
9
      435.      On October 29, 2021, Stillwell provided Leal with a third copy of her rental
10
         insurance and. Stillwell signed lease for a term of fifteen (15) months with a monthly rent
11
         of $5,726.00, (“October 29, 2021 Lease”).
12
13    436.      The October 29, 2021 Lease was numbered consecutively “Page 1 of 8” through

14       “Page 8 of 8” plus an unnumbered signature page, for a total length of (9) pages. Stillwell
15       did not sign any addendums to the October 29, 2021 Lease. The October 29, 2021 Lease
16
         began on November 1, 2021 and ends on January 31, 2023.
17
      437.      Leal did not provide Stillwell with a copy of the October 29, 2021 Lease. Leal
18
19       stated the countersigned lease would be uploaded to Rent Café, however Stillwell’s Rent

20       Cafe access remains deactivated.
21    438.      Onni refused to provide Stillwell a copy of her lease until December 15, 2021, as
22
         discussed further below.
23
      Current Lease
24
25    439.      On December 15, 2021, Onni emailed Stillwell a lease (hereafter, "Current Lease").

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1       440.      Pages 1-8 of the Current Lease were the first eight (8) pages of the September 23,

2          2021 Lease. Onni had previously told Stillwell it had no record of her signing the
3
           September 23, 2021 Lease. The monthly rent listed in the Current Lease was $4619.00.
4
        441.      The signature page of the Current Lease is the signature page from the October 6,
5
           2021 Lease. The signature page is the only difference between the September 23, 2021
6
7          Lease and the Current Lease. A true and correct copy of the Current Lease is incorporated

8          by reference and attached as Exhibit B.
9
     Apartment #2814 Current Lease Renewal: (December 2022)
10
        442.      Stillwell’s Current Lease ends on January 31, 2023. Pursuant to the lease
11
           agreement, Onni should have provided Stillwell with lease renewal options at least sixty
12
13         (60) days prior to the end of Stillwell’s Lease.

14             a. Onni provides similarly situated tenants outside of Stillwell’s protected class
15
                  renewal options at least sixty (60) days prior to the expiration of their leases.
16
               b. At the time of filing this Complaint, Onni has not provided Stillwell with lease
17
                  renewal options for her Current Lease.
18
19             c. Onni provides similarly situated tenants outside of Stillwell’s protected class

20                renewal options at least sixty (60) days prior to the expiration of their leases.
21             d. Stillwell’s Current Lease defaults to month-to-month effective February 1, 2023.
22
     Discrimination related Lease Renewals (September-October 2021 & December 2022)
23
        443.      With respect to the lease renewals for Apartment#2814, from September 2021
24
25         until the filing of this Complaint; Onni knowingly and willfully discriminated against

26         Stillwell on account of her protected classes of color and race, in violation of Cal. Civ.
27
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1          Code § 51(b) and 42 U.S.C. § 3604, and did not subject similarly situated persons outside

2          of Stillwell's protected classes to the following adverse actions:
3
               a. Requirement that lease renewals to be signed in person;
4
               b. Refusal to provide September 23, 2021 Lease, October 6, 2021, and October 29,
5
                  2021 leases within fifteen (15) days as required by Cal. Civ. Code § 1962;
6
7              c. Advertised, quoted and charged Stillwell higher rent for Apartment #2814;

8              d. Cancelation or termination of rental agreement without lawful cause;
9
               e. Refusal to honor lease renewals and lease renewal offers without lawful cause;
10
               f. Rejecting, refusing, and refunding rental payments without lawful cause;
11
               g. Revoking privileges to view ledgers, utility statements, reserve amenities and
12
13                request maintenance service in Rent Cafe, without lawful cause;

14             h. Application of different income requirements, rental standards, and qualification
15                criteria for Stillwell to renew the lease Apartment #2814; and
16
               i. Offering Stillwell inferior terms, conditions, privileges, or services in connection
17
                  with renting Apartment #2814
18
19      444.      From September 1, 2021 through December 15, 2022, Onni knowingly and

20         willfully took at least twenty (20) adverse actions against Stillwell because of her color or
21         race, in violation of Civ. Code § 51(b), 42 U.S.C. § 3604, and L.A.M.C. § 45.33(13).
22
               a. Each of the acts constitutes a separate act of discrimination and a separate TAHO
23
                  violation.
24
25   Service of Process on Onni-BC Pursuant to Cal. Civ. Code § 1962.7

26      445.      Under Cal. Civ. Code § 1962(a)(4) Onni was required to provide Stillwell with a
27         copy of her lease within 15 days of the signing.
28
                      VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1     446.      Onni provided Stillwell a copy of the Current Lease on December 15, 2021, which

2        is eighty-three (83) days after Stillwell signed the September 23, 2021 Lease. Onni was
3
         required to provide Stillwell with a copy of her lease by October 7, 2021.
4
      447.      Each day beyond the 15th day of Stillwell signing the September 23, 2021 Lease is
5
         a separate violation of Cal. Civ. Code § 1962.
6
7     448.      Cal. Civ. Code § 1962.7 states:

8               In the event an owner, successor owner, manager, or agent specified in Section
                1961 fails to comply with the requirements of this chapter, service of process by a
9
                tenant with respect to a dispute arising out of the tenancy may be made by registered
10              or certified mail sent to the address at which rent is paid, in which case the
                provisions of Section 1013 of the Code of Civil Procedure shall apply.
11
      449.      Cal. Civ. Code § 1962(d) states that “a party who enters into a rental agreement on
12
13       behalf of the owner who fails to comply with this section is deemed an agent of each person

14       who is an owner”
15    450.      Onni entered the September 23, 2021 Lease on behalf of its parent company, Onni-
16
         BC, and failed to comply with the requirements of Cal. Civ. Code §1962. Onni is an agent
17
         of Onni-BC under Cal. Civ. Code § 1962(d).
18
19    451.      Onni-BC is an owner, successor owner, manager, or agent specified in Cal. Civ.

20       Code § 1961 that failed to comply with the requirements of Cal. Civ. Code §1962.
21    452.      Stillwell's verified Complaint in this above-refenced suit is a dispute arising out of
22
         Stillwell's tenancy. Hope + Flower's address is the address at which Stillwell's rent is paid.
23
      453.      Pursuant to Cal. Civ. Code § 1962.7, Stillwell's service of process of this instant
24
25       verified Complaint on Onni-BC may be made by registered or certified mail sent to: 1201

26       S. Hope
27
28
                    VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1       454.      From October 8, 2021 until December 15, 2021, Onni knowingly and willfully

2          refused to provide Stillwell a copy of her September 23, 2021 Lease sixty-eight (68) times,
3
           because of her color or race, in violation of Civ. Code § 51(b), 42 U.S.C. § 3604, and
4
           L.A.M.C. § 45.33(13).
5
               a. Each of the sixty-eight (68) acts constitutes a separate act of discrimination and a
6
7                 separate TAHO violation.

8    Overcharged Rent for Apartment #2814 – Current Lease
9
        455.      In September 2021, Stillwell renewed the August 2020 Lease for 15 months and
10
           Stillwell’s monthly rent decreased from $4752.00 to $4619.00, which is Stillwell’s current
11
           monthly rent. When Stillwell questioned Onni about her rent, she was informed all rental
12
13         rates were increased by ten (10) percent, which is the maximum rate allowed by law in Los

14         Angeles, California.
15
        456.      Upon information and belief, the monthly rents at Hope + Flower have increased at
16
           least twenty percent (20%) since August 2020.
17
        457.      In September 2022, Stillwell pretended to be a similarly situated White woman
18
19         named “Jane” and applied to rent Apartment #3314, which was the most expensive

20         Floorplan D14 apartment available. Apartment #3314 is five floors above Stillwell’s unit,
21         Apartment #2814.
22
        458.      On September 18, 2022, the monthly rent range listed on Hope + Flower’s
23
           website for Apartment #3314 was “$4,603 - $10,017.”
24
25      459.      In September 2022, Onni offered to rent Apartment #3314 to “Jane” for $4,606.00

26         per month with a lease of 13 months or 15 months. Below is a true and correct screenshot
27         of “Jane’s” applicant portal, taken by Stillwell on September 18, 2022.
28
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1          approximately $75.00 per month more expensive than Apartment #2814, because it was

2          five floors higher than Apartment #2814.
3
        463.      Excluding the 10% rental increase that occurred between September 2021 and
4
           September 2022, Stillwell’s rent in Apartment #2814 is currently $352.00 per month
5
           more expensive than Apartment #3314.
6
7       464.      From November 1, 1, 2021 until October 27, 2021, Onni knowingly and willfully

8          overcharged Stillwell for rent fourteen (14) times. Onni overcharged Stillwell at least
9
           $274.00 per month to rent Apartment #2814, because of Stillwell’s race and or color in
10
           violation of Cal. Civ. Code § 51(b), Cal. Gov. Code § 12955(a), 42 U.S.C. § 3604(b), 24
11
           C.F.R. § 100.60(a)(3), 24 C.F.R. §100.50(b)(2), and L.A.M.C. § 45.33(13).
12
13             a. On November 1, 2021 charged twice for rent

14             b. On October 27, 2022 billed for November 1, 2022 rent
15             c. Each of the fourteen (14) acts constitutes a separate act of discrimination and a
16
                  separate TAHO violation
17
     Death of Heidi Planck at Hope + Flower
18
19      465.      On October 1, 2021, Stillwell informed Onni that she received death threats in

20         relation to litigation involving Stillwell’s company, The Compliance Firm. Stillwell
21         provided Onni with a copy of a LAPD police report regarding the threats, and asked Onni
22
           for permission to mount a doorbell camera.
23
        466.      On October 1, 2021, Onni refused Stillwell’s request to mount a Ring doorbell
24
25         camera, but assured Stillwell that concierge would not send any persons to the 28th floor of

26         Hope Tower without first confirming with residents.
27
28
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1     467.      On or about October 26, 2021, Stillwell became aware of a missing person, Heidi

2        Planck, (“Planck”) who, upon information and belief was murdered at Hope + Flower on
3
         or about October 17, 2021. According to multiple news reports, “Planck’s dog was found
4
         three hours after Planck was last seen, on the 28th floor of a high-rise building downtown,”
5
         and the “owners of the apartment complex are reportedly refusing to cooperate with
6
7        investigators and have refused requests to search the building, parking structure and

8        security footage.”
9
      468.      On or about October 26, 2021, Stillwell informed Onni that she saw what Stillwell
10
         believed to be Planck’s body being pulled from the trash chute after becoming stuck in the
11
         chute between the 29th and 28th floors in the Hope Tower. Stillwell raised her safety
12
13       concerns with Onni and asked Onni if she could mount a Ring camera for safety reasons

14       since there are no cameras on the hallways on the 28th floor of the Hope Tower.
15
      469.      On or about October 26, 2021 Onni told Stillwell that Planck’s disappearance was
16
         not related to Hope +Flower and Stillwell likely witnessed “influencers” filming a
17
         Halloween themed skit. Onni then reiterated the large number of social media influencers
18
19       that resided at Hope + Flower, then threatened to terminate Stillwell’s lease if she mounted

20       a Ring doorbell camera.
21    470.      On November 10, 2021 CBS News reported, “The never before seen security tape
22
         of Planck in downtown LA shows her walking her dog in an alleyway behind the Hope
23
         and Flower Building where just hours later, her dog was found wandering around the
24
25       28th floor alone.”

26
27
28
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1            a. The November 10, 2021 CBS News article can be accessed at the following web

2               address: https://www.cbsnews.com/losangeles/news/exclusive-new-video-shows-
3
                heidi-planck-in-downtown-la-less-than-an-hour-after-she-was-last-seen/
4
             b. Stillwell incorporates the November 10, 2021 CBS News article by reference.
5
      471.      On or about November 11, 2021 three Los Angeles news stations, NBC Los
6
7        Angeles, KTLA, and ABC7 also reported “security tape of Planck in downtown LA

8        shows her walking her dog in an alleyway behind the Hope and Flower Building.”
9
             a. The November 11, 2021 NBC Los Angeles article can be accessed at the
10
                following web address: https://www.nbclosangeles.com/news/local/new-video-
11
                shows-missing-woman-walking-dog-heidi-planck-downtown-la/2757665/
12
13           b. The November 11, 2021 KTLA news article can be accessed at the following web

14              address : https://ktla.com/news/local-news/video-shows-missing-mom-heidi-
15
                planck-in-downtown-los-angeles-minutes-before-her-disappearance/
16
             c. The November 11, 2021 ABC7 news article can be accessed at the following web
17
                address: https://abc7.com/heidi-planck-new-video-downtown-los-angeles-
18
19              missing/11227067/

20           d. Stillwell incorporates the NBC Los Angeles, KTLA, and ABC7 news articles by
21              reference.
22
      472.      On November 29, 2021, LAPD Robbery-Homicide Division issued the following
23
         statement regarding its investigation of Planck, (hereafter “Missing Woman Investigation
24
25       NR21336bb”):

26              The investigation has revealed Planck was last seen on October 17, 2021, at an
                apartment complex at 1201 S. Hope Street, in the downtown area of Los Angeles.
27              Her dog was found in that same building. Forensic evidence was located inside the
28
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1               building which has led detectives to believe an incident occurred resulting in
                Planck’s death
2
                The Los Angeles Police Department is requesting the community’s help. Anyone
3
                who lives in the building, or was around 1201 S. Hope, on or about October 17,
4               2021, and has any information that may assist detectives in their investigation, is
                urged to contact Robbery-Homicide Division at (213) 486-6840.
5
6
      473.      LAPD’s November 29, 2021 Missing Woman Investigation NR21336bb can be
7
         accessed at: https://www.lapdonline.org/newsroom/robbery-homicide-division-missing-
8
         woman-investigation-nr21336bb/
9
10           a. Stillwell incorporates Missing Woman Investigation NR21336bb by reference.

11    474.      On November 29, 2021, NBC Los Angeles published a new article titled, “Police
12
         Search Landfill North of Los Angeles in Disappearance of West LA Mother Heidi Planck
13
         Evidence was found in downtown LA, where the LAPD says it believes Heidi Planck died
14
         during some kind of 'incident.' (hereafter, “November 29, 2021 NBC News Article”)
15
16    475.      The November 29, 2021 NBC News Article stated in part:
17              The LAPD said in a statement that it appears Planck died at an apartment building
                in downtown LA in an 'incident,' and forensic evidence found at that building led
18
                to the landfill search. A specific area was to be unearthed at the Chiquita Canyon
19              landfill, a privately operated site where commercial haul away trash containers
                from across Southern California are often dumped.
20
                Wayne said Planck's dog was found on the 28th floor of the downtown LA building
21
                at 12th and Hope streets, but said he doesn't know how the dog got into the building
22              and didn't think Planck knew anyone who lived there.

23
             a. The   November     29,   2021    NBC    News     Article   can   be   accessed   at:
24
25              https://www.nbclosangeles.com/investigations/police-search-landfill-castaic-los-

26              angeles-west-la-mother-heidi-planck-disapperance/2768400/?amp=1
27
             b. Stillwell incorporates the November 29, 2021 NBC News Article by reference.
28
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1       476.       On or about November 10, 2021, Stillwell complained to Onni about the crime and

2           safety at Hope + Flower, including Onni’s lack of cooperation with LAPD with the Heidi
3
            Planck investigation.
4
        477.       On or about December 6, 2021, Stillwell wrote a Yelp review about Hope + Flower
5
            regarding the retaliation, safety concerns, including the climate of fear caused by Onni’s
6
7           lack of cooperation and dismissive response to resident’s concerns about Planck’s

8           disappearance.
9
        478.       Between November 2021 and March 2022, web sleuths called for the residents of
10
            the 28th floor of Hope Tower to be questioned by LADP and falsely alleged that residents
11
            of the 28th floor where withholding information about Planck’s disappearance and murder.
12
13          During this time Stillwell saw multiple people roaming around the 28th Floor of the Hope

14          Tower claiming to be “investigating” the death of Planck.
15
        479.       Onni’s dishonesty, lack of care, and overall handling of the investigation of
16
            Planck’s death caused Stillwell severe emotional distress, and pain and suffering.
17
        480.       Stillwell’s complaints to Onni regarding Heidi Planck and other unsafe or
18
19   illegal living conditions at Hope + Flower were lawful, peaceful, and protected activities
20
     under, Cal. Civ. Code § 1942.5(d)
21
     Retaliation / Inferior Leasing Terms: Rent Cafe Resident Portal
22
        481.       Onni knowingly and willingly took the following adverse actions against Stillwell
23
24          in retaliation because of Stillwell’s complaints in October 2021 about safety and Heidi

25          Planck, in violation of Cal. Civ. Code §§1942.5(d), 52.1 and 42 U.S.C. § 3617:
26
               a. On or about October 27, 2021, Onni deactivated Stillwell’s Rent Café access.
27
               b. On or about October 27, 2021, Onni returned Stillwell’s October 2021 rent.
28
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1              c. On or about October 28, 2021, Onni cancelled Stillwell’s lease renewal

2              d. On October 28, 2021, Onni endeavored to evict Stillwell, in violation of L.A.M.C
3
                  § 49.99.2(B)
4
               e. On October 28, 2021, Onni refused to accept October 2021 rent from Stillwell.
5
               f. On October 29, 2021, Onni offered Stillwell inferior leasing terms compared to
6
7                 similarly situated persons outside of Stillwell’s protected classes

8              g. On October 29, 2021, Onni refused to provide copy of the October 29, 2021 Lease
9
                  in violation of Cal. Civ. Code § 1962(a)(4).
10
     Rent Café’ Tenant Portal
11
        482.      On October 6, 2021 Onni emailed Stillwell regarding its use of Rent Café:
12
13                    Once activated, your Resident Services account will provide you online access
14                    to:
15
                            •   Enjoy 24/7 self-service account management
16
                            •   Check your balances and make payments
17
18                          •   Schedule recurring auto-payments for rent and other dues
19
                            •   Submit maintenance requests
20
                            •   Check out upcoming community events
21
22                          •   Much, much more!

23
                      Should your email address change, please remember to update your Resident
24                    Services account profile. Your email address must be current to
25                    receive payment notifications,    community     updates,    and   other   online
26                    activity confirmations. If you have any questions, please contact us. We

27                    appreciate the opportunity to serve you.

28
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1
2     483.      On June 15, 2021 Onni emailed Stillwell regarding its use of Rent Café:
3
                Please be sure to use your Rent Cafe app to place work orders. Always be sure to
4
                include details and permissions to enter units when unavailable. Kindly allow our
5
                team 48-72 hours to follow up with pending work orders.
6
7     484.      In a Community Update email dated March 24, 2022, Onni stated in part:

8                       Certified funds and/or personal checks will no longer be accepted. All rent
9
                        payments must be submitted via resident portal starting 4.1.22. Late fees
10
                        will be added to ledgers on the 4th day of each month in the amount of $100
11
                        if rent is not paid in full.
12
13    485.      After Onni restricted Stillwell’s Rent Café access, Stillwell was no longer able to

14       enjoy 24/7 self-service account management, check her balances and make rent payments,
15
         schedule recurring auto-payments for rent and other dues, submit maintenance requests,
16
         reserve amenities, or check out upcoming community events.
17
             a. In August 2022 and October 2022 Stillwell was forced to contact YES Energy
18
19              Management, (“YES”) a third-party utility billing company used by Onni, to obtain

20              copies of past utility statements.
21    486.      At the time of filing this Complaint, Stillwell has not had access to Rent Cafe since
22
         October 2021. for 12 months, and Onni continues to refuse Stillwell access.
23
             a. Onni’s restriction of Stillwell’s Rent Café access constitutes twelve (12) separate
24
25              offering of inferior terms, conditions, privileges, or services for each month that

26              Stillwell was denied Rent Café access.
27
28
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1              b. Onni’s restriction of Stillwell’s Rent Café access constitutes twelve (12) separate

2                 refusal of rent for each month that Stillwell was denied Rent Café access.
3
        487.      On October 26, 2021, October 27, 2021, October 28, 2021, and October 29, 2021,
4
           Onni used threats, intimidation, or coercion, or attempted to interfere by threat,
5
           intimidation, or coercion with Stillwell’s exercise or enjoyment of rights secured by the
6
7          Constitution or laws of the United States, or of the rights secured by the Constitution or

8          laws of California, in violation of Ca. Civil Code §52.1.
9
        488.      Onni’s conduct related to Heidi Planck’s death On October 26, 2021, October 27,
10
           2021, October 28, 2021, and October 29, 2021was menacing conduct constituting a
11
           course of conduct that interfered with Stillwell’s quiet enjoyment of the premises and
12
13         created an apprehension of harm in Stillwell in violation of Cal. Civ. Code §§ 1927 and

14         1940.2 (a)(3).
15      489.      At the time of filing this Complaint, Onni’s restriction of Stillwell’s Rent Café
16
           access constitutes twenty-four (24) separate violations of Cal. Civ. Code §§1942.5(d), 52.1
17
           and L.A.M.C. § 45.33, for a total of seventy-two (72) violations.
18
19   City of Los Angeles COVID-19 Emergency Renter Protections L.A.M.C. §§ 49.99 et. seq.

20      490.      On May 12, 2020, the Los Angeles City Council adopted the Temporary
21
           Protection of Tenants During Covid-19 Pandemic (“LA Eviction Ordinance”) which
22
           suspends certain evictions of renters for failure to pay rent due to COVID-19
23
24         related loss of income.

25      491.      Section § 49.99 of LA Eviction Ordinance states in relevant part:
26                On March 4, 2020, the Governor of the State of California declared a State of
27                Emergency in California as result of the COVID-19 pandemic. That same day, the
                  Mayor also declared a local emergency.
28
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1               On March 16, 2020, the Governor issued Executive Order N-28-20, which
                authorizes local jurisdictions to suspend certain evictions of renters and
2               homeowners, among other protections. The Executive Order further authorizes the
                City of Los Angeles to implement additional measures to promote housing security
3
                and stability to protect public health and mitigate the economic impacts of the
4               COVID-19 pandemic.

5               The economic impacts of COVID-19 have been significant and will have lasting
                repercussions for the residents of the City of Los Angeles….. As a result, many
6
                residents are experiencing unexpected expenditures or substantial loss of income as
7               a result of business closures, reduced work hours, or lay-offs related to these
                government-ordered interventions.
8
                The COVID-19 pandemic threatens to undermine housing security and generate
9
                unnecessary displacement of City residents and instability of City businesses.
10              Therefore, the City of Los Angeles has taken and must continue to take measures
                to protect public health, life, and property.
11
                This ordinance temporarily prohibits evictions of residential and
12
                commercial tenants for failure to pay rent due to COVID-19 and prohibits evictions
13              of residential tenants during the emergency for no-fault reasons, for unauthorized
                occupants or pets, and for nuisance related to COVID-19. This ordinance further
14              suspends withdrawals of occupied residential units from the rental market under the
                Ellis Act, Government Code Section 7060, et seq.
15
16    492.      Section § 49.99.2 of LA Eviction Ordinance states in relevant part:

17
                During the Local Emergency Period and for 12 months after its expiration, no
18              Owner shall endeavor to evict or evict a residential tenant for non-payment of rent
                during the Local Emergency Period if the tenant is unable to pay rent due to
19              circumstances related to the COVID-19 pandemic… Tenants shall have up to 12
                months following the expiration of the Local Emergency Period to repay any rent
20              deferred during the Local Emergency Period.
21
22    493.       L.A.M.C § 49.99.2(B) states, “No Owner shall endeavor to evict or evict a
23
         residential tenant for a no-fault reason during the Local Emergency Period.
24
      494.       L.A.M.C § 49.99.2(D) states, “No Owner shall charge interest or a late fee on
25
26       rent not paid under the provisions of this article.”

27
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1     495.      L.A.M.C § 49.99.2(F) states, “No Owner shall influence or attempt to influence,

2        through fraud, intimidation or coercion, a residential tenant to transfer or pay to the Owner
3
         any sum received by the tenant as part of any governmental relief program.”
4
5     496.      L.A.M.C § 49.99.7 states in relevant part, a civil proceeding by a residential tenant
6        under this section shall commence only after the tenant provides written notice to the
7
         Owner of the alleged violation, and the Owner is provided 15 days from the receipt of the
8
         notice to cure the alleged violation.
9
10    497.       L.A.M.C § 49.99.1(B) defines "Endeavor to evict" as conduct where the Owner
11
         lacks a good faith basis to believe that the tenant does not enjoy the benefits of this article
12
         and the Owner serves or provides in any way to the tenant: a notice to pay or quit, a notice
13
14       to perform covenant or quit, a notice of termination, or any other eviction notice.

15
      498.      L.A.M.C § 49.99.1(C) defines "Local emergency period" as the period of time from
16
         March 4, 2020, to the end of the local emergency as declared by the Mayor.
17
18    499.      Onni-BC and Onni are each an Owner as defined by L.A.M.C § 49.99.1(E).
19
20    500.      Hope + Flower Apartments are a “Residential real property” as defined by L.A.M.C

21       § 49.99.1(F).
22
      501.      Upon information and belief, the Local emergency period ends on January 31,
23
24       2023. Tenants must pay any rent deferred during the Local Emergency Period by February

25       1, 2024.
26
27
28
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1    Endeavor to Evict – November 2021

2       502.      On November 3, 2021, Stillwell informed Onni that she applied for COVID-19
3
           rental assistance through Housing is Key ("HIK"). Stillwell also provided Onni with a
4
           notice of her inability to pay rent due to circumstances related to the COVID-19 pandemic
5
           (hereafter, “November 2021 COVID-19 Declaration). A true and correct copy of the
6
7          November 2021 COVID-19 Declaration is incorporated by reference and attached as

8          Exhibit N.
9
        503.      On November 9, 2021, Onni served Stillwell a 3-Day Notice to Pay Rent or Quit,
10
           for payment of November 2021 rent, in the amount of $4,752.00 (hereafter, “November
11
           2021 Notice to Quit”). In November 2021, Stillwell’s rent was $4,619.00 per month, not
12
13         $4,752.00.

14             a. On November 9, 2021, Onni also served Stillwell with Notice to Cure Covenant or
15
                  Quit, for payment of $171.82 that was due on November 1, 2021 for Stillwell’s
16
                  utilities, (“Notice to Cure Covenant”).
17
               b. According to Stillwell’s utility statement that was due on November 1, 2021,
18
19                (“November 2021 Utility Statement”) the total amount of Stillwell’s utilities that

20                were due on November 1, 2021, were $156.41, not $171.82 as stated in Notice to
21                Cure Covenant.
22
               c. The November 2021 Notice to Quit and Notice to Cure Covenant, (collectively,
23
                  “November 2021 Notice to Quit and Cure”) were served together. A true and
24
25                correct copy of the November 2021 Notice to Quit and Cure is incorporated by

26                reference and attached as Exhibit O.
27
28
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1     504.      In August 2022, Stillwell obtained a copy of the November 2021 Utility Statement

2        from YES.
3
             a. November 2021 Utility Statement has statement date of October 22, 2021 and
4
                covers “Billing Period: 8/31/2021 – 9/30/2021.”
5
             b. According to the November 2021 Utility Statement, Onni charged Stillwell
6
7               $4,752.00 for “Rent (11/2021),” $100.00 for “Storage,” and $12.00 for “Resident

8               Liability Waiver.”
9
             c. The November 2021 Utility Statement states Stillwell’s total amount due on
10
                November 1, 2021 was $10,487.44.
11
             d. A true and correct of Stillwell’s November 2021 Utility Statement is incorporated
12
13              by reference and attached as Exhibit P.

14    505.      The November 2021 Utility Statement and the November 2021 Notice to Quit and
15       Cure both reported Stillwell’s rent and Stillwell’s utilities that were due on November 1,
16
         2021; However, there is a discrepancy of $5,563.62 between the amounts due in November
17
         2021 Utility Statement versus the November 2021 Notice to Quit and Cure.
18
19           a. On November 1, 2021, Stillwell did not have a past due balance and could not have

20              had a past due balance on November 1, 2021. November 2021 was the first month
21              of Stillwell’s new lease.
22
             b. On October 29, 2021, Onni required Felder to pay Stillwell’s outstanding balance
23
                on the August 2020 Lease, before allowing Stillwell to renew her lease.
24
25    506.      On November 10, 2021, pursuant to L.A.M.C § 49.99.7, Stillwell informed Onni

26       that the November 2021 Notice to Quit and Cure was sent in violation of L.A.M.C §
27       49.99.2(B).
28
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1       507.      On November 13, 2021, Onni emailed Stillwell stating in part, “Unfortunately,

2          there is no record of any payment being posted to your account on October 29th” As
3
           discussed above, on October 29, 2021 Felder was forced to fly to Los Angeles to present
4
           Onni with certified funds.
5
        508.      Onni served the November 2021 Notice to Quit and Cure in bad faith and
6
7          endeavored to evict for non-payment of rent during the Local Emergency Period because

8          Stillwell unable to pay rent due to circumstances related to the COVID-19 pandemic.
9
     Malicious Prosecution – December 2021 Unlawful Detainer Complaint
10
        509.      On December 7, 2021, Evans and KTS filed an unlawful detainer complaint, Onni
11
           Real Estate IX, LL vs Brittany Stillwell, et al. Case No. 21STUD03349, in Los Angeles
12
13         Superior Court, (“December 2021 Unlawful Detainer Complaint”). Evans and KTS filed

14         the Unlawful Detainer on behalf of Onni, for Stillwell’s alleged nonpayment of rent, in
15
           the amount of $4,75211 that was due to Onni on November 1, 2021.
16
        510.      The December 2021 Unlawful Detainer Complaint included Form UD-101,
17
           Plaintiff’s Mandatory Cover Sheet and Supplemental Allegations – Unlawful Detainer
18
19         (“Supplemental Allegations”).

20             a. Paragraph 3 of the Supplemental Allegations states in relevant part,
21                Before filing the complaint in this action. Plaintiff completed an application for
22                governmental rental assistance to cover the rent or other financial obligations
                  demanded in this action, including all the required contact information and
23                documentation, and all of the following are true: At least 20 days have passed
                  since…. The date the plaintiff submitted the completed application. And
24                Plaintiff has not received any notice from the governmental agency to which
25                defendant has applied for governmental rental assistance to cover the rent or other
                  financial obligations demanded from the defendant in this action. And
26
27
     11 On November 1, 2021 Stillwell’s rent was $4,619.00 not $4,752.00
28
                     VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1               Plaintiff was not received a communication from the defendant that defendant has
                applied for governmental rental assistance to cover the rent or other financial
2               obligations demanded from the defendant in this action.
3
             b. Paragraph 3 of the Supplemental Allegations also states “Verifications required for
4
                issuance of summons-residential (Code Civ. Proc., § 1179.11(a) The Complaint and
5
                Supplemental Allegations were both verified under penalty of perjury by Sandra
6
7               Leal, (“Leal”), an “Assistant Manager for Onni.

8     511.      As described in detail below in the allegations regarding Onni’s COVID-19 rental
9
         assistance scheme:
10
             a. In December 2021 Stillwell was unaware that Onni applied for rental assistance on
11
                her behalf.
12
13           b. Stillwell’s November 2021 COVID-19 Declaration, which is attached as Exhibit

14              N, contained a Verification of Program Participation in California’s Housing is Key
15              ("HIK") rental assistance through. Under penalty of perjury, Onni stated that as of
16
                December 7, 2021 Stillwell had not applied for governmental rental assistance,
17
                despite the HIK Verification of Program Participation stating, “Application
18
19              Submission Date: 10/20/2021”

20           c. In December 2021 Onni attempted to unlawfully evict Stillwell while her
21              application for rental assistance was pending.
22
             d. As a part of its COVID-19 rental assistance scheme, Onni refused to complete the
23
                Landlord’s portion of Stillwell’s application for nearly five (5) months. Onni sought
24
25              approval for the rental assistance application it filed sometime in September 2021,

26              without Stillwell’s knowledge. Stillwell became aware of Onni’s rental assistance
27              scheme sometime around August 2022.
28
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1            e. A true and correct copy of the December 2021 Unlawful Detainer Complaint and

2               Supplemental Allegations is incorporated by reference as Exhibit Q.
3
      512.      Pursuant to L.A.M.C.§ 49.99.2 Stillwell’s November 2021 rent is due by February
4
         1, 2024.
5
      513.      On or about December 9, 2021, Onni contacted Stillwell and offered to dismiss the
6
7        December 2021 Unlawful Detainer Complaint against Stillwell and honor her September

8        23, 2021 Lease if Stillwell agreed to remove her Yelp review about Heidi Planck’s death
9
         and other criminal activity at Hope + Flower. Stillwell deleted the Yelp review on or about
10
         December 9, 2021.
11
      514.      Stillwell’s Answer to the December 2021 Unlawful Detainer Complaint was due
12
13       on December 15, 2021. At 8:00AM on December 15, 2021 Onni had not dismissed the

14       December 2021 Unlawful Detainer Complaint as promised.
15    515.      On December 15, 2021 at 8:56AM, Stillwell texted Onni Regional manager James
16
         O’Neill (“O’Neill”) the following:
17
                Good morning James. This is Brittany Stilwell. We spoke last week about the
18              unlawful eviction suit. You stated someone from H+F would be contacting me -
19              that hasn't happened. I also don't see where the case has been dismissed. My reply
                is due today in court. Please confirm by 12p that the case has been dismissed.
20              Otherwise I'll proceed with a reply and counter-suit
21    516.      On December 15, 2021 at 12:40PM, Stillwell texted O’Neill the following:
22
                        Hi James. I spoke with Travis and he confirmed that the eviction suit was
23
                        dismissed. I also wanted to confirm that the Yelp review has since been
24
25                      removed. Thanks so much for your assistance. Regarding this matter!

26    517.      O’Neill did not respond to either of Stillwell’s text until December 20, 2021 at
27       4:36PM.
28
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 1    518.      Below is a true and correct screenshot of text messages Stillwell sent to O’Neill on

 2       December 15, 2021.
 3
 4
 5
 6
 7
 8
 9
10
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12
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14
15
16
17
18
19
20
      519.      On or about December 15, 2021, Evans and KTS filed a Request for Dismissal of
21
         the December Unlawful Detainer (“December 2021 Request for Dismissal”). The
22
23       December 2021 Request for Dismissal was granted.

24    520.      On December 15, 2021, Onni emailed Stillwell with a copy of its request for
25
         dismissal and finally provided Stillwell, with a copy of her current lease. A true and correct
26
         copy of the request for dismissal that Onni emailed to Stillwell on December 15, 2021,
27
28
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1        (“December 2021 Request for Dismissal) is incorporated by reference and attached as

2        Exhibit C.
3
      521.      Onni endeavored to evict for non-payment of rent during the Local Emergency
4
         Period because Stillwell unable to pay rent due to circumstances related to the COVID-19
5
         pandemic.
6
7     522.      Onni also endeavored to evict Stillwell in violation of L.A.M.C § 49.99.2 and to

8        retaliate against Stillwell's against Stillwell's safety complaints and Yelp Review!!! The
9
         December 2021 Unlawful Detainer Complaint was filed in bad faith, and in furtherance of
10
         schemes to defraud Stillwell and California’s COVID-19 rental assistance program.
11
      523.      Onni knowingly and willingly took the following adverse actions against Stillwell
12
13       in retaliation because of Stillwell’s complaints in October 2021 about safety and Heidi

14       Planck, in violation of Cal. Civ. Code §§1942.5(d), 52.1 and 42 U.S.C. § 3617:
15           a. On November 9, 2021, Onni served Stillwell a 3-Day Notice to Pay Rent or Quit
16
             b. November 9, 2021, Onni also served Stillwell with Notice to Cure Covenant or Quit
17
             c. On December 7, 2021 filed December 2021 Unlawful Detainer Complaint
18
19    524.      On or about November 9, 2021 and December 7, 2021, Onni used threats,

20       intimidation, or coercion, or attempted to interfere by threat, intimidation, or coercion with
21       Stillwell’s exercise or enjoyment of rights secured by the Constitution or laws of the United
22
         States, or of the rights secured by the Constitution or laws of California, in violation of Ca.
23
         Civil Code §52.1
24
25    525.      Onni’s retaliatory conduct related in November 2021 and December 2021, was

26       menacing conduct constituting a course of conduct that interfered with Stillwell’s quiet
27
28
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1          enjoyment of the premises and created an apprehension of harm in Stillwell in violation of

2          Cal. Civ. Code §§ 1927 and 1940.2 (a)(3).
3
        526.       Onni’s endeavors to evict Stillwell in November 2021 and December 2021
4
           constitutes three (3) separate violations of Cal. Civ. Code §§1942.5(d), 52.1, and L.A.M.C.
5
           § 45.33.
6
7    Fair Debt Collection Practices Act (“FDCPA”) 15 U.S.C. §§ 1692 et seq.

8       527.       Section 1692a (6) of the FDCPA defines "debt collector" as any person who uses
9
           any instrumentality of interstate commerce or the mails in any business the principal
10
           purpose of which is the collection of any debts, or who regularly collects or attempts to
11
           collect, directly or indirectly, debts owed or due or asserted to be owed or due another.
12
13      528.        Attorneys who regularly engage in debt collection activity, even when that activity

14         consists of litigation, are debt collectors as defined in the FDCPA.
15
        529.       Attorneys and law firms who engage in eviction proceedings on behalf of landlords
16
           or residential property owners to collect unpaid residential rent are "debt collectors" as
17
           defined by the FDCPA.
18
19      530.       Evans and KTS are debt collectors" as defined by the FDCPA, 15 U.S.C.

20         §1692(a)(6).
21      531.       Stillwell is a "consumer" within the meaning of the FDCPA, 15 U.S.C. §1692(a)(3).
22
        532.       Pursuant to 15 U.S.C. § 1692, Stillwell has a congressionally defined right to
23
           receive all communications from a debt collector free from any misrepresentations and
24
25         false threats.

26
27
28
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1     533.      Alleged debt pursued by Onni, KTS, and or Evans in unlawful detainers is debt

2        primarily for personal, family or household purposes and is therefore a “debt” as defined
3
         by 15 U.S.C. § 1692(a)(5).
4
5     534.      Pursuant to L.A.M.C.§ 49.99.2 city of Los Angeles tenants must pay any rent

6        deferred during the Local Emergency Period by February 1, 2024.

7
      535.      Every landlord filing an unlawful detainer in Los Angeles Superior Court during
8
9        the Local Emergency Period, as defined by L.A.M.C. § 49.991(C), was required to

10       complete Supplemental Allegations (Form UD- 101) and apply for Covid-19 rental

11       assistance.
12
13           a. Eligibility for California’s HIK rental assistance program required tenants to have

14              sustained a COVID-19 related loss of income. Accordingly, if a Defendant-tenant

15              would have needed to have a COVID-19 related loss of income, for a Plaintiff-
16
                landlord to have a pending COVID-19 rental assistance application.
17
18           b. L.A.M.C. § 49.992 made evictions pursuant to a COVID-19 related loss of income
19              unlawful and made accumulated rent during the Local Emergency Period
20
                uncollectable, or not due until twelve (12) months after the expiration of Local
21
                emergency, or February 1, 2024.
22
23           c. Evans and KTS knowingly and willing filed hundreds of unlawful detainers that
24
                had Plaintiff-landlord pending rental assistance applications.
25
26    536.      The plain language of the FDCPA requires debt collectors to communicate the
27       disputed status of a debt if the debt collector knows or should know that the debt is disputed.
28
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1          This standard requires no notification by the consumer but depends on the debt collector’s

2          knowledge that a debt is disputed, regardless of how or when that knowledge is required.
3
           Evans and KTS knew or should have known that the debt it sought to collect during the
4
           Local Emergency Period, as defined by L.A.M.C § 49.991(C) was disputable debt, if the
5
           Plaintiff-landlord had a pending rental assistance application.
6
7
        537.      Section 1692e of the FDCPA prohibits a debt collector from using any false,
8
           deceptive, or misleading representation or means in connection with the collection of any
9
           debt. Congress has found that “[a]busive debt collection practices contribute to the number
10
11         of personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of

12         individual privacy.” 15 U.S.C. § 1692(a).
13
        538.      Section 1692d of the FDCPA prohibits any debt collector from engaging in any
14
15         conduct the natural consequence of which is to harass, oppress, or abuse any person in

16         connection with the collection of a debt. Section 1692f prohibits of the FDCPA the use of
17
           unfair and unconscionable means to collect a debt.
18
        539.      Evans and KTS acted unconscionably by filing unlawful detainer suits on behalf of
19
20         Onni during the Local Emergency Period and by attempting to collect on debts they knew

21         or should have known, were not due.
22
     RICO Scheme #6– Unlawful Evictions
23
        540.      Upon information and belief Evans and KTS knowingly and willingly participated
24
           and or operated a scheme with Onni Group Enterprise of endeavoring to evict tenants in
25
26         violation of L.A.M.C. § 49.99.2, which allowed Onni to apply and receive rental assistance

27         after the tenant was evicted and without the tenant’s knowledge.
28
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1            a. Once the tenants were evicted, Onni withdrew occupied residential units from the

2               rental market and re-leased the units as short-term rentals, in violation of the Ellis
3
                Act, Cal. Gov. Code §§7060, et seq and L.A.M.C. § 49.99.4.
4
      541.      Upon information and belief, from March 4, 2020 through the filing of this
5
         Complaint, KTS and Evans knowingly and willingly filed more than five hundred (500)
6
7        unlawful detainers in Los Angeles Superior Court, on behalf of Onni Group Enterprise, in

8        violation of L.A.M.C. § 49.99.2.
9
      542.      Upon information and belief, this fraudulent scheme has harmed countless tenants
10
         throughout Los Angeles County.
11
12
      543.      Upon information and belief, Defendants Onni and Onni-BC exercised control over
13
         Defendants Evans and KTS’ attempts to collect the alleged debt via unlawful detainer
14
         lawsuits.
15
16
      544.      Defendant Onni-BC is vicariously liable for Defendants Evans and KTS’ actions
17
         as they had agency over determining the amount of the alleged debt that the debt collectors,
18
         Defendants Evans and KTS, were allowed to attempt to collect on their behalf.
19
20
      545.      Defendant Onni is vicariously liable for Defendants Evans and KTS’ actions as
21
         they had agency over determining the amount of the alleged debt that the debt collectors,
22
23       Defendants Evans and KTS’, were allowed to attempt to collect on their behalf.

24
      546.      Defendants Evans and KTS would not legally be allowed to collect the alleged debt
25
         on behalf of Onni-BC and Onni if Defendants Onni-BC and Onni had not in fact given
26
27
28
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1          them approval or agency to act on their behalf to collect in a manner Onni-BC and Onni

2          had knowingly approved or permitted.
3
4       547.      Upon information and belief, Defendants Onni-BC and Onni gave Defendants

5          Evans and KTS the green light, and thus agency, to attempt to collect the alleged debt in
6          the manner in which Evans and KTS did.
7
        548.      Evans and KTS each were each necessary and integral for the scheme
8
9    Endeavor to Evict – May 2022

10      549.      On May 5, 2022, Stillwell provided Onni with a notice of her inability to pay rent

11         due to circumstances related to the COVID-19 pandemic (“May 2022 COVID-19
12
           Declaration”).
13
        550.      On or about May 11, 2022, Onni served Stillwell a 3-Day Notice to Pay Rent or
14
           Quit, for payment of payment of May 2022 rent, in the amount of $4, 619.00 (“May 2022
15
16         Notice to Quit”). Pursuant to L.A.M.C.§ 49.99.2 Stillwell’s May 2022 rent is due by

17         February 1, 2024.
18
        551.      Onni served the May 2022 Notice to Quit in bad faith and endeavored to evict for
19
           non-payment of rent during the Local Emergency Period because Stillwell unable to pay
20
           rent due to circumstances related to the COVID-19 pandemic.
21
22   Threats of Intimidation and Violence

23      552.      Onni Group uses threats of intimidation and violence to silence opponents and
24         victims. Stillwell was the victim of numerous break-in attempts and unlawful trespassing,
25
           which typically followed Stillwell’s complaints about a serious safety or security issue.
26
27
28
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1     553.      Onni Group’s enforcers would typically pretend to be maintenance, security, or

2        management to gain access into tenants’ apartments. Once inside, some tenants were
3
         threatened and coerced to sign non-disclosure agreements, others were physically
4
         assaulted, as described in several Hope + Flower Yelp reviews of former residents.
5
      June 2, 2022 Maintenance Incident
6
7     554.      On June 2, 2022, around 9:50AM, Onni sent a man pretending to be a maintenance

8        worker to Stillwell’s apartment to change her locks, in an unlawful attempt to lock Stillwell
9
         out of her apartment. The man was wearing a black Onni shirt and had a utility cart, similar
10
         to those used by Onni’s maintenance workers. Later that night, on June 2, 2022, at
11
         approximately 10:00PM, the same man returned to Stillwell’s apartment wearing street-
12
13       clothes and attempted to enter Stillwell’s apartment.

14    555.               On June 2, 2022, Stillwell recorded the man pretending to be an Onni
15
         maintenance worker, (hereafter, "Maintenance Video").          The Maintenance Video is
16
         thirteen (13) seconds in length. Stillwell uploaded the Maintenance Video to a secure cloud
17
         drive to make the video available and accessible for viewing. A true and correct copy of
18
19       the Maintenance Video can be accessed and viewed at https://link.brittstillwell.com/10pm-

20       Maintenance-06-02-22 Stillwell incorporates the Maintenance Video by refence.
21    556.      Below is a true and correct screenshot taken from the Maintenance Video, which
22
         was sent to Onni. The screenshot is time stamped “June 2 9:59 PM”
23
24
25
26
27
28
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15
      557.      Stillwell called LAPD to report incident, however LAPD declined to take
16
         Stillwell’s police report. Per LAPD, the hallways are a common area with no expectation
17
18       of privacy, and only Onni could file a police report about trespassers on its property.

19           a. The concierge and security on duty informed LAPD that they did not recognize the

20              man who pretended to be an Onni employee, and they were unaware of any
21
                emergency, or after hour maintenance requests.
22
             b. The concierge and security confirmed with LAPD their process for emergency or
23
                after hour maintenance includes calling to inform the resident beforehand. They
24
25              also confirmed that the maintenance man breached more than four layers of security

26              to access Stillwell’s apartment.
27
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1            c. According to Onni, the concierge and security “must follow protocol and ensure

2               they are calling every resident every time there is a delivery or guests.” Onni’s
3
                protocol for emergency and non-emergency maintenance also includes notice and
4
                consent, especially or maintenance requests outside of normal business hours.
5
             d. Stillwell did not receive a call or notification that a maintenance would need to
6
7               enter her home on June 2, 2022.

8     558.      Upon information and belief, Onni does not keep records of when its employees,
9
         vendors, or contractors enter a resident’s home. Onni does not keep a log of its mandatory
10
         inspections. Without any oversight, Onni’s employees, vendors, or contractors are given
11
         free rein to enter Stillwell’s home, unlawfully, without notice or consent.
12
13    559.      Onni refuses to allow Stillwell to mount a doorbell camera despite Stillwell’s

14       multiple complaints to Onni about unsafe, menacing, and harassing conduct by Onni’s
15       employees, contractors, and vendors, who enter Stillwell’s home without notice or consent.
16
             a. Sometime in 2022 Onni placed an “Occupied” sticker on Stillwell’s door because
17
                Onni employees kept entering Stillwell’s apartment without notice or consent. At
18
19              the time of filing this complaint, Stillwell has been the only tenant on the 28th floor

20              with an “Occupied” sticker on her door. According to Onni, employees enter
21              Stillwell’s apartment because Onni’s system shows Apartment #2814 as “empty.”
22
             b. Upon information and belief, Onni kept multiple books and records of occupancy
23
                and rental payments as part of its COVID-19 rental assistance schemes.
24
25    560.      Onni has failed to take steps to prevent its employees, contractors, and vendors

26       from trespassing and unlawfully entering Stillwell’s residence.
27
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1       561.        Onni failed to address or investigate the June 2nd incident. On or about June 4, 2022

2    Stillwell informed Onni that she filed a complaint against Onni with California Department of Fair
3
     Employment and Housing (“DFEH”). Stillwell’s complaints to DFEH were lawful, peaceful, and
4
     protected activities under, Cal. Civ. Code § 1942.5(d)
5
     Hidden Cameras Placed in Stillwell’s Apartment
6
7       562.        Sometime in 2022, two of Stillwell’s smoke detectors were placed with smoke

8    detectors that contained hidden audiovisual recording devices. Stillwell discovered the hidden
9
     recording devices sometime in August 2022.
10
                a. Upon information and belief, sometime in 2021-2022 several undercover FBI
11
                    agents lived at Hope + Flower. Onni became aware of the FBI agents via a FBI
12
13                  agent who worked in the FBI’s Los Angeles Field office.

14              b. Upon information and belief, sometime in 2022 Onni installed recording devices in
15
                    the apartments of residents suspected of being undercover FBI agents and residents
16
                    suspected of being “snitches.”
17
        September 13, 2022 Manager Incident
18
19      563.        On September 13, 2022, a man pretending to be an Onni manger attempted to enter

20          Stillwell’s home with a master key fob, without notice or consent. Stillwell’s deadbolt was
21          on, thus preventing Onni’s entry, and signaling to Onni that Stillwell’s residence was
22
            occupied. The deadbolt lock could only be activated and deactivated from inside the
23
            apartment.
24
25      564.        Stillwell observed the encounter from inside her home via live surveillance. While

26          the “manager” was at Stillwell’s door, a domestic dispute is heard from the unit next to
27          Stillwell’s apartment. Stillwell also noticed the “manger” arrived on the 28th floor via the
28
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1        stairwell. The Hope + Flower management office is located twenty (20) floors below

2        Stillwell, on the 8th floor. There are cameras in the elevators, but no cameras in the
3
         stairwells or hallways. Thus, a person can avoid cameras by taking the stairs.
4
      565.      Stillwell’s security cameras captured the “manager” less than a week prior casing
5
         Stillwell’s door with another man. Stillwell did not recognize either man. Stillwell called
6
7        Hope + Flower security on September 13, 2022, and they were unable to identify the man

8        who pretended to be an Onni property manager.
9
      566.      On September 13, 2022, Stillwell recorded the man pretending to be an Onni
10
         maintenance worker, (hereafter, "Manager Video"). The Manager Video is one minute and
11
         twenty-seven (27) seconds in length. Stillwell uploaded the Manager Video to a secure
12
13       cloud drive to make the video available and accessible for viewing.

14           a. A true and correct copy of the Manager Video can be accessed and viewed at
15
                https://link.brittstillwell.com/Manager-Video-9-13-2022 Stillwell incorporates the
16
                Manager Video by refence.
17
      567.      Below is a true and correct screenshot taken from the Manager Video, which was
18
19       sent to Onni. The screenshot is time stamped “September 13 2:04 PM”

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15
16
17    568.      On or about September 14, 2022, Onni locked Stillwell out of her apartment by
18       removing access to Apartment #2814 from both of Stillwell’s key fobs.
19
      569.      Two LAPD officers arrived but refused to take Stillwell’s police report, stating the
20
         lockout appeared to be “an accident.”
21
22           a. It took LAPD more than 6 hours to respond to Stillwell’s last two calls for

23              assistance- and both times LAPD officers refused to take Stillwell’s report. Stillwell
24              has refrained from reporting incidents to LAPD out of fear of retaliation and fear
25
                of being gaslit as a victim of crime.
26
27
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1     570.         At the time of filing this Complaint, Onni has not addressed Stillwell’s safety and

2        security concerns, despite receiving video and photos of the security and safety incidents
3
         discussed herein.
4
      571.         Onni’s conduct related to the lockout was menacing conduct constituting a course
5
         of conduct that interfered with Stillwell’s quiet enjoyment of the premises and created an
6
7        apprehension of harm in Stillwell in violation of Cal. Civ. Code §§ 1927 and §1940.2

8        (a)(3).
9
      572.         On or about June 2, 2022, September 13, 2022, and September 14, 2022, Onni used
10
         threat, intimidation, or coercion, or attempted to interfere by threat, intimidation, or
11
         coercion with Stillwell’s exercise or enjoyment of rights secured by the Constitution or
12
13       laws of the United States, or of the rights secured by the Constitution or laws of California,

14       in violation of Ca. Civil Code §52.1.
15    Malicious Prosecution - June 2022 Unlawful Detainer
16
      573.         On June 22, 2022, Evans and KTS filed an unlawful detainer complaint, Onni
17
         Real Estate IX, LL vs Brittany Stillwell, et al. Case No. 22STUD03096, in Los Angeles
18
19       Superior Court, (“June 2022 Unlawful Detainer Complaint”). Evans and KTS filed the

20       Unlawful Detainer on behalf of Onni, for Stillwell’s alleged nonpayment of rent, in the
21       amount of $4,619 that was due to Onni on May 1, 2021.
22
      574.         Onni endeavored to evict Stillwell in violation of L.A.M.C § 49.99.2 and to retaliate
23
         against Stillwell's complaints to DFEH and on June 4, 2022.
24
25    575.         On or about July 11, 2022, Stillwell served Onni, KTS and Evans with Motion for

26       Sanctions, but KTS and Evans maintained and defended suit until day that its Reply to
27       Motion for sanctions was due, on August 22, 2022. On August 22, 2022 Evans and KTS
28
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1        filed a Request for Dismissal of the July 2022 Unlawful Detainer. The dismissal was

2        granted on or about September 6, 2022.
3
      576.       During a hearing on August 12, 2022 for the June Unlawful Detainer suit, Stillwell
4
         informed Judge Viramontes and KTS that Stillwell had not received any mailed copies of
5
         documents as specified in KTS’ proofs of service. On August 12, 2022 Judge Viramontes
6
7        ordered KTS to serve Stillwell via email, pursuant to Stillwell’s request for electronic

8        service. Despite Judge Viramontes order, KTS continued to serve Stillwell documents via
9
         mail.
10
             a. Upon information and belief, KTS and Evans either filed at least five (5) falsified
11
                 proofs of service in the June Unlawful Detainer suit, or Onni stole mail from
12
13               Stillwell’s mailbox, in violation of 18 U.S.C. § 1708.

14    577.       In June 2022, Onni used threats, intimidation, or coercion, or attempted to interfere
15       by threat, intimidation, or coercion with Stillwell’s exercise or enjoyment of rights secured
16
         by the Constitution or laws of the United States, or of the rights secured by the Constitution
17
         or laws of California, in violation of Ca. Civil Code §52.1
18
19    578.       Onni’s retaliatory conduct related in June 2022 was menacing conduct

20       constituting a course of conduct that interfered with Stillwell’s quiet enjoyment of the
21       premises and created an apprehension of harm in Stillwell in violation of Cal. Civ. Code
22
         §§ 1927 and 1940.2 (a)(3).
23
      579.       Onni caused the June 2022 Unlawful Detainer Complaint to be filed in bad faith,
24
25       and in furtherance of schemes to defraud Stillwell, violations of Cal. Civ. Code

26       §§1942.5(d), 52.1, and L.A.M.C. § 45.33.
27
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1     580.      Each time Onni, KTS and Evans sent a person to Stillwell's home to collect a debt

2        that was not due, constitutes a separate TAHO violation. Onni, KTS, and Evans
3
         attempted to collect debt knew wasn’t due and on the following dates:
4
             a. December 8, 2022, at approximately 8:50PM
5
             b. On June 28, 2022, at approximately 9:57PM,
6
7            c. On June 29, 2022, at approximately 1:02PM,

8            d. On June 30, 2022, at approximately 7:49AM
9
             e. On June 30, 2022, at approximately 10:08PM
10
             f. On June 30, 2022, at approximately 10:15PM
11
             g. Hope + Flower security and concierge deviated from their established procedures
12
13              and did not call Stillwell beforehand to inform her that anyone was being sent to

14              her residence.
15    581.      The alleged debt pursed in the June 2022 Unlawful Detainer Complaint was rent
16
         deferred during the Local Emergency Period, therefore it was not collectable pursuant to
17
         L.A.M.C. § 49.99.2
18
19    582.      Evans and KTS used deceptive and misleading tactics when they communicated

20       personal credit information which was known or which should have been known to be
21       false, including the failure to communicate the debt was disputed and by reporting a an
22
         alleged debt known to be invalid in violation of 15 U.S.C. §§1692e, 1692e(8)
23
      583.      KTS and Evans acted unconscionably and engaged in any conduct the natural
24
25       consequence of which is to harass, oppress, or abuse any person in connection with the

26       collection of a debt, in violation of 15 U.S.C. § 1692f.
27
28
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1       584.       Each communication used December 2021 and June 2022 Unlawful Detainer

2           Complaints used interstate wires in furtherance of Onni Group’s schemes to defraud
3
            Stillwell. The exact, date, time, location, and contents of the communications are in
4
            possession of KTS, Evans, Onni, and Stillwell.
5
        585.       In December 2021 and in June 2022 Onni, KTS, and Evans each used threat,
6
7           intimidation, or coercion, or attempted to interfere by threat, intimidation, or coercion

8           with Stillwell's exercise or enjoyment of rights secured by the Constitution or laws of the
9
            United States, or of the rights secured by the Constitution or laws of California, in
10
            violation of Ca. Civil Code §52.1.
11
        586.       The conduct of Onni, KTS, and Evans, each of them, related to the December 2021
12
13          and June 2022 Unlawful Detainer Complaints was threatening, harassing, and menacing

14          conduct constituting a course of conduct that interfered with Stillwell’s quiet enjoyment of
15          the premises and created an apprehension of harm in Stillwell in violation of L.A.M.C. §§
16
            49.99.2, 45.33, Cal. Civ. Code §§ 1927,1940.2, 51.2 and 42 U.S.C. § 3617.
17
     Lease Violation - July 2022
18
19      587.       On July 23, 2022 and August 4, 2022, Onni falsified two lease violations in an

20          attempt evict Stillwell for cause, effectively circumventing the Los Angeles Eviction
21          Ordinances. Onni served Stillwell with unsubstantiated lease violations in an endeavor to
22
            evict her, in violation of the LA Eviction Ordinances, TAHO and California Civil Code §
23
            1940.2. Stillwell had never received a lease violation prior to the July 2022 Lease
24
25          Violation.

26      588.       The July 2022 Lease Violation lease violation that falsely states “It has been
27          reported to the management office there has been continuous smoking excessive noise that
28
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1        has been affecting the surrounding neighbors. Please refrain from this action to avoid any

2        more lease violation fines and/or further legal action pursued.” The July 2022 Lease
3
         Violation also accuses Stillwell of “Harassing Staff (Parking).” A true and correct copy of
4
         the July 2022 Lease Violation, dated “July 23rd” is incorporated by reference and attached
5
         as Exhibit E
6
7     589.      On July 23, 2022, from approximately 4:00PM to 11:30PM, Stillwell’s neighbor’s

8        music was loud enough to be heard from the elevator, which was approximately one
9
         hundred (100) feet away from her neighbor’s door.
10
             a. On July 23, 2022, Stillwell sent Onni an audio video recording that showed loud
11
                music coming from her neighbor’s apartment, which was audible and obvious when
12
13              Onni served Stillwell July 2022 Lease Violation.

14           b. Stillwell’s neighbor is Asian and did not receive a verbal warning or lease violation
15              for having loud and excessive noise on July 23, 2022.
16
      590.      On July 24, 2022, Onni emailed Stillwell that the smoking and loud music
17
         allegations were a “misprinted section about smoking and noise. That does not apply to
18
19       you or your unit.” Onni’s email further stated, “The lease violation you received is about

20       the parking arm and the discussions with our staff. (As was checked in the box).”
21    591.      On July 24, 2022, Stillwell informed Onni that she does not own a car and never
22
         parked in the parking structure.
23
             a. Stillwell asked Onni to provide her with more information about the alleged
24
25              ‘parking arm incident,’ including: the time and date of the alleged incident, the

26              process in which Onni identified Stillwell, names of the witnesses, the type of
27              vehicle Stillwell was allegedly driving, the words, or conduct that gave rise to being
28
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1                 considered “harassing staff,” and any other information that would substantiate

2                 Onni’s allegations.
3
        592.      On July 24, 2022 an Onni property manager emailed Stillwell stating,
4
                  I’m going to take over for the resident services and investigate this matter further.
5                 Just to clarify the lease violation has nothing to do with noise or smoking. You were
                  sent a violation for an incident that occurred on the 16th of July that had to do with
6
                  our parking garage. If you have received this violation in error rest assured that I
7                 will ensure this is removed from your file. I will be requesting camera footage of
                  the time and date in question as someone stated there was an incident involving
8                 your unit.
9
        593.      At the time of filing this Complaint, Onni has not been unable to substantiate its
10
           July 2022 Lease Violation allegations against Stillwell. Onni declined to remove the
11
           retaliatory lease violation from Stillwell’s file. Onni also declined to revise the July 2022
12
13         Lease Violation to remove the allegations of smoking and excessive noise, despite Onni’s

14         acknowledgement that the smoking and noise complaints were a ‘misprinted section about
15         smoking and noise” that does not apply to Stillwell or her unit.
16
     Lease Violation – August 2022
17
        594.      On July 17, 2022, Stillwell informed Onni that someone left an oversized teddy
18
19         bear outside of her door. The bear remained in front of Stillwell's door until July 23, 2022.

20         Below are two photos of the teddy bear sitting outside of Stillwell's apartment door.
21         Stillwell took the photos on July 17, 2022 and July 18, 2022. The bear was placed in
22
           different positions each day that it sat outside Stillwell’s door.
23
24
25
26
27
28
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1        to disregard your lease terms and community guidelines, serious to severe action will

2        follow including but not limited to eviction.”
3
      598.       Onni has been unable to substantiate its false trash disposal allegations against
4
         Stillwell and declines to remove the retaliatory lease violation from Stillwell’s file.
5
      599.       From March 2020 until August 2022, Stillwell has made over five complaints about
6
7        Hope + Flower residents leaving trash in the hallway and by the trash chutes on the 21st

8        and 28th floors of Hope Tower. Stillwell’s trash complaints to Onni always included photos
9
         of the trash, which always had shipping labels or other information that readily identified
10
         the resident to whom the trash belonged.
11
      600.       All the trash complaints made by Stillwell were residents outside of Stillwell’s
12
13       protected class. None of the residents Stillwell complained about ever received lease

14       violations, despite being repeat offenders.
15
      601.       A Hope + Flower resident, who is not a member of Stillwell’s protected class, was
16
         served with five (5) pages of lease violations. The dates of occurrence for the tenant’s lease
17
         violations spanned a period of at least two months before the resident was finally served
18
19       with a Notice of Lease Violation. The resident’s lease violations included the time, date,

20       witnesses, and conduct that gave rise to the lease violations. The resident posted copies of
21       her lease violation on Yelp.com.
22
      602.       Stillwell was served with two unsubstantiated lease violations, which each threaten
23
         eviction, during a two-week time span.
24
25    603.       Upon information and belief, from March 2020 until the filing of this complaint,

26       Onni falsified at least ten (10) lease violations against African American tenants, in an
27       effort to evict the tenants for cause.
28
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1     Unlawful Entry / Trespass

2     604.      On the following dates Onni attempted to enter or entered Stillwell’s apartment
3
         illegally, without giving proper notice as required by Cal. Civ. Code § 1954.
4
             a. January 3, 2022
5
             b. January 29, 2022
6
7            c. March 12, 2022

8            d. June 2, 2022
9
             e. June 3, 2022
10
             f. June 8, 2022
11
             g. June 22, 2022
12
13           h. August 12, 2022

14           i. September 13, 2022
15           j. October 16, 2022
16
             k. November 9, 2022
17
             l. December 2, 2022
18
19           m. December 13, 2022

20    605.      The actions of Onni in attempting to enter and entering Stillwell’s apartment
21       illegally constitute Trespass against Stillwell and were undertaken by Onni deliberately
22
         and with malice and with the intent to oppress Stillwell, and were intended to, and did
23
         cause, Stillwell to suffer damages, including but not limited to, severe emotional distress
24
25       and mental anguish and humiliation.

26    606.      Onni did the actions previously alleged with malice in that they intended to cause
27       injury to Stillwell by despicable conduct which was carried on by Onni with a willful and
28
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1          conscious disregard of the rights or safety of Stillwell, and with oppression in that Onni

2          engaged in despicable conduct that subjected Stillwell to cruel and unjust hardship in
3
           conscious disregard of the rights of Stillwell, with the intent to oppress Stillwell and
4
           cause her to suffer injury, in that Onni was angry at Stillwell for asserting her legal rights
5
           under California law.
6
7    RICO Scheme #7 Overcharged Tenants Utilities and Unnecessary Fees

8       607.      Upon information and belief, Onni developed a scheme in which it overcharged its
9
           residents on average $100 - $300 per month in unnecessary fees and overcharged utilities.
10
           Onni also passed off its commercial expenses, such as illegal hotel operations, to residents
11
           of Hope + Flower.
12
13      608.      Onni recommended and encourage automatic payments. Automatic payments were

14         also required for Stillwell’s lease renewal in September 2021. Upon information and belief,
15
           Onni locked Stillwell out of Rent Café and automatically processed rent and utility
16
           payments without Stillwell able to inspect or question the fees being charged.
17
        609.      In March 2021 Onni switched its third-party utility management company. Onni
18
19         stopped using Utility Smart and switched to ConService from May 2021 until August 2021.

20         In August 2021 Onni began using Yes Management but did not allow its Hope + Flower
21         residents access to utility statements issued by Yes Management. Beginning in August
22
           2021, all fees, utilities, and rents were only made available via Rent Café, Onni's residential
23
           portal. In April 2021 Stillwell was no longer able to access past bills from Utility Smart.
24
25      610.      In August 2022, Stillwell called Yes Management and was emailed copies of her

26         prior utility statements because Onni refused to provide them. After noticing more than
27         $5,000 of excessive fees and charges, Stillwell asked Onni to email a copy of her Ledger,
28
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1           (hereafter, “August 2022 Ledger”). A true and correct copy of Stillwell’s August 2022

2           Ledger, is incorporated by reference and attached as Exhibit R.
3
        611.       According to the August 2022 Ledger, on November 1, 2021, Onni charged
4
            Stillwell a total of $9,371.0012 for rent in November 2021, which is $4,752.00 more than
5
            Stillwell’s rent of $4,916.00. In November 2021 Onni also charged Stillwell twice for
6
7           storage and twice for Resident Liability Waiver.

8       612.       Beginning March 4, 2022, Onni began charging Stillwell late fees on unpaid
9
            COVID-19 rent. Pursuant to the LA Eviction Ordinances and Cal. Health & Saf. Code §
10
            50897.1, landlords may not charge interest or late fees on unpaid rent due to COVID-19.
11
               a. At the time of filing this Complaint, Onni charged Stillwell ten (10) late fees on
12
13                 unpaid rent due to COVID-19 in the amount of $100.00 on the following dates:

14                 03/04/2022, 04/04/2022, 05/04/2022, 06/04/2022, 07/04/2022, 08/04/2022,
15
                   09/04/2022, 10/04/2022, 11/04/2022, and 12/04/2022. Onni owes Stillwell a credit
16
                   of $1,000.00 for unlawfully charging Stillwell late fees on ten (10) months of
17
                   unpaid rent due to COVID-19.
18
19      613.       According to the August 2022 Ledger, and unbeknown to Stillwell, on September

20          1, 2020, Onni began sporadically charging Stillwell for electricity in the common areas,
21          (“Common Area Electricity Fee”).
22
23
24
25
     12 According to the August 2022 Ledger, on November 1, 2021 Onni charged Stillwell “Rent
26
     (11/2021) 4,752” and “Rent (11/2021) 4,619” for a total amount of $9, 371. On November 24,
27   2021, $4,752 was credited as “MEC Adjustment,” then $4,752 charged again on November 24,
     2021 as “MEC Adjustment.”
28
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1            a. Stillwell has never signed a utility service addendum consenting to the common

2               area electricity charge, because Onni passes of its commercial electricity charges
3
                to its residential tenants.
4
             b. Onni advertises and offers free electrical car charging for residents in its parking
5
                structure located at Hope + Flower. However, non-residents can access the car
6
7               charging ports and charge their cars for free. Stillwell has never used Onni’s

8               electrical car charging ports and has never agreed to cost-sharing an expense that
9
                Onni advertises as an included amenity.
10
             c. Each month Onni charged Stillwell for Common Area Electricity Fees, these fees
11
                were on average 150% more than Stillwell’s entire monthly electricity costs for her
12
13              two-bedroom apartment, which is over 1,000 square feet.

14           d. Since 2020, Onni has overcharged Stillwell for a Common Area Electricity Fee
15              fourteen (14) times, for a total amount of $1,603.54. Onni owes Stillwell a credit
16
                of $1,603.54 for overcharging Stillwell fourteen (14) times for Common Area
17
                Electricity Fees.
18
19           e. California law prohibits landlords from profiting from providing utility services.

20              Onni is only allowed to charge Stillwell the same amount as the utility company
21              charges Stillwell, plus a small fee for creating Stillwell’s invoices and managing
22
                Stillwell’s utilities.
23
      614.      In November 2021, Onni began charging Stillwell $2.00 per month for ‘Pest
24
25       Charges.’ Stillwell does not have any pet or pest and has never had a pest or rodent

26       problem. According to the California Department of Consumer Affairs, pest control is
27
28
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1        responsibility of landlord’s warranty of habitability. Pursuant to every lease Stillwell has

2        signed with Onni, the cost of Pest control is paid by Onni.
3
             a. Onni owes Stillwell a credit of $28.00 for overcharging Stillwell fourteen (14) times
4
                 for Pest Control Fees.
5
      615.       In March 2021, Onni began charging Stillwell $12.00 per month for Resident
6
7        Liability Waiver.

8            a. Onni charges tenants a Resident Liability Waiver fee whenever the tenant does not
9
                 have rental insurance, or whenever a tenant signs a Resident Liability Waiver
10
                 addendum agreeing to be charged for insurance.
11
             b. Stillwell provided Onni with proof of her Rental Insurance multiple times and has
12
13               made multiple requests for Onni to remove this charge.

14           c. Stilwell has never signed a Resident Liability Waiver addendum agreeing to be
15               charged for insurance and has maintained Renter’s Insurance as required by lease
16
             d. Onni owes Stillwell a credit of $300 for overcharging Stillwell twenty-five (25)
17
                 times for Resident Liability Waiver fee.
18
19    616.       Since March 2020, Onni has overcharged Stillwell at least $7,795 in unnecessary

20       rents, utilities, and fees.
21    617.       Upon information and belief, since March 2020, Onni overcharged Hope + Flower
22
         residents more than $1,000,000 in duplicate rents, unnecessary fees, overcharge utilities,
23
         and other unauthorized expenses.
24
25    618.       Each time Onni processed a payment without Stillwell having access to Rent Café

26       to review the fees and charges constitutes an unauthorized bank charge and a separate
27       RICO predicate act of wire fraud.
28
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1    RICO Scheme #8– COVID-19 Rental Assistance Scheme

2       619.       Upon information and belief, in March 2021 Onni devised a scheme to submit
3
           fraudulent rental assistant applications on behalf of unknowing Hope + Flower residents,
4
           including Stillwell. Onni began creating falsified documents and ledgers and backdated
5
           rent statements with the intentions of collecting rental assistance for rent that had been paid
6
7          by tenants. The fraudulent applications sought rental payments for rent that had previously

8          been paid by tenants.
9
        620.       Upon information and belief, Onni targeted Stillwell in a scheme to fraudulently
10
           collect COVID-19 rental assistance on behalf of Stillwell, and on account of her marital
11
           status, race, ethnicity, ancestry and/or source of income.
12
13      621.       On March 15, 2021, California's COVID-19 Rent Relief program, Housing is Key,

14         (hereafter, "HIK") began to accept applications for rent and utility support, helping
15         Californians hit hardest by the pandemic. Tenants and landlords were able to request up to
16
           18-months in assistance covering the time between April 1, 2020 and March 31, 2022.
17
        622.       Upon information and belief, HIK was a federally funded program and only
18
19         required Landlord applicants to submit the following three items to receive funding: a W9,

20         expired or current lease agreement, and rental invoices or ledgers that show the rental and
21         utility fees in arrears.
22
        623.       In March 2021 Onni stopped emailing Stillwell rental payment confirmation
23
           emails, and many Hope + Flower residents began to complain about being locked residents
24
25         out of Rent Café, or unable to make rental payments.

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1     624.      In March 2021 Onni served Stillwell a 15-Day Notice to Quit, (hereafter, March

2        2021 Notice to Quit”). According to the March 2021 Notice to Quit, Stillwell had a total
3
         of $11,377.74 in outstanding rent for the following months:
4
             a. December 1, 2020 - $2,589.00
5
             b. January 1, 2021 – $3,489.00
6
7            c. February 1, 2021 - $1,810.74

8            d. March 1, 2021 - $3,489.00
9
      625.      The March 2021 Notice to Quit also stated that Stillwell submitted declarations of
10
         her inability to pay rent due to COVID-19 for the following months: December 2020,
11
         January 2021, February 2021, and March 2021. In March 2021 Stillwell did not have any
12
13       rent in arrears and had never submitted a declaration of COVID-19 financial distress. A

14       true and correct copy of the March 2021 Notice to Quit is incorporated by reference and
15       attached as Exhibit S
16
      626.      On or about March 11, 2021 Stillwell emailed Onni that she believed the March
17
         2021 Notice to Quit was sent in error. March 12, 2021 Katherine Rosales (“Rosales”) Onni
18
19       replied stating in part, “Please disregard the notice that you received as it does not pertain

20       to you. Your account is current and you do not owe us anything at the moment, sorry for
21       the confusion.” Onni attached a screenshot of Stillwell’s ledger to the email, which showed
22
         Stillwell’s balance as “0.00” on March 12, 2021. Below is a screenshot of Rosales email
23
         to Stillwell on March 12, 2021.
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      627.      On March 29, 2021, Stillwell received a utility statement from Utility Smart in the
4
         amount of $223.48 for Stillwell’s utilities, (hereafter “April 2021 Utility Statement”).
5
6            a. Stillwell’s Utility Smart Account Number for Apartment #2118 is 3657-00948361

7            b. Stillwell’s Utility Smart Account Number for Apartment #2814 is 3657-00980933
8            c. Sometime in April 2021 Stillwell was unable to access her ledger from Utility
9
                Smart. Stillwell also noticed her Utility Smart reflected a balance of $9,951.45 due
10
                on April 1, 2021. This amount was $9,727.97 more than the bill Stillwell received
11
12              on March 29, 2021.

13           d. Stillwell’s account was not in arrears, nor was there a past due balance in March
14              2021 or April 2021 to account for the discrepancy.
15
             e. Stillwell took two screenshots of her Utility Smart account because her access to
16
                download documents in Utility Smart has been restricted. Upon information and
17
18              believe, Stillwell’s utility statements and ledgers from Utility Smart are in Onni’s

19              possession and are discoverable.

20    628.      Below are three true and correct screenshots of Stillwell’s Utility Smart bills:
21
             a. The first screenshot is Stillwell’s utility bill that was emailed on March 29, 2021
22
                and states the amount due on April 1, 2021 is 223.48.
23
             b. The second screenshot was taken from Stillwell’s Utility Smart account sometime
24
25              in April 2021 and states the amount due on April 1, 2021 is $9,951.48.

26           c. The third screenshot was taken from the landing page of Stillwell’s Utility Smart
27
                account sometime in October 2022 and shows both of Stillwell’s account numbers
28
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 1             for Apartment #2118 and Apartment #2814. The screenshot also shows that

 2             Stillwell has an outstanding balance of $9,951.48.
 3
            d. The April 2021 balance of $9,951.48 is not reflected on Stillwell’s August 2022
 4
               Ledger. Upon information and belief, Onni kept multiple ledgers for Stillwell’s
 5
               account.
 6
 7          e. Stillwell has been unable to contact representatives from Utility Smart to obtain

 8             copies of her past statements and ledger, as the numbers listed online are all
 9
               incorrect or disconnected.
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18    629.      In June 2021, August 2021, and September 2021 Onni served Stillwell with
19       fraudulent Notices to Quit. Onni informed Stillwell that it had a “snafu” and “accidentally”
20
         served Stillwell with notices to quit.
21
             a. True and correct copies of the June 2021, August 2021, and September 2021
22
23              Notices to Quit are incorporated by reference and attached as Exhibit T.

24    630.      Upon information and belief, sometime in September 2021 Onni created a HIK
25       Tenant Account and completed a Tenant Application, Tenant/ Client ID 755125, for
26
         Stillwell without her knowledge or consent. Onni made itself the Representative, which
27
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 1       allowed Onni to request application status and update the fraudulent application on

 2       Stillwell’s behalf.
 3
             a. According to Question B.13 on the tenant application, Representatives must be
 4
                 added by the tenant. Stillwell did not authorize Onni as a representative and she
 5
                 was unaware of this until August 2022. In August 2022, Stillwell confirmed with
 6
 7               HIK that the account was created in September 2021.

 8           b. Below is true and correct screenshot of tenant portal for Tenant /Client ID 755125
 9
                 taken by Stillwell in August 2022. The screenshot shows that the application was
10
                 “Last updated by jaube@onni.com on 9/17/21 9:10:51AM.”
11
12
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1
2     631.      Upon information and belief, from March 2021 through November 2021, Onni
3
         created at least seven (7) fake rental statements for December 1, 2020, January 2021,
4
         February 2021, March 2021, April 2021, October 2021, and November 2021 to submit
5
         with rental applications on behalf of Stillwell. Stillwell’s rent for these seven months was
6
7        paid by Stillwell and not in arrears when Onni applied for rental assistance.

8            a. The Supplemental Allegations that accompanied the December 2021 Unlawful
9
                detainer states Onni had a rental app pending at least 20 days before the suit was
10
                filed. The complaint and supplemental allegations were verified by Leal, under
11
                penalty of perjury.
12
13           b. Upon information and belief, sometime in October 2021, Onni sought to

14              obtain, and did receive more than $40,000 in rental assistance on Stillwell’s
15
                behalf for rent Onni falsely alleged was dur from December 2020 through
16
17              October 2021.

18    632.      When Stillwell applied for rental assistance in October 2021, Tenant/ Case ID
19       1157162, she was unaware Onni applied on her behalf. In December 2021, Stillwell’s HIK
20
         case manager informed her that Onni had not been responsive to emails and had not
21
         completed the landlord portion of Stillwell’s application, Tenant/ Case ID 1157162.
22
23           a. From December 2020 until April 2021, Onni misrepresented to Stillwell that it

24              never received her application information.
25           b. The HIK program stopped accepting applications on March 31, 2022. On April 6,
26
                2022 Onni emailed Stillwell asking if Stillwell had a “pending application with
27
28
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1               Housing is Key.” Upon information and belief, on or about April 6, 2022 after Onni

2               was informed that Stillwell’s rental assistance application was approved. Onni
3
                intended to trick Stillwell into believing her app wasn’t not completed, so that it
4
                could keep Stillwell’s rental assistance funds.
5
             c. Onni never informed Stillwell of the approval or it’s receipt of the funds, which it
6
7               received on or about May 3, 2022. Stillwell never received any correspondence

8               from HIK stating her application was approved. Stillwell reasonably believed her
9
                rental assistance application had been denied.
10
             d. Stillwell became aware of the rental payment in August 2022 when she noticed the
11
                payment as a line item on the August 2022 Ledger.
12
13    633.      Upon information and belief, on or about May 3, 2022, Onni received $23,760.00

14       in rental assistance, from Housing Is Key to be applied towards Stillwell’s “Rental arrears,
15       prospective rent payments, and utilities, including arrears and prospective payments for
16
         utilities, pursuant to Cal. Health & Saf. Code § 50897.1”
17
      634.      Below is a screenshot of Stillwell’s HIK portal taken in September 2022, which
18
19       shows that $23,760 was dispersed for Tenant/ Case ID 1157162.

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      635.       Upon information and belief, in February 2022, Onni applied for a second round of
16
         assistance on Stillwell’s behalf, under Tenant / Case ID 755125, for four (4) months of
17
18       rental assistance. In its second application for funding, Onni sought rental for December

19       2021, January 2022, and sought prospective payments for months February 2022, March
20       2022.
21
             a. Upon information and belief, in May 2022 Onni’s second attempt to receive
22
                 assistance for Stillwell was denied as a “duplicate.”
23
24           b. Below is a screenshot of the HIK portal for Tenant/ Case ID, which shows the

25               application status as “Duplicate”

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      636.      Due to Onni’s overcharges described herein, at least $6,000 of the $23,760.00 in
12
         HIK rental assistance awarded to Stillwell was kept by Onni, and not actually applied to
13
14       rent and utilities truly owed by Stillwell. Onni converted more than $6,000 of the rental

15       assistance funds awarded to Stillwell.
16    637.      On or about August 16, 2022, Stillwell informed Onni, Evans and KTS about the
17
         overcharges and misappropriated COVID-19 rental assistance. At the time of this filing,
18
         Onni has not credited Stillwell’s ledger for the overcharges described herein and is still
19
20       wrongfully in possession of at least $6,000 in COVID-19 rental assistance funds that were

21       awarded to Stillwell.
22    638.      Upon information and belief Onni submitted at least two-hundred and seventy (270)
23
         rental assistance applications, under penalty of perjury, on behalf of unsuspecting Hope +
24
         Flower tenants. The rental relief applications contained fraudulent information about the
25
26       amount of rent and fees in arrears.

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1    Fiduciary Duty

2       639.       Onni owed Stillwell and Housing is Key fiduciary duties of care and accounting.
3
        640.       Onni and Stillwell were in a fiduciary relationship because the Onni exclusively
4
           maintained documentation showing expenses for property maintenance, utilities, and rent
5
           compelling Stillwell to rely on the good faith of Onni in assessing the charges and past due
6
7          rent Stillwell owed. Onni also exclusively maintained control and possession of rental

8          assistance that was awarded to Stillwell to be applied towards Stillwell’s rent in arrears
9
        641.       Onni and Housing is Key were in a fiduciary relationship because Onni exclusively
10
           maintained documentation showing expenses for property maintenance, utilities, and rent
11
           compelling Housing is Key to rely on the good faith of Onni in assessing the charges and
12
13         past due rent Stillwell owed.

14      642.       Onni’s fiduciary Duty of Care - required Onni to exhibit honesty, act in good faith,
15         and exercise ordinary and reasonable care in the discharge of their duties.
16
        643.       Onni’s fiduciary Duty of Accounting - required Onni to adopt and following
17
           accounting procedures and controls and ensure Stillwell’s HIK rental assistance funds were
18
19         used for lawful purposes.

20      644.       Onni breached its fiduciary duty to Housing is Key and breached its fiduciary duties
21         to Stillwell.
22
        645.       As an attorney licensed in California, Evans owed Stillwell a duty of care and was
23
           legally obligated to prevent foreseeable harm to Stillwell because it was reasonable for
24
25         Evans to do so. It was foreseeable that filing frivolous unlawful detainer suits against

26         Stillwell could result in a default judgment against Stillwell and in emotional as well as
27         financial injury to her.
28
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1       646.       As debt collection agency and law firm operating in California, KTS owed Stillwell

2          a duty of care and was legally obligated to prevent foreseeable harm to Stillwell because it
3
           was reasonable for KTS to do so. It was foreseeable that maintaining frivolous unlawful
4
           detainer suits against Stillwell could result in a default judgment against Stillwell and in
5
           emotional as well as financial injury to her.
6
7       647.       Evans and KTS breached each their duties of care to Stillwell.

8                                        CIVIL RICO ALLEGATIONS
9
     Times Mirror Square (“Project M”)
10
        648.       Formerly known as Times Mirror Square, The Times’ current Civic Center
11
           (“Project M”) headquarters is a mix of five interconnected structures that fill an entire city
12
13         block, bounded by Broadway and Spring and 1st and 2nd streets. Shortly after Onni bought

14         the property for more than $100 million in 2016, the developer filed plans with the city to
15
           demolish part of the complex and build a pair of high-rise residential towers and several
16
           retail stores and restaurants.”
17
        649.       Upon information and belief, two months before the PLUM Committee approved
18
19         Onni’s redevelopment of Project M, Onni Group donated $50,000 to Families for a Better

20         Los Angeles, a campaign committee to support Huizar’s wife’s campaign to succeed him
21         as Councilmember for CD14.
22
        650.       Upon information and belief, Huizar also sent an aide to testify in support of Project
23
           M, in violation of the Brown Act.
24
25   CD14 Enterprise

26      651.       On June 22, 2020 a criminal complaint was filed against Huizar in United States of
27         America vs. Jose Luis Huizar et al Case No CR 20-326 (A) – JFW ("Huizar Complaint")
28
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1     652.      On November 11, 2020 a First Superseding Indictment was filed against Huizar in

2        United States of America vs. Jose Luis Huizar et al. Case No CR 20-326 (A) – JFW
3
         (“Huizar Indictment”)
4
      653.      According to paragraphs 37 – 42 of the Huizar Indictment:
5
                 A. THE RACKETEERING ENTERPRISE
6
             At times relevant to this First Superseding Indictment:
7
              37. Defendant JOSE LUIS HUIZAR, defendant RAYMOND SHE WAH CHAN,
8            George Esparza, George Chiang, and others known and unknown to the Grand Jury,
             were members and associates of the CD-14 Enterprise, a criminal organization whose
9
             members and associates engaged in, among other things: bribery; mail and wire fraud,
10           including through the deprivation of the honest services of City officials and
             employees; extortion; interstate and foreign travel in aid of racketeering; money
11           laundering; structuring; and obstruction of justice. The CD-14 Enterprise operated
             within the Central District of California and elsewhere.
12
                38. The CD-14 Enterprise, including its leaders, members, and associates,
13           constituted an “enterprise,” as defined by Title 18, United States Code, Section
             1961(4), that is, a group of individuals associated in fact. The CD-14 Enterprise
14           constituted an ongoing organization whose members functioned as a continuing unit
             for a common purpose of achieving the objectives of the enterprise. The CD-14
15           Enterprise engaged in, and its activities affected, interstate and foreign commerce.
16
             B. OBJECTIVES OF THE ENTERPRISE
17               39. The objectives of the CD-14 Enterprise included, but were not limited to, the
             following:
18                  a. enriching the members and associates of the CD-14 Enterprise through means
19           that included: bribery; extortion; and mail and wire fraud, including through the
             deprivation of the honest services of City officials and employees;
20                  b. advancing the political goals and maintaining control and authority of the
             CD-14 Enterprise by elevating members and associates of the CD-14 Enterprise to, and
21           maintaining those individuals’ placement in, prominent elected office, through means
22           that included bribery and mail and wire fraud, including through the deprivation of the
             honest services of City officials and employees;
23                  c. concealing the financial activities of the CD-14 Enterprise, through means
             that included money laundering and structuring; and
24                  d. protecting the CD-14 Enterprise by concealing the activities of its members
25           and associates and shielding the CD-14 Enterprise from detection by law enforcement,
             the City, the public, and others, through means that included obstructing justice.
26
             C. RICO CONSPIRACY
27
28
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1               40. Beginning on a date unknown to the Grand Jury, but no later than February
            2013, and continuing to the present, in Los Angeles County, within the Central District
2           of California and elsewhere, defendants HUIZAR and CHAN, persons employed by
            and associated with the CD-14 Enterprise, which engaged in and its activities affected
3
            interstate and foreign commerce, conspired with each other and others known and
4           unknown to the Grand Jury, including George Esparza and George Chiang, to
            unlawfully and knowingly violate Title 18, United States Code, Section 1962(c), that
5           is, to conduct and participate, directly and indirectly, in the conduct of the affairs of the
            CD-14 Enterprise through a pattern of racketeering activity, as that term is defined in
6
            Title 18, United States Code, Sections 1961(1) and 1961(5), consisting of multiple acts:
7                   a. involving bribery, in violation of California Penal Code Sections 31, 67,
            67.5(b), 68 and 182(a)(1);
8                   b. indictable under Title 18, United States Code, Sections 1341, 1343, and 1346
            (Mail and Wire Fraud, including through the Deprivation of Honest Services);
9
                    c. indictable under Title 18, United States Code, Section 1951 (Extortion);
10                  d. indictable under Title 18, United States Code, Section 1952 (Interstate and
            Foreign Travel in Aid of Racketeering);
11                  e. indictable under Title 18, United States Code, Sections 1956 and 1957
            (Money Laundering);
12
                    f. indictable under Title 18, United States Code, Section 1512 (Obstruction of
13          Justice and Witness Tampering); and
                    g. indictable under Title 31, United States Code, Section 5324 (Structuring
14          Transactions to Evade Reporting Requirement).
                41. It was a further part of the conspiracy that defendants HUIZAR and CHAN
15          each agreed that a conspirator would commit at least two acts of racketeering activity
16          in the conduct of the affairs of the enterprise.

17          D. MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE
            ACCOMPLISHED
18              42. Defendants HUIZAR and CHAN and other members and associates of the CD-
19          14 Enterprise agreed to conduct the affairs of the CD-14 Enterprise through the
            following means, among others:
20                 a. In order to enrich its members and associates, the CD-14 Enterprise operated
            a pay-to-play scheme, wherein public officials demanded and solicited financial
21          benefits from developers and their proxies in exchange for official acts. Specifically,
22          through a scheme that involved bribery, mail and wire fraud, and extortion, defendant
            HUIZAR, defendant CHAN, George Esparza, and other City officials demanded,
23          solicited, accepted, and agreed to accept from developers and their proxies, including
            George Chiang, some combination of the following types of financial benefits, among
24          others: (1) cash; (2) consulting and retainer fees; (3) favorable loans; (4) gambling chips
25          at casinos; (5) political contributions; (6) flights on private jets and commercial airlines;
            (7) stays at luxury hotels; (8) expensive meals; (9) spa services; (10) event tickets to
26          concerts, shows, and sporting events; (11) escort and prostitution services; and (12)
            other gifts.
27
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1                  b. In exchange for such financial benefits from developers and their proxies,
            defendant HUIZAR, defendant CHAN, George Esparza, and other City officials agreed
2           to perform and performed the following types of official acts, among others: (1)
            presenting motions and resolutions in various City committees to benefit projects; (2)
3
            voting on projects in various City committees, including the PLUM Committee, and
4           City Council; (3) taking, or not taking, action in the PLUM Committee to expedite or
            delay the approval process and affect project costs; (4) exerting pressure on other City
5           officials to influence the approval and/or permitting process of projects; (5) using their
            office to negotiate with and exert pressure on labor unions to resolve issues on projects;
6
            (6) leveraging voting and scheduling power to pressure developers with projects
7           pending before the City to affect their business practices; and (7) introducing or voting
            on City resolutions to enhance the professional reputation and marketability of
8           businesspersons in the City.
9
                   c. To hide the money, bribes, and other personal benefits that flowed from the
10          developers and their proxies to the public officials, the CD-14 Enterprise engaged in
            money laundering and other concealment activities. Specifically, members and
11          associates of the CD-14 Enterprise engaged in the following activities, among others:
            (1) storing large amounts of cash in one’s residence; (2) providing cash to family
12
            members and associates; (3) directing payments to family members, associates, and
13          entities to avoid creating a paper trail between the developers, their proxies and public
            officials; (4) using family members and associates to pay expenses; (5) depositing and
14          exchanging cash at ATMs and banks in amounts under $10,000 to avoid bank reporting
            requirements; and (6) failing to disclose payments and benefits received on Forms 700
15          and on tax returns.
16
                   d. In order to maintain its power and control, members and associates of the
17          CD-14 Enterprise used their positions and relationships to illicitly ensure it maintained
            a political power base filled with their allies and obtained significant official City
18          positions, resources, and financial support. Specifically, through bribery, members and
19          associates of the CD-14 Enterprise raised funds from developers and their proxies with
            projects in CD-14 for the following, among others: (1) defendant HUIZAR’s re-
20          election campaigns and officeholder accounts; (2) HUIZAR Relative 1’s election
            campaign for the CD-14 seat; and (3) PACs designed to benefit HUIZAR Relative 1’s
21          election campaign.
22
            e. In order to protect the CD-14 Enterprise and avoid detection by law enforcement,
23          the City, the public, and others, members and associates of the CD-14 Enterprise
            engaged in the following conduct: (1) lying to law enforcement in an effort to impede
24          the investigation into criminal conduct of the CD-14 Enterprise; (2) attempting to
25          corruptly influence the statements of others to law enforcement; and (3) using
            encrypted messaging applications, including those utilizing a self-destructing message
26          system, to communicate about the affairs of the CD-14 Enterprise.
27
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1     654.      Upon information and belief, Onni and Onni-BC are members of the CD-14

2        Enterprise.
3
      655.      According to Overt Act Nos. 241 – 300 of the Huizar Indictment:
4
                Project M Bribery Scheme
5
                a. $25,000 Contribution to PAC B
6
                    Overt Act No. 241: On August 18, 2016, defendant HUIZAR met with Morrie
7               Goldman and Executive M at defendant HUIZAR’s City Hall office to discuss
                Project M. At the meeting, Goldman and Executive M asked defendant HUIZAR
8               to file a motion to initiate a General Plan Amendment for Project M. Defendant
                HUIZAR agreed to initiate the General Plan Amendment, either by exerting
9
                pressure on the Planning Department to do so or by filing a motion.
10
                    Overt Act No. 242: On or about August 26, 2016, defendant HUIZAR and his
11              staff urged the Planning Department to approve the General Plan Amendment
                initiation for Project M, which the Planning Department did.
12
13                 Overt Act No. 243: In September 2016, less than a month after defendant
                HUIZAR had provided significant assistance to Company M and Executive M,
14              defendant HUIZAR asked Morrie Goldman for contributions to PAC B from
                Goldman’s clients with projects pending in CD-14, including from Executive M on
15              behalf of Company M. Goldman agreed to convey the request to his clients.
16
                  Overt Act No. 244: On October 10, 2016, defendant HUIZAR sent an e-mail to
17              George Esparza and another CD-14 staffer, writing: “I spoke with [Morrie
                Goldman] already about [another developer] and [Company M] contributions to
18              [HUIZAR Associate 2] Account. He is on board. Work with him to get them in.
19              Get [Goldman] the [HUIZAR Associate 2] acco[u]nt name and number etc.”

20                 Overt Act No. 245: On October 13, 2016, George Esparza sent a text message
                to Morrie Goldman, providing the information for PAC B and adding: “according
21              to my boss that’s for [another developer] and [Company M]. He said he spoke to u
22              about it.”

23                 Overt Act No. 246: On October 13, 2016, Morrie Goldman sent an e-mail to
                Executive M, passing on the information for PAC B he received from George
24              Esparza. Executive M replied: “Timing and amount?” Goldman then wrote: “25K
25              as soon as possible.”

26                Overt Act No. 247: On October 14, 2016, Morrie Goldman sent an e-mail to
                Executive M, attaching a remit form for PAC B, and writing: “HUIZAR is asking
27
28
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1              that contributions be directed to this committee. Please hold off if you are
               processing a contribution to the other primary committee.”
2
                   Overt Act No. 248: On October 26, 2016, Morrie Goldman received an e-mail
3
               from Executive M about the $25,000 PAC B contributions, which stated: “I should
4              have checks by tomorrow. All I need is the letter. Would it be worth setting up a
               quick drink or coffee with JOSE [HUIZAR] when we deliver? Could be good to
5              talk big picture, etc.”
6
                  Overt Act No. 249: On or about October 27, 2016, defendant HUIZAR caused
7              Company M to send three checks from three separate entities, payable to PAC B in
               the amount of $8,333.33 for a total of $25,000, by U.S. Mail to the Company M
8              office in Los Angeles, California.
9
                  Overt Act No. 250: On October 31, 2016, Morrie Goldman sent a text message
10             to George Esparza, writing: “When can I get [Executive M] in with JOSE
               [HUIZAR] to deliver the checks?”
11
                 b. Additional $25,000 Contribution to PAC B
12
                 Overt Act No. 251: On February 14, 2017, defendant HUIZAR sent a text
13             message to George Esparza, writing: “at dinner make sure u remind me to get
               [Company M] to do 25 k for [PAC B] on measure h.”
14
                  Overt Act No. 252: On February 15, 2017, defendant HUIZAR met Morrie
15             Goldman for lunch in downtown Los Angeles to discuss various projects. At the
16             lunch, defendant HUIZAR asked Goldman for an additional $25,000 contribution
               to PAC B from Company M, which Goldman agreed to convey to Executive M.
17
                  Overt Act No. 253: On February 15, 2017, at a dinner at a Los Angeles
18             restaurant for which Company M paid approximately $1,778, defendant HUIZAR
19             requested and Executive M committed to paying $25,000 to PAC B on behalf of
               Company M.
20
                  Overt Act No. 254: On February 21, 2017, Morrie Goldman informed George
21             Esparza via text message that Executive M “acknowledged the conversation with
22             JOSE [HUIZAR]” regarding Company M’s additional contribution to PAC B.

23                Overt Act No. 255: On February 22, 2017, Morrie Goldman wrote to Executive
               M in a text message: “We never connected about your conversation with HUIZAR
24             on Measure H. They want to connect with you about getting a check for their
25             Measure H mailer targeting DTLA.”

26                Overt Act No. 256: On February 24, 2017, Morrie Goldman received an e-mail
               from Executive M sent to another Company M employee with the subject line
27
28
                  VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1              “questions regarding HUIZAR PAC,” which stated: “You can direct any specific
               questions on the PAC to [Goldman], who is cc’d.”
2
                 Overt Act No. 257: On February 25, 2017, defendant HUIZAR sent a text
3
               message to George Esparza, writing: “Any update on [Executive M] 25k?”
4
                 Overt Act No. 258: On or about March 2, 2017, defendant HUIZAR caused
5              Company M to send a check for $25,000 made payable to PAC B by U.S. Mail to
               PAC B in Sacramento, California.
6
7                 Overt Act No. 259: On March 20, 2017, Morrie Goldman received an e-mail
               from Executive M, which stated: “Do you think we are in a more favored status
8              with JOSE [HUIZAR] compared to [another developer]?”
9
                  Overt Act No. 260: On May 5, 2017, in a telephone call, defendant HUIZAR
10             and Morrie Goldman discussed Company M’s contribution to PAC B at defendant
               HUIZAR’s direction. Defendant HUIZAR and Goldman found out that PAC B
11             publicly disclosed Company M as a top donor for a Los Angeles City Council
               candidate. Goldman told defendant HUIZAR that a reporter was “asking who
12
               asked us for the donation, but we, we're not gonna respond to that.” Defendant
13             HUIZAR responded: “Thank you very much. I appreciate that.” Goldman stated:
               “No of course.” Goldman then stated: “When I told George [Esparza], I said, look,
14             my two things that I gotta protect you know... [Company M] and gotta protect you.”
               Defendant HUIZAR stated “we can’t be sloppy about this and trust, uh, [HUIZAR
15             Associate 2], but, anyway, we will save that conversation for tomorrow, ok?”
16
                  Overt Act No. 261: On May 9, 2017, Morrie Goldman received an e-mail from
17             Executive M asking about the media inquiry regarding the Company M campaign
               contribution to PAC B in support of a Los Angeles City Council candidate.
18             Goldman responded by e-mail, reminding Executive M that the PAC B contribution
19             “was an ‘ask’ from JOSE HUIZAR.”

20                 c. $25,000 Contribution and Additional $25,000 Commitment to PAC A
                   Overt Act No. 262: In or around January 2018, defendant HUIZAR spoke with
21             Morrie Goldman regarding Project M’s approval in the PLUM Committee and City
22             Council. Specifically, they discussed that Company M wanted the City to approve
               Project M with a 5% affordable housing requirement, while defendant HUIZAR
23             initially insisted on 11% affordable housing. Goldman told defendant HUIZAR
               that Executive M was concerned he would suffer significant professional
24             consequences, including the loss of his job with Company M, if Project M was not
25             approved, and that if Project M did not obtain its preferred affordable housing
               requirements it would threaten the viability of the project altogether.
26
27
28
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1                 Overt Act No. 263: On January 5, 2018, Morrie Goldman sent a text message
               to Executive M, writing: “We are confirmed for dinner with HUIZAR on Monday
2              [January 8, 2018].”
3
4                 Overt Act No. 264: On January 8, 2018, defendant HUIZAR and Morrie
               Goldman had a discussion via text message regarding Project M and Company M’s
5              willingness to contribute to their newly established PAC, PAC A. Specifically,
               defendant HUIZAR wrote: “Let’s do the pac stuff later this week. See u there at 6.
6
               What’s purpose of tonight’s meeting? Are they [Company M] gonna help with
7              pac?” Goldman replied:“[Executive M] wants to talk about their [Project M] and
               see if you’re comfortable with the height and affordability levels.” Defendant
8              HUIZAR answered: “Are they gonna help with pac?” Goldman replied: “Iʼm sure
               they will, however - as your friend - let’s discuss this in a different text thread” in
9
               order to avoid documenting defendant HUIZAR’s conditioning his official
10             assistance with Project M on Company M’s financial support for PAC A.

11                Overt Act No. 265: On February 23, 2018, defendant HUIZAR and Morrie
               Goldman had a discussion via text message regarding PAC A. Specifically,
12
               Goldman wrote: “Are you checking the Confide App for texting on your iPhone?”
13             Goldman further wrote: “I was going to text you about your meeting with [PAC
               A’s attorney]. Wanted to see if we got any clarification. Confide is good for texting
14             because it is like Snap Chat...message disappears.”
15                Overt Act No. 266: On March 1, 2018, defendant HUIZAR met with Morrie
16             Goldman and discussed Company M’s contributions to PAC A. Specifically,
               defendant HUIZAR asked for a $50,000 contribution to PAC A to be paid in two
17             installments, $25,000 as soon as possible and another $25,000 by the end of the
               year, after Project M was approved. Goldman agreed to convey the request to
18             Executive M.
19
                  Overt Act No. 267: On March 14, 2018, Morrie Goldman met with Executive
20             M and relayed defendant HUIZAR’s request to have Company M contribute
               $50,000 to PAC A, which Goldman explained was designed to benefit HUIZAR
21             Relative 1’s campaign for the CD-14 seat. Executive M agreed.
22
                 Overt Act No. 268: On March 14, 2018, at approximately 4:00 p.m., defendant
23             HUIZAR met with Morrie Goldman to discuss PAC A, including the fact that
               Executive M agreed to have Company M contribute to PAC A.
24
25                Overt Act No. 269: On March 15, 2018, Morrie Goldman sent an e- mail to
               Executive M with the subject line “[PAC A],” writing: “this is the committee we
26             previously discussed,” and attaching a contribution form for PAC A.
27                Overt Act No. 270: On March 26, 2018, defendant HUIZAR sent an
28
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1              e-mail to himself, attaching a document titled “Fundraising Plan.” The document
               included, among other things, company and individual names, contribution
2              amounts, and the person responsible for soliciting contributions to PAC A and PAC
               B. Under the PAC A section, the document included an entry for Company M for
3
               $50,000, and listed Morrie Goldman.
4
                  Overt Act No. 271: On April 13, 2018, defendant HUIZAR sent an e-mail to
5              Morrie Goldman, attaching a document titled “[PAC A]” that included, among
               other things, an entry for Company M for $50,000, with the note: “B/4 June. 2
6
               checks. 2 Entities.”
7
                  Overt Act No. 272: On May 8, 2018, Morrie Goldman had a discussion via text
8              message with Executive M regarding a meeting with the Planning Department
               scheduled for the same day for Project M. Specifically, Executive M wrote: “Very
9
               important that [City Staffer A-2] calls [a Planning Department official] letting them
10             know he supports the height etc. please please make sure this happens prior.”
               Goldman later wrote: “[City Staffer A-2] will let them know their position, and then
11             make the changes in PLUM.” Executive M later wrote: “This would be a disaster
               if they took a position to deny[.] This meeting seems to be a really bad idea now.
12
               When does JOSE [HUIZAR] get back?” Goldman responded: “Spoke with [City
13             Staffer A-2]. He will speak with [the Planning Department official], and then call
               me to report back prior to our meeting.”
14
                  Overt Act No. 273: On May 8, 2018, defendant HUIZAR caused City Staffer
15             A-2 to advocate CD-14’s position and encourage the Planning Department official
16             to approve Project M to allow the project to proceed to a hearing before the City
               Planning Commission.
17
                  Overt Act No. 274: On or about June 13, 2018, defendant HUIZAR caused
18             Company M to send two checks from two separate entities, each made payable to
19             PAC A, in the amount of $12,500 each for a total of $25,000, by U.S. Mail to the
               Company M office in Los Angeles, California, around the same time that the City
20             Planning Commission approved Project M, allowing it to move forward to a hearing
               before the PLUM Committee and ultimately City Council.
21
22                Overt Act No. 275: On June 18, 2018, Morrie Goldman and Employee M
               discussed sending the Company M checks to PAC A per defendant HUIZAR’s
23             request during the same conversation as discussing the official acts Company M
               needed from defendant HUIZAR, namely, the scheduling of Project M for hearing
24             before the PLUM Committee. Specifically, after Goldman provided the address for
25             PAC A to send the Company M contribution checks, Employee M responded that
               the checks would be sent that day. Employee M then wrote: “Will we be able to
26             make the July 31st plum?” Goldman later explained they would know “[w]hen
               HUIZAR decides his schedule for July,” adding: “He sometimes takes an extra
27             week. PLUM could still happen but without HUIZAR. I think we should wait for a
28
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1              meeting where he is there.” Employee M responded: “We would want [HUIZAR]
               there.”
2
                  d. Additional $50,000 Commitment to PAC A in Exchange for Defendant
3
               HUIZAR’s Help on Project M
4              Overt Act No. 276: On August 9, 2018, Morrie Goldman sent an e-mail to
               Executive M regarding Project M’s upcoming hearing before the PLUM
5              Committee, writing: “We need to address the Labor issue. Seriously...we need to
               take [the executive of a labor union] off the chess board.” Goldman and Executive
6
               M believed the labor union was an issue that could affect Project M’s approval in
7              the PLUM Committee with the potential to create delays, increase costs, threaten
               the viability of Project M, resulting in negative repercussions for Executive M
8              personally, including the potential loss of his job.
9
                   Overt Act No. 277: On August 14, 2018, Morrie Goldman and Employee M
10             discussed the status of Project M and defendant HUIZAR’s position on the project.
               Specifically, Goldman explained: “I did speak to HUIZAR last night. I do think we
11             will need one more meeting with him. I think he will get ‘there,’ just think it will
               a bit more painful that we hope.” Employee M then asked: “More painful meaning
12
               more money?” Goldman then explained that defendant HUIZAR “stressed that it
13             is a heavy lift” even with community support because “[i]t is the hit he will take
               with housing advocates and LA Times.”
14
                  Overt Act No. 278: On September 4, 2018, Morrie Goldman received an e-mail
15             from Executive M, asking: “Any updates on HUIZAR meeting?” Goldman
16             responded: “I’m having a one-on-one meeting with [HUIZAR], and you’re #1 on
               the agenda.”
17
                   Overt Act No. 279: On September 4, 2018, defendant HUIZAR met with Morrie
18             Goldman regarding the labor union issue Company M was facing on Project M.
19             During the meeting, Goldman requested on behalf of Executive M for defendant
               HUIZAR to vote against the labor union’s appeal by approving Project M in the
20             PLUM Committee. Defendant HUIZAR explained that voting against the labor
               union, which he considered an ally, could have negative ramifications on HUIZAR
21             Relative 1’s campaign. Because of this risk, defendant HUIZAR told Goldman that
22             if he were to vote against the labor union in the PLUM Committee, then Company
               M would have to make it worthwhile, which Goldman understood to mean that
23             defendant HUIZAR expected a financial benefit from Company M in exchange for
               his efforts with the labor union.
24
25                Overt Act No. 280: On September 6, 2018, Morrie Goldman and Executive M
               met to discuss Project M and resolving its labor union issue. During the meeting,
26             Goldman discussed with Executive M that they needed to make it worthwhile for
               defendant HUIZAR’s intervention with the labor union. Executive M and Goldman
27             agreed that Company M should offer to make an additional $50,000 contribution to
28
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1              PAC A. Company M had previously agreed to contribute $50,000, and paid the first
               installment in June 2018. This additional $50,000 contribution would bring the
2              total agreed-upon contributions on behalf of Company M to PAC A to $100,000 in
               exchange for defendant HUIZAR’s assistance with Project M.
3
4                 Overt Act No. 281: On September 6, 2018, defendant HUIZAR and Morrie
               Goldman met outside a restaurant in Boyle Heights to discuss the new arrangement
5              with Executive M. At the meeting, Goldman conveyed the offer of an additional
               $50,000 contribution to PAC A, bringing the total to $100,000, and defendant
6
               HUIZAR agreed to accept the contribution in exchange for voting to approve
7              Project M over objections by the labor union. Defendant HUIZAR also requested
               a private meeting with Executive M.
8
                  Overt Act No. 282: On September 6, 2018, Morrie Goldman asked Executive
9
               M via text message: “Can you do dinner with HUIZAR on Tuesday, 9-25?”
10                Overt Act No. 283: On September 10, 2018, in a text message, Morrie Goldman
               asked defendant HUIZAR: “Re: [Company M] & [Project M]. You are meeting
11             with [Executive M] on 9-25 to negotiate public benefits package. Could we target
               PLUM on 10-02 with the clear understanding that the item gets pulled from agenda
12
               with no deal? [City Staffer A-2] is waiting for direction from you before
13             scheduling.”

14                Overt Act No. 284: On September 11, 2018, in a text message, defendant
               HUIZAR asked Morrie Goldman: “Hey, let’s talk about your fundraiser for
15             [HUIZAR Relative 1] before event and who U are inviting. I want to make sure we
16             are hitting people up for right amount and we are not calling same people.”
               Goldman replied: “Of course.” Defendant HUIZAR then asked: “Oct 11 still good
17             for you?”
18             Overt Act No. 285: On September 11, 2018, just after the text messages with
19             defendant HUIZAR, Morrie Goldman sent a text message to Executive M stating:
               “Plan on 10-02 PLUM. But let’s discuss...”
20
                  Overt Act No. 286: On September 12, 2018, while defendant HUIZAR was
21             negotiating the additional financial benefit he sought from Executive M and
22             Company M, defendant HUIZAR used his official position as PLUM Committee
               Chair to postpone the committee’s hearing on Project M to October 2, 2018, thereby
23             causing the project to be delayed until after he met with Executive M.
24               Overt Act No. 287: On September 24, 2018, Morrie Goldman told defendant
25             HUIZAR via text message: “We are meeting [Executive M] tomorrow for dinner.
               Do you still want [a restaurant in downtown Los Angeles], or would you like
26             someplace a bit more private?”
27
28
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1                Overt Act No. 288: On September 24, 2018, Morrie Goldman told Executive
               M via text message: “Meeting is moved to breakfast on 10-04 @ 9 AM.” Executive
2              M replied: “But that pushes our date??? This is a disaster.” Goldman responded:
               “Yes....it pushes the date. It’s going to get done.”
3
4                 Overt Act No. 289: On September 26, 2018, in a text message, Morrie Goldman
               asked Executive M: “any chance you can do your one on one dinner with HUIZAR
5              THIS Friday, 9-28?” Executive M replied: “Yes. I’m assuming hearing date is the
               same?”
6
7                 Overt Act No. 290: On September 28, 2018, defendant HUIZAR and Executive
               M met to discuss defendant HUIZAR’s support for Project M, its approval in the
8              PLUM Committee, and Company M’s support for the PAC to benefit HUIZAR
               Relative 1’s campaign. During the same conversation, Executive M offered to
9
               provide opposition research to defendant HUIZAR on a young female former CD-
10             14 staffer who planned to file a lawsuit against defendant HUIZAR, and defendant
               HUIZAR accepted this offer. As part of their negotiation to help Project M,
11             defendant HUIZAR and Executive M also discussed Company M hiring defendant
               HUIZAR after he left office.
12
13                Overt Act No. 291: On September 28, 2018, defendant HUIZAR sent a text
               message to Morrie Goldman, writing: “Good meeting with [Executive M]. He is
14             willing to help [HUIZAR Relative 1] committee. He will collect from
               consultant/contractors. We didn’t discuss amount. Please enlist him for your event
15             and ask him to collect 15-20k for your event.”
16
                  Overt Act No. 292: On October 2, 2018, defendant HUIZAR used his official
17             position as the PLUM Committee Chair to postpone his committee’s hearing on
               Project M to October 16, 2018.
18
19                Overt Act No. 293: On October 11, 2018, defendant HUIZAR, Executive M,
               Employee M, and Morrie Goldman attended a fundraiser for HUIZAR Relative 1
20             hosted by Goldman. At the fundraiser, Executive M provided defendant HUIZAR
               the opposition research against the young female staffer he had promised as part of
21             their agreement for defendant HUIZAR to help Project M.
22
                   Overt Act No. 294: On October 13, 2018, Morrie Goldman and Executive M
23             had a text message conversation regarding the upcoming PLUM Committee
               hearing for Project M. Executive M asked: “Anyone else on plum we should
24             connect with?” Goldman replied: “I was thinking about it but I really don’t want
25             to call attention to it. I would rather let JOSE [HUIZAR] power play it through.”

26                Overt Act No. 295: On October 16, 2018, defendant HUIZAR voted to deny
               the union appeal and to approve Project M in the PLUM Committee, including
27             accepting certain modifications requested by Company M. Specifically, the PLUM
28
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1              Committee accepted Company M’s preferred modifications to the affordable
               housing restrictions, thereby undoing the more stringent requirements
2              recommended by the City Planning Commission. As a result of defendant
               HUIZAR’s approval and undoing the CPC recommendations, Company M
3
               obtained significant reductions to Project M’s affordable housing requirements,
4              from 11% “Very Low Income” units to 6% “Moderate Income” units. Specifically,
               defendant HUIZAR’s approval of Company M’s modifications decreased low-
5              income individuals’ access to the project while ensuring Company M obtained an
               estimated $14 million in net savings.
6
7                  Overt Act No. 296: On October 16, 2018, after the PLUM
               Committee approval, in a text message, Morrie Goldman told Executive M: “Let’s
8              talk tomorrow. I’m seeing JOSE [HUIZAR] on Thursday, so I know he will bring
               up follow up on a few items,” referring to Company M’s commitment to contribute
9
               the remaining $75,000 to PAC A.
10
                 Overt Act No. 297: On October 18, 2018, defendant HUIZAR and Morrie
11             Goldman had a meeting at defendant HUIZAR’s residence, where defendant
               HUIZAR raised Company M’s commitment to contribute to PAC A.
12
13                Overt Act No. 298: On October 31, 2018, defendant HUIZAR voted to approve
               Project M in City Council, which caused Executive M to write an e-mail to the
14             owners of Company M and other employees: “Great news, we just received final
               unanimous approval for [Project M] by city council. Although today is bit of a
15             formality (PLUM is where the discretion usually happens), this is the final step.”
16             Executive M highlighted the benefits Company M was able to secure in PLUM
               from defendant HUIZAR, writing: “our obligations related to rent [affordable
17             housing] restrictions and union involvement are minimal compared to other future
               projects in the area.” Executive M also touted “the entitlement of the tallest
18             building in the arts district by 3 times (35 stories) in a wealthy opinionated hipster
19             community” as a “truly amazing” accomplishment.

20                 Overt Act No. 299: On or around October 31, 2018, Morrie Goldman updated
               a document tracking commitments and contributions made to PAC A. Among other
21             things, the document had an entry for Company M with the figure $25,000 in the
22             column titled “Paid,” and $75,000 in the column titled “Committed.” In addition,
               in the “Comments” column, the entry for Company M stated “$75K by December.”
23
                  Overt Act No. 300: On November 1, 2018, Morrie Goldman wrote to Executive
24             M via text message, asking for a meeting to “go through the HUIZAR political
25             stuff,” referring to the $75,000 contribution to PAC A Company M had committed
               to defendant HUIZAR in exchange for defendant HUIZAR’s now successful help
26             with Project M.
27    656.     Upon information and belief, Project M is the Times Mirror Square project.
28
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1      657.      Upon information and belief, Company M is Onni

2      658.      Upon information and belief, Executive M is an Onni executive.
3
       659.      Stillwell incorporates by reference the First Superseding Indictment filed on
4
          November 11, 2020 United States vs. Jose Luis Huizar et al CR 20-326 (A) – JFW. The
5
          Huizar Indictment 138 pages long and can be accessed and downloaded from the following
6
7         website:

8         https://storage.courtlistener.com/recap/gov.uscourts.cacd.790267/gov.uscourts.cacd.7902
9
          67.74.0.pdf
10
     Onni Group Racketeering Enterprise
11
       660.      At all relevant times Jose Luis Huizar, Defendant Onni, Defendant Onni-BC,
12
13        Defendant KTS, Defendant Evans, and others known and unknown to Stillwell, were

14        members and associates of the Onni Group Enterprise, a criminal organization whose
15
          members and associates engaged in, among other things: bribery; mail and wire fraud,
16
          including through the deprivation of the honest services of City officials and employees;
17
          extortion; interstate and foreign travel in aid of racketeering; money laundering;
18
19        structuring; and obstruction of justice. The Onni Group Enterprise operates within the

20        Central District of California and elsewhere.
21     661.      The Onni Group Enterprise, including its leaders, members, and associates,
22
          constituted an “enterprise,” as defined by 18 U.S.C. § 1961(4), that is, a group of
23
          individuals associated in fact.    The Onni Group Enterprise constituted an ongoing
24
25        organization whose members functioned as a continuing unit for a common purpose of

26        achieving the objectives of the enterprise. The Onni Group Enterprise engaged in, and its
27        activities affected, interstate and foreign commerce.
28
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1    Objectives of the Onni Group Enterprise

2       662.        The objectives of the Onni Group Enterprise included, but were not limited to, the
3
           following:
4
               a.   enriching the members and associates of the Onni Group Enterprise through means
5
                    that included: bribery; extortion; and mail and wire fraud, including through the
6
7                   deprivation of the honest services of City officials and employees and through

8                   defrauding and harassing its residential tenants;
9
               b. advancing the political goals and maintaining control and authority of the Onni
10
                    Group Enterprise by elevating members and associates of the Onni Group
11
                    Enterprise to, and maintaining those individuals’ placement in, prominent elected
12
13                  office, through means that included bribery and mail and wire fraud, including

14                  through the deprivation of the honest services of City officials and employees;
15             c. concealing the financial activities of the Onni Group Enterprise, through means that
16
                    included money laundering and structuring; and
17
               d. protecting the Onni Group Enterprise by concealing the activities of its members
18
19                  and associates and shielding the Onni Group Enterprise from detection by law

20                  enforcement, the City, the public, and others, through means that included
21                  obstructing justice.
22
     RICO Conspiracy
23
        663.        Beginning on a date unknown to Stillwell, but no later than February 2013, and
24
25         continuing to the present, in Los Angeles County, within the Central District of California

26         and elsewhere, Defendants Onni, Onni-BC, Evans, KTS, and persons employed by and
27         associated with the Onni Group Enterprise, which engaged in and its activities affected
28
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1          interstate and foreign commerce, conspired with each other and others known and unknown

2          to Stillwell, including Huizar and DeLeon, to unlawfully and knowingly violate 18 U.S.C.
3
           § 1962(c), that is, to conduct and participate, directly and indirectly, in the conduct of the
4
           affairs of the Onni Group Enterprise through a pattern of racketeering activity, as that term
5
           is defined in 18 U.S.C. §§1961(1) and 1961(5), consisting of multiple acts:
6
7              a. involving bribery, in violation of California Penal Code Sections 31, 67, 67.5(b),

8                  68 and 182(a)(1);
9
               b. Mail and Wire Fraud, including through the Deprivation of Honest Services,
10
                   indictable under 18 U.S.C. §§ 1341, 1343, and 1346;
11
               c. Interstate and Foreign Travel in Aid of Racketeering, indictable under 18 U.S.C. §
12
13                 1952; and

14             d. Obstruction of Justice and Witness Tampering, indictable under 18 U.S.C. § 1512
15      664.          It was a further part of the conspiracy that defendants Onni, Onni-BC, Evans,
16
           and KTS each agreed that a conspirator would commit at least two acts of racketeering
17
           activity in the conduct of the affairs of the enterprise.
18
19   Means By Which the Object of The Conspiracy Was to Be Accomplished

20      665.       Defendants Onni, Onni-BC, Evans, and KTS and other members and associates of
21         the Onni Group Enterprise agreed to conduct the affairs of the Onni Group Enterprise
22
           through the following means, among others:
23
               a. In order to enrich its members and associates, the Onni Group Enterprise operated
24
25                 or participated in a pay-to-play scheme, wherein it paid public officials and their

26                 proxies in exchange for official acts.
27
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1           b. In exchange for such financial benefits from developers and their proxies, Huizar,

2              DeLeon, and other LA City officials agreed to perform and performed the following
3
               types of official acts, among others: (1) presenting motions and resolutions in
4
               various City committees to benefit projects; (2) voting on projects in various City
5
               committees, including the PLUM Committee, and City Council; (3) taking, or not
6
7              taking, action in the PLUM Committee to expedite or delay the approval process

8              and affect project costs; (4) exerting pressure on other City officials to influence
9
               the approval and/or permitting process of projects; (5) using their office to negotiate
10
               with and exert pressure on labor unions to resolve issues on projects; (6) leveraging
11
               voting and scheduling power to pressure developers with projects pending before
12
13             the City to affect their business practices; and (7) introducing or voting on City

14             resolutions to enhance the professional reputation and marketability of
15             businesspersons in LA City.
16
            c. To hide the money, bribes, and other personal benefits that flowed to elected
17
               officials and their proxies, the Onni Group Enterprise engaged in money laundering
18
19             and other concealment activities.

20          d. In order to maintain its power and control, members and associates of the Onni
21             Group Enterprise used their positions and relationships to illicitly ensure it
22
               maintained a political power base filled with their allies and obtained significant
23
               official LA City positions, resources, and financial support. Specifically, through
24
25             bribery, members and associates of the Onni Group Enterprise provided funds to

26             elected officials and their proxies with projects in CD14.
27
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1              e. In order to protect the Onni Group Enterprise and avoid detection by law

2                 enforcement, the City, the public, and others, members and associates of the Onni
3
                  Group Enterprise engaged in the following conduct: (1) lying to law enforcement
4
                  in an effort to impede the investigation into criminal conduct of the Onni Group
5
                  Enterprise; (2) attempting to corruptly influence the statements of others to law
6
7                 enforcement; and (3) using encrypted messaging applications, including those

8                 utilizing a self-destructing message system, to communicate about the affairs of the
9
                  Onni Group Enterprise.
10
                                           CAUSES OF ACTION
11
                                      1st Cause of Action – Negligence
12
13           (Against Defendants Onni Real Estate IX, LLC & Onni Real Estate Holdings LTD)

14    666.        Stillwell refers to, and incorporate by reference, the allegations of paragraphs 1
15
         through 665 of this complaint, as though fully set forth herein.
16
      667.        As owners, operators and managers of Hope + Flower Apartments (“Property”),
17
         Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD (“Count I Defendants”) owed
18
19       Stillwell the duty to exercise reasonable care in the ownership, management and control of

20       the Property.
21    668.        These duties owed by the Count I Defendants to Stillwell to exercise reasonable
22
         care include, but are not limited to: the duty to refrain from interfering with Stillwell’s full
23
         use of and quiet enjoyment of her rented premises; the duty to comply with all applicable
24
25       federal, state and local laws governing Stillwell’s rights as tenant; the duty to maintain

26       Stillwell's premises in a safe, healthy and habitable condition for the entire term of
27
28
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1        Stillwell's tenancy and the duty to not obstruct Stillwell’s full use and occupancy of her

2        rented residences.
3
      669.         The Count I Defendants, by the conduct alleged above, so negligently and
4
         carelessly maintained, operated, and managed the Property as to breach the duties that they
5
         owed to Stillwell.
6
7     670.         As a proximate result of the Count I Defendants’ actions as herein alleged, Stillwell

8        suffered damages in an amount in an amount not yet ascertained, but which exceeds the
9
         jurisdictional minimum of this Court and will be proven at time of trial.
10
                                   2nd Cause of Action – Premise Liability
11
             (Against Defendants Onni Real Estate IX, LLC & Onni Real Estate Holdings LTD)
12
13    671.         Stillwell realleges and incorporates herein by reference each and every allegation

14       contained in paragraphs 1 through 670, inclusive, as though set forth in full
15
      672.         In California, the law of premise liability places a duty of care on property owners
16
         to maintain their property in a reasonably safe condition, and to warn guests and visitors
17
         of lurking dangers that may not already be open and obvious.
18
19    673.         Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD (“Count II

20       Defendants”) owed Stillwell a duty of reasonable care to maintain and inspect its Property,
21       repair any potentially dangerous conditions, and to give adequate warning of any dangerous
22
         conditions.
23
      674.         The Count II Defendants breached their duty of care to Stillwell, and the Count II
24
25       Defendants’ breach of duty is the proximate cause of Stillwell's injuries.

26           3rd Cause of Action – Violation of Unruh Civil Rights Act, Ca. Civ. Code §§ 51, 52
27                                                    et seq
28
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1            (Against Defendant Onni Real Estate IX, LLC & Onni Real Estate Holdings LTD)

2     675.        Stillwell realleges and incorporates herein by reference each and every allegation
3
         contained in paragraphs 1 through 674, inclusive, as though set forth in full.
4
      676.        Stillwell is an aggrieved person as defined by Ca. Civ. Code § 52(f)
5
      677.        Stillwell is informed and believes that Onni and Onni-BC (“Count III Defendants”)
6
7        were aware of the outrageous and discriminatory conduct of their employees, vendors,

8        guests, tenants and agents. Rather than taking steps to stop such conduct, Onni and Onni-
9
         BC ratified, condoned, aided, abetted, and covered for wrongdoers by allowing its
10
         employees, vendors, guests, tenants and agent to remain in the same positions, engaging in
11
         the same wrongful conduct against Stillwell.
12
13    678.        The Count III Defendants’ acts and omissions interfered with the Plaintiff’s Civil

14       Rights to seek, obtain, and hold housing without discrimination based upon her race,
15       ethnicity, ancestry, marital status, and source of income, as each of these characteristics is
16
         a protected class under the Unruh Civil Rights Act and other bases provided by Section 51
17
         of the California Civil Code.
18
19    679.        The Count III Defendants' acts and omissions interfered with the Plaintiffs statutory

20       rights to be free from discrimination in pricing, housing, and other aspects of her life and
21       to be free from discrimination based upon her protected class, retaliation, and unfair
22
         business practices as guaranteed by the United States Constitution; the California
23
         Constitution; the federal Civil Rights Act and Fair Housing Act/Fair Housing Act of
24
25       1968/Fair Housing Act Amendments of 1988;42 U.S.C. §§ 1985(3)& 3601 et seq.; the

26       California Unruh Act, Fair Employment & Housing Act, and Civil Rights Amendments of
27
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1        1999; Business & Professions Code §§ 17000 &17200 et seq.; Civil Code §§

2        51(b),51.5(a),51.6,51.9; and other state and federal laws and regulations.
3
      680.         Section 52.1 of the California Civil Code sets forth the Plaintiff’s rights,
4
         procedures, and remedies for bringing a civil action when the exercise or enjoyment of
5
         rights secured by the Constitution or laws of the United States, of rights secured by the
6
7        Constitution or laws of this state have been interfered with or attempted to be interfered

8        with.
9
      681.         The Count III Defendants’ violations of the Plaintiff’s' civil rights became so
10
         severe, persistent, and offensive that Plaintiff and other tenants found it necessary to vacate
11
         the premises.
12
13    682.         As a direct and proximate result of the Count III Defendants’ actions, Plaintiff has

14       suffered nominal and actual damages in an amount exceeding the minimum jurisdiction of
15       this Court.
16
      683.         As a further direct and proximate result of the Count III Defendants’ actions,
17
         Plaintiff suffered grief, anxiety, worry, mortification, shock, humiliation, and indignity;
18
19       and had other mental and emotional distress and suffering. The Defendants' despicable

20       conduct was carried on with a wanton, willful, and conscious disregard for the Plaintiff’s'
21       rights.
22
      684.         In addition to compensatory and punitive damages, Stillwell is entitled, pursuant to
23
         § 52.1(d, f& h) of the California Civil Code, to the issuance of temporary and permanent
24
25       injunctions and temporary restraining orders appropriate to prevent the Count III

26       Defendants from continuing to engage in their unlawful practices.
27
28
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1     685.      Stillwell is entitled, under § 52. 1((i) of the California Civil Code in addition to any

2        damages, injunction, or other equitable relief awarded in an action brought pursuant 6 to
3
         subdivision (b), the court may award the petitioner or plaintiff reasonable attorney's fees.
4
      686.      Stillwell's race, ethnicity, ancestry, marital status, and source of income are each a
5
         protected class under the Unruh Civil Rights Act, and the basis upon which the Count III
6
7        Defendants’ discriminatory conduct, described herein, was based upon.

8     687.      The Count III Defendants willfully and knowingly discriminated against Stillwell
9
         on account of her marital status, race, ethnicity, ancestry and/or source of income, in
10
         violation of the Unruh Civil Rights Act, Civil Code §§ 51 et seq, by taking the following
11
         adverse actions described in detail herein.
12
13    688.      Pursuant to Ca. Civ. Code § 52(a), the Count III Defendants are liable to Stillwell

14       for each and every act of discrimination alleged herein.
15    689.      As a result of the Count III Defendants’ discrimination described herein, Stillwell's
16
         emotional well-being has substantially suffered and will continue to suffer; Stillwell has
17
         experienced and continues to experience severe emotional distress, in an amount to be
18
19       proven at trial. Stillwell alleges that she has and will continue to suffer substantial losses

20       in earnings, other employment opportunities, employment benefits and other damages, the
21       precise amounts to be proven at trial.
22
      690.      The Count III Defendants’ conduct as described herein was extreme, malicious, and
23
         oppressive and done with a conscious disregard of Stillwell's rights, safety, or well-being.
24
25       The Count III Defendants’ acts were designed to humiliate and oppress Stillwell; and they

26       had that effect. The Count III Defendants condoned, ratified, and encouraged the conduct
27       of its employees, contractors, and agents. Thus, Stillwell is entitled to exemplary and
28
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1        punitive damages against the Count III Defendants’ pursuant to Cal. Civil Code. §3294, if

2        applicable.
3
             4th Cause of Action – Violations of Fair Housing Act (42 U.S.C. §§ 3604 et seq)
4
             (Against Defendant Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD,
5
              City of Los Angeles, Chris James Evans, and Kimball, Tirey & St. John LLP)
6
7     691.       Stillwell realleges and incorporates herein by reference each and every allegation

8        contained in paragraphs 1 through 690, inclusive, as though set forth in full.
9
      692.       Stillwell is an aggrieved person as defined by 42 U.S.C. § 3613(a).
10
      693.       Hope + Flower Apartments at 1201 South Hope Street, Los Angeles, California
11
         90015 are dwelling within the meaning of the Fair Housing Act, 42 U.S.C. § 3603(b).
12
13    694.       Defendants Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD, City of

14       Los Angeles, Chris James Evans, and Kimball, Tirey & St. John LLP (“Count IV
15
         Defendants”), through actions including those described above, have engaged in a pattern
16
         and practice of housing discrimination on the basis of race or color as described herein.
17
      695.       The Count IV Defendants’ conduct described herein was intentional, willful, and
18
19       taken in disregard for the rights of others, including Stillwell.

20    696.       Each of the Count IV Defendants have thereby violated 42 U.S.C. §§ 3604 et seq.
21                         5th Cause of Action – Violation of 42 U.S.C. § 1982
22
                                 (Against Defendants City of Los Angeles)
23
      697.       Stillwell realleges and incorporates herein by reference each and every allegation
24
25       contained in paragraphs 1 through 696, inclusive, as though set forth in full.

26
27
28
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1        42 U.S.C. § 1982 ensures that all “citizens shall have the same right…is enjoyed by white

2        citizens…to inherit, purchase, lease, sell, hold, and convey real and personal property.”
3
      698.       The City of Los Angeles’ pattern and practice of housing discrimination denies
4
         African-Americans the same rights enjoyed by Whites to lease apartments at Hope +
5
         Flower.
6
7     699.       The City of Los Angeles’ and it City Council tolerated and /or facilitated Onni’s

8        pattern of racist conduct, despite Stillwell’s repeated specific request to investigate Onni
9
         on behalf of Stillwell and other tenants at Hope + Flower.
10
      700.       The City of Los Angeles’ actions and the LA City Council’s tolerance and/ or
11
         facilitation of said acts were sufficiently pervasive and severe so as to create a hostile
12
13       environment based on race in violation of Stillwell’s rights to lease, use and convey real

14       property on an equal basis regardless of race under 42 U.S.C. § 1982.
15    701.       The City of Los Angeles and its City Council’s tolerance and/or facilitation of
16
         Onni’s discriminatory conduct described herein, demonstrates a willful and gross disregard
17
         for the civil rights of Ms. Stillwell.
18
19    702.       The City of Los Angeles has thereby violated 42 U.S.C. § 1982.

20                          6th Cause of Action – Violation of 42 U.S.C. § 1983
21                                (Against Defendants City of Los Angeles)
22
      703.       Stillwell realleges and incorporates herein by reference each and every allegation
23
         contained in paragraphs 1 through 702, inclusive, as though set forth in full.
24
25    704.       Stillwell’s constitutional rights were deprived, and that the deprivation was caused

26       by persons acting under color of law. Specifically, Stillwell’s constitutional rights were
27       violated by former and current Los Angeles City Councilmembers.
28
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1                          7th Cause of Action – Violation of 42 U.S.C. § 1985

2                                (Against Defendants City of Los Angeles)
3
      705.      Stillwell realleges and incorporates herein by reference each and every allegation
4
         contained in paragraphs 1 through 704, inclusive, as though set forth in full.
5
      706.      The City of Los Angeles, including several former and current City
6
7        Councilmembers, “conspire or go in disguise on the highway or on the premises of another,

8        for the purpose of depriving, either directly or indirectly” any person or class of persons of
9
         the equal protection of the laws, or of equal privileges and immunities under the laws” in
10
         violation of 42 U.S.C. § 1985.
11
      707.      Specifically, the City of Los Angeles and several of its former and current elected
12
13       official conspired to underfund the Los Angeles Housing Department, which led to

14       thousands of uninvestigated housing discrimination complaints, effectively subjecting Los
15
         Angeles’ most vulnerable residents to unlawful housing discrimination.
16
                           8th Cause of Action – Violation of 42 U.S.C. § 1986
17
                                 (Against Defendants City of Los Angeles)
18
19    708.      Stillwell realleges and incorporates herein by reference each and every allegation

20       contained in paragraphs 1 through 707, inclusive, as though set forth in full.
21    709.      The City of Los Angeles, including several former and current City
22
         Councilmembers, have knowledge of the wrongs conspired to be done, and mentioned in
23
         42 U.S.C. § 1985, are about to be committed, and having power to prevent or aid in
24
25       preventing the commission of the same, neglects or refuses so to do.

26    710.      Specifically, the City of Los Angeles is aware that several former and current City
27       Council members, including Jose Huizar and Kevin DeLeon, participated in pay-for-play
28
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1        schemes with Onni Group, which allowed Onni to proceed with its plans for Hope + Flower

2        and Times Mirror Square, in violation of local, state and federal laws.
3
      711.         The City of Los Angeles has the authority to revoke Onni Group’s business
4
         licenses, its building and occupancy permits at Hope + Flower and Times Mirror Square,
5
         as taking these actions will prevent Onni’s continued commission of unlawful conduct.
6
7     712.         The City of Los Angeles has the authority to not enforce DTLA 2040, as this up-

8        zoning of Downtown Los Angeles removes much needed residential housing units from
9
         the market, and was also the byproduct of a corrupt pay-for-play scheme, as described
10
         herein.
11
      713.         The City of Los Angeles’ neglect and refusal to stop Onni Group’s unlawful
12
13       conduct leads to the continued deprivation of the constitutional rights of thousands of Los

14       Angeles residents.
15           9th Cause of Action – Malicious Prosecution (December 2021 Unlawful Detainer)
16
             (Against Defendants Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD,
17
                          Chris James Evans, and Kimball, Tirey & St. John LLP)
18
19    714.         Stillwell realleges and incorporates herein by reference each and every allegation

20       contained in paragraphs 1 through 713, inclusive, as though set forth in full.
21    715.         On or about December 7, 2021, Defendants Onni Real Estate IX, LLC, Onni Real
22
         Estate Holdings LTD, Chris James Evans, and Kimball, Tirey & St. John LLP (“Count V
23
         Defendants”) filed an Unlawful Detainer Eviction against Stillwell with malice and without
24
25       probable cause. The lawsuit terminated in Stillwell’s favor.

26    716.         The Count V Defendants’ conduct caused Stillwell severe emotional distress,
27       expenses, loss of time, and injury to business.
28
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1              10th Cause of Action – Malicious Prosecution (June 2022 Unlawful Detainer)

2            (Against Defendants Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD,
3
                          Chris James Evans, and Kimball, Tirey & St. John LLP)
4
      717.         Stillwell realleges and incorporates herein by reference each and every allegation
5
         contained in paragraphs 1 through 716, inclusive, as though set forth in full.
6
7     718.         On or about June 22, 2022, Defendants Onni Real Estate IX, LLC, Onni Real Estate

8        Holdings LTD, Chris James Evans, and Kimball, Tirey & St. John LLP (“Count VI
9
         Defendants”) filed an Unlawful Detainer Eviction against Stillwell with malice and without
10
         probable cause. The lawsuit terminated in Stillwell’s favor.
11
      719.         The Count VI Defendants’ conduct caused Stillwell severe emotional distress,
12
13       expenses, loss of time, and injury to business.

14            11th Cause of Action - Violations of City of Los Angeles Temporary Protection of
15
                      Tenants During COVID-19 Pandemic (L.A.M.C. §§ 49.99 et seq.)
16
             (Against Defendants Onni Real Estate IX, LLC & Onni Real Estate Holdings LTD)
17
      720.         Stillwell realleges and incorporates herein by reference each and every allegation
18
19       contained in paragraphs 1 through 719, inclusive, as though set forth in full.

20    721.         Pursuant to L.A.M.C. § 49.99.7, an aggrieved residential tenant may institute a civil
21       proceeding for injunctive relief, direct money damages, and any other relief the Court
22
         deems appropriate, including, at the discretion of the Court, an award of a civil penalty up
23
         to $10,000 per violation depending on the severity of the violation.
24
25    722.         Stillwell is an aggrieved residential tenant as defined by L.A.M.C. § 49.99.7.

26
27
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1     723.        Stillwell provided written notice to Onni and Onni-BC of the alleged violations.

2        Onni and Onni-BC were provided more than 15 days from the receipt of Stillwell’s notice
3
         to cure the alleged violations. Onni and Onni-BC did not cure the alleged violations.
4
      724.        Onni and Onni-BC knowingly and willingly violated L.A.M.C. §§ 49.99 et seq. at
5
         least fifteen (15) times, as described in detail herein.
6
7     725.        Stillwell was injured financially and emotionally as a result of Onni and Onni-BC’s

8        conduct.
9
      726.        Due to the severity of Onni and Onni-BC’s conduct, a civil penalty of $10,000 per
10
         violation is appropriate here.
11
             12th Cause of Action - Violations of the of Fair Debt Collection Practices Act (15
12
13                                          U.S.C. §§ 1692 et seq)

14            (Against Defendants Chris James Evans and Kimball, Tirey & St. John LLP)
15
      727.        Stillwell realleges and incorporates herein by reference each and every allegation
16
         contained in paragraphs 1 through 726, inclusive, as though set forth in full.
17
      728.        Evans and KTS’ (“Count XII Defendants”) December 2021 and June 2022
18
19       communications to Stillwell did not contain the disclosures required by 15 U.S.C. §

20       1692g(a)(5), nor did the Count XII Defendants’ provide such disclosure within five days
21       thereafter. Specifically, the Count XII Defendants failed to inform Plaintiff that unless she,
22
         within thirty days after receipt of the December 2021 and June 2022 communications,
23
         disputed the validity of the debt, or any portion thereof, the debt would be assumed to be
24
25       valid.

26    729.        The harm suffered by Stillwell is particularized in that the violative initial debt
27       collection communications at issue were sent to her personally, regarded her personal
28
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1        alleged debt, and failed to effectively provide her statutorily mandated disclosures to which

2        she was entitled.
3
      730.       Section 1692g furthers the purpose of protecting debtors from abusive debt
4
         collection activity by requiring a debt collector who solicits payment from a consumer to
5
         provide that consumer with a detailed validation notice, which allows a consumer to
6
7        confirm that she owes the debt sought by the collector before paying it.

8     731.       The content of the Count XII Defendants’ December 2021 and June 2022
9
         communications to Stillwell created a material risk of harm to the concrete interest
10
         Congress was trying to protect in enacting the FDCPA. Specifically, when a consumer is
11
         not provided with her legal rights as required by law, she is left in the dark about her options
12
13       in responding to a debt collection letter. That risk manifested itself here, as Plaintiff was

14       unaware of her validation rights. In addition, The Count XII Defendants’ actions invaded
15       a specific private right created by Congress, and the invasion of that right creates the risk
16
         of real harm.
17
      732.       The FDCPA at 15 U.S.C. § 1692e provides, in pertinent part, that “[a] debt
18
19    733.       collector may not use any false, deceptive, or misleading representation or means

20       in connection with the collection of any debt.
21    734.       The Count XII Defendants’ used a false, deceptive, and misleading representation
22
         in connection with the collection of the Debt, in violation of 15 U.S.C. § 1692e.
23
      735.       The harm suffered by Plaintiff is particularized in that the violative initial debt
24
25       collection letter at issue was sent to her personally, regarded her personal alleged debt, and

26       directed to her a false, deceptive, and misleading representation in connection with the
27       collection of the Debt.
28
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1     736.        The content of the Count XII Defendants’ December 2021 and June 2022

2        communications to Stillwell created a material risk of harm to the concrete interest
3
         Congress was trying to protect in enacting the FDCPA. Specifically the December 2021
4
         and June 2022 communications to Stillwell presents a risk of harm to the FDCPA’s goal
5
         of ensuring that consumers are free from deceptive debt-collection practices because the
6
7        letter provides misleading information about the manner in which the consumer can

8        exercise her statutory right to pause debt collection activity while she obtains verification
9
         of the debt, or the name and address of the original creditor. In addition, Count XII
10
         Defendants’ actions invaded a specific private right created by Congress, and the invasion
11
         of that right creates the risk of real harm.
12
13               13th Cause of Action – Violations of Ca. Civ. Code §1942.5 (Retaliation),

14           (Against Defendants Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD)
15
      737.        Stillwell realleges and incorporates herein by reference each and every allegation
16
         contained in paragraphs 1 through 736, inclusive, as though set forth in full.
17
      738.        Pursuant to Ca. Civ. Code § 1942.5(d) “it is unlawful for a lessor to increase rent,
18
19       decrease services, cause a lessee to quit involuntarily, bring an action to recover

20       possession, or threaten to do any of those acts, for the purpose of retaliating against the
21       lessee because the lessee has lawfully organized or participated in a lessees' association
22
         or an organization advocating lessees' rights or has lawfully and peaceably exercised any
23
         rights under the law.”
24
25    739.        As described herein, Onni and Onni-BC retaliated against Stillwell after she

26       lawfully and peaceably exercised any rights under the law.
27
28
                     VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1         14th Cause of Action –Violations of the Tom Bane Civil Right Act (Ca. Civ. Code §§

2                                              52.1, 52 et seq.)
3
                                          (Against All Defendants)
4
      740.        Stillwell realleges and incorporates herein by reference each and every allegation
5
         contained in paragraphs 1 through 739, inclusive, as though set forth in full.
6
7     741.        The Tom Bane Civil Rights Act provides a private right of action for damages

8        against any person who “interferes,” or “attempts to interfere by threat, intimidation, or
9
         coercion,” with the exercise or enjoyment of a constitutional or other right under California
10
         or federal law. (Ca. Civ. Code, § 52.1, subd. (b)–(c).) Public entities are vicariously liable
11
         for Bane Act violations. (See Ca. Gov. Code, § 815.2.) The California Supreme Court long
12
13       ago explained that the Bane Act simply requires “an attempted or completed act of

14       interference with a legal right, accompanied by a form of coercion.” (Jones v. Kmart Corp.
15
         (1998) 17 Cal.4th 329, 334.) Many if not all violations of fundamental rights could be so
16
         framed. (Venegas v. County of Los Angeles (2004) 32 Cal.4th 820, 850 (Baxter, J.,
17
         concurring).)
18
19    742.        Onni, Onni-BC, Evans, KTS, and the City of Los Angeles used threat, intimidation,

20       or coercion, or attempted to interfere by threat, intimidation, or coercion with Stillwell’s
21       exercise or enjoyment of rights secured by the Constitution or laws of the United States, or
22
         of the rights secured by the Constitution or laws of California, in violation of Ca. Civ. Code
23
         § 52.1
24
25
26
27
28
                     VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1            15th Cause of Action –Violations of Tenant Anti-Harassment Ordinance (TAHO)

2                                          (L.A.M.C §§ 45.30 et seq.)
3
             (Against Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD, Chris James
4
                                Evans, and Kimball, Tirey & St. John LLP)
5
      743.        Stillwell realleges and incorporates herein by reference each and every allegation
6
7        contained in paragraphs 1 through 742, inclusive, as though set forth in full.

8     744.        Pursuant to L.A.M.C. § 45.35,
9
                  An aggrieved tenant under this article, or any person, organization, or entity who
10                will fairly and adequately represent the interests of an aggrieved tenant(s) under
                  this article, may institute civil proceedings as provided by law, against any landlord
11                violating any of the provisions of this article and any person who aids, facilitates,
                  and/or incites another to violate the provisions of this article, regardless of whether
12
                  the rental unit remains occupied or has been vacated due to harassment.
13
                  A tenant prevailing in court under this article may be awarded compensatory
14                damages, rent refunds for reduction in housing services, reasonable attorney's fees
                  and costs, imposition of civil penalties up to $10,000 per violation depending upon
15                the severity of the violation, tenant relocation, and other appropriate relief, as
16                adjudged by the court.

17    745.        Stillwell is an aggrieved tenant as defined by L.A.M.C. § 45.35.
18    746.        KTS and Evans aided, facilitated, and/or incited Onni and Onni-BC to violate
19
         TAHO by filing frivolous unlawful detainer suits to evict tenants who had pending rental
20
         assistance applications, in violation of L.A.M.C. 49.99 et seq.
21
22    747.        Onni and Onni-BC knowingly and willingly violated L.A.M.C. §§ 45.35 et seq. at

23       least forty (40) times, as described in detail herein.
24    748.        Stillwell was injured financially and emotionally as a result of Onni and Onni-BC’s
25
         conduct.
26
27
28
                     VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1     749.        Due to the severity of Onni, Onni-BC, Evans, and KTS’ conduct, a civil penalty of

2        $10,000 per violation is appropriate here.
3
                     16th Cause of Action – Civil RICO (18 U.S.C. §§ 1962(c), 1964(c)
4
                          Predicate Act: Honest Services Fraud, 18 U.S.C. § 1346
5
             (Against Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD, Chris James
6
7                               Evans, and Kimball, Tirey & St. John LLP)

8     750.        Stillwell realleges and incorporates herein by reference each and every allegation
9
         contained in paragraphs 1 through 749, inclusive, as though set forth in full.
10
      751.        At all relevant times, Onni, Onni-BC, Evans, and KTS (“Count XVI Defendants”)
11
         were “person[s]” pursuant to 18 U.S.C. §§ 1961(3) and 1962(d).
12
13    752.        At all relevant times, the Onni Group Enterprise (“OGE”) constitutes an

14       “Enterprise” within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c).
15
      753.        At all relevant times, OGE was engaged in, and/or its activities affected, interstate
16
         commerce and/or foreign commerce within the meaning of 18 U.S.C. § 1962(c).
17
      754.        At all times relevant hereto, the Count XVI Defendants each held a position in or
18
19       were otherwise affiliated with OGE as well as participated in the operation, management,

20       and directed the affairs of OGE.
21    755.        OGE, as alleged herein, was not limited to the Count XVI Defendants’ predicate
22
         acts and has activities extending beyond the Count XVI Defendants’ racketeering activity.
23
         OGE and its members exists separate and apart from the pattern of racketeering activity.
24
25       The Count XVI Defendants have had and do have legitimate business plans outside the

26       pattern of racketeering activity related to OGE.
27
28
                     VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1     756.      The Count XVI Defendants have unlawfully, knowingly and willfully combined,

2        conspired, confederated and agreed together and with others to violate 18 U.S.C. §
3
         1346 as described above, in violation of 18 U.S.C. § 1962(c).
4
      757.      OGE’s racketeering activity commenced at least as early as January 2013 and
5
         remains ongoing.
6
7     758.      The purpose of OGE’s schemes against Stillwell was to defraud Stillwell of money,

8        property, and benefits of monetary value by using wire and mail frauds, devising multiple
9
         schemes to deceive, trick and defraud Stillwell.
10
      759.      Each Count XVI Defendants committed at least two predicate acts in furtherance
11
         of the conspiracies and schemes against Stillwell. These predicate acts in furtherance of
12
13       the conspiracies and schemes against Stillwell are the acts set forth above in the

14       paragraphs containing RICO Schemes # 1, 2, 3, 4, 5, 6, 7, and 8.
15    760.      The Count XVI Defendants knew that they were engaged in a conspiracy to
16
         commit the predicate acts, and they knew that the predicate acts were part of such
17
         racketeering activity, and the participation and agreement of each of the Count XVI
18
19       Defendants was necessary to allow the commission of this pattern of racketeering

20       violation of 18 U.S.C. § 1346, in violation of 18 U.S.C. § 1962(c).
21    761.      Each Count XVI Defendant knew about and agreed to facilitate the scheme to
22
         defraud Stillwell of her money, property, and other business property and business
23
         interests, including state and federal benefits of monetary value by fraudulently
24
25       depriving Stillwell of honest services of her elected officials.

26
27
28
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1     762.        It was part of the conspiracy that Count XVI Defendants would commit a pattern

2        of racketeering activity in the conduct of the affairs of OGE, including the acts of
3
         racketeering set forth herein.
4
      763.        As a direct and proximate result of the Count XVI Defendants’ conduct, the
5
         acts of racketeering activity of OGE, the predicate acts completed in furtherance of
6
7        the schemes and artifices, and violations of 18 U.S.C. § 1962(c), Stillwell has been

8        injured in her money and business property, in an amount of $24,068.00
9
      764.        Pursuant to 18 U.S.C. § 1964(c), Stillwell is entitled to recover treble damages
10
         plus costs and attorneys’ fees from Defendants as well as any other relief authorized
11
         by statute.
12
13                     17th Cause of Action – Civil RICO (18 U.S.C. §§ 1962(c), 1964(c)

14                              Predicate Act: Wire Fraud, 18 U.S.C. § 1343
15
             (Against Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD, Chris James
16
                                 Evans, and Kimball, Tirey & St. John LLP)
17
18    765.        Stillwell realleges and incorporates herein by reference each and every allegation

19       contained in paragraphs 1 through 764, inclusive, as though set forth in full.
20
      766.        At all relevant times, Onni, Onni-BC, Evans, and KTS (“Count XVII Defendants”)
21
         have unlawfully, knowingly and willfully combined, conspired, confederated and agreed
22
23       together and with others to violate 18 U.S.C. § 1343 as described above, in violation

24       of 18 U.S.C. § 1962(c).
25    767.        Each Count XVII Defendants committed at least two predicate acts in furtherance
26
         of the conspiracies and schemes against Stillwell. These predicate acts in furtherance of
27
28
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1        the conspiracies and schemes against Stillwell are the acts set forth above in the

2        paragraphs containing RICO Schemes # 1, 2, 3, 4, 5, 6, 7, and 8.
3
      768.       The Count XVII Defendants knew that they were engaged in a conspiracy to
4
         commit the predicate acts, and they knew that the predicate acts were part of such
5
         racketeering activity, and the participation and agreement of each of the Count XVII
6
7        Defendants was necessary to allow the commission of this pattern of racketeering

8        violation of 18 U.S.C. § 1343, in violation of 18 U.S.C. § 1962(c).
9
      769.       Each Count XVII Defendant knew about and agreed to facilitate the scheme
10
         to defraud Stillwell of her money, property, and other business property and business
11
         interests, including state and federal benefits of monetary value.
12
13    770.       It was part of the conspiracy that Count XVII Defendants would commit a

14       pattern of racketeering activity in the conduct of the affairs of OGE, including the
15       acts of racketeering set forth herein.
16
      771.       As a direct and proximate result of the Count XVII Defendants’ conduct, the
17
         acts of racketeering activity of OGE, the predicate acts completed in furtherance of
18
19       the schemes and artifices, and violations of 18 U.S.C. § 1962(c), Stillwell has been

20       injured in her money and business property, in an amount of $1,885,000.00
21    772.       Pursuant to 18 U.S.C. § 1964(c), Stillwell is entitled to recover treble damages
22
         plus costs and attorneys’ fees from Defendants as well as any other relief authorized
23
         by statute.
24
25
26
27
28
                       VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1               18th Cause of Action - Violations of Bus. & Prof. Code §§ 17200 et seq.

2            (Against Defendants Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD
3
                           Chris James Evans, Kimball, Tirey & St. John LLP)
4
5     773.       Stillwell realleges and incorporates herein by reference each and every allegation

6        contained in paragraphs 1 through 772, inclusive, as though set forth in full.

7     774.       Onni, Onni-BC, Evans, and KTS’ (“Count XVIII Defendants”) conduct constituted
8
         unlawful, unfair, and fraudulent business acts or practices under Business and Professions
9
         Code §§ 17200 et seq.
10
      775.       The Count XVIII Defendants practices were unlawful in that they violated:
11
12            a. City of Los Angeles Temporary Protection of Tenants During COVID-19

13               Pandemic, L.A.M.C. §§ 49.99 et seq.
14
              b. Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.
15
              c. Unruh Civil Rights Act, Ca. Civ. Code §§ 51 -52 et seq.
16
              d. Fair Housing Act, 42 U.S.C. §§ 3604 et seq.
17
18            e. City of Los Angeles Tenant Anti- Harassment Ordinance ("TAHO"), L.A.M.C §§

19               45.30 et se.q
20            f. Ca. Civ. Code § 1942.5
21
              g. Civil RICO (18 U.S.C. §§ 1962(c), 1964(c))
22
      776.       The Count XVIII Defendants’ practices were unfair because any utility for their
23
24       conduct is outweighed by the gravity of the consequences to Stillwell and/or the Count

25       XVIII Defendants’ conduct is immoral, unethical, oppressive, unscrupulous or
26       substantially injurious to Stillwell.
27
28
                    VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1     777.        The Count XVIII Defendant’ practices were fraudulent because they were likely to

2        and did deceive Stillwell, and the Count XVIII Defendants engaged in such practices
3
         knowingly.
4
      778.        As a result of the Count XVIII Defendants acts Stillwell lost money and suffered
5
         injury in fact, and thus is entitled to restitution, injunctive relief and such other relief
6
7        authorized under Ca. Civ. Code § 17203, and under all applicable law.

8
                               19th Cause of Action – Breach of Contract
9
             (Against Defendants Onni Real Estate IX, LLC & Onni Real Estate Holdings LTD)
10
11    779.        Stillwell realleges and incorporates herein by reference each and every allegation

12       contained in paragraphs 1 through 778, inclusive, as though set forth in full.
13
      780.        California law implies a covenant of good faith and fair dealing in all contracts
14
         between parties entered into in the State of California.
15
16    781.        The actions of Onni and Onni-BC previously in failing to provide habitable

17       premises and refusing to investigate Stillwell’s safety concerns or rectify any of the other
18
         problems with the Property constituted a violation of the covenant of good faith and fair
19
         dealing.
20
      782.        California law provides that all lease agreements constitute a warranty by the
21
22       landlord that the premises are habitable.

23    783.        The actions of Onni and Onni-BC previously in failing to provide habitable
24       premises and refusing to investigate Stillwell’s safety concerns or rectify any of the other
25
         problems with the Property constituted a breach of his contract with Plaintiffs as the
26
         Property became inhabitable.
27
28
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1     784.       As a proximate result of Defendant’s breach of the implied covenant of good faith

2        and fair dealing, Plaintiffs have been damaged in an amount in an amount not yet
3
         ascertained but which exceeds the jurisdictional minimum of this Court and will be proven
4
         at time of trial.
5
      785.       As a proximate result of Defendant’s breach of the contract Plaintiffs have been
6
7        damaged in an amount not yet ascertained but which exceeds the jurisdictional minimum

8        of this Court and will be proven at time of trial.
9
                  20th Cause of Action – Intentional Infliction of Emotional Distress
10
             (Against Defendants Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD
11
                             Chris James Evans, Kimball, Tirey & St. John LLP)
12
13    786.       Stillwell realleges and incorporates herein by reference each and every allegation
14
         contained in paragraphs 1 through 785, inclusive, as though set forth in full.
15
      787.       The unlawful conduct of Onni, Onni-BC, Evans, and KTS’ (“Count XX
16
         Defendants”) described herein was undertaken by the Count XX Defendants deliberately
17
18       and with malice and with the intent to oppress Plaintiff, and were intended to, and did

19       cause, Stillwell to suffer damages, including but not limited to, humiliation, severe
20       emotional distress and mental anguish.
21
      788.       The Count XX Defendants did the actions previously alleged with malice in that
22
         they intended to cause injury to Stillwell by despicable conduct which was carried on by
23
24       the Count XX Defendants with a willful and conscious disregard of the rights or safety of

25       Stillwell. The oppression in that the Count XX Defendants engaged was despicable conduct
26       that subjected Stillwell to cruel and unjust hardship in conscious disregard of her rights,
27
28
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1        with the intent to oppress Plaintiff and cause here to suffer injury. Thus, Stillwell is entitled

2        to exemplary and punitive damages in an amount according to proof at time of trial.
3
                   21st Cause of Action – Negligent Infliction of Emotional Distress
4
5            (Against Defendants Onni Real Estate IX, LLC, Onni Real Estate Holdings LTD

6                          Chris James Evans, Kimball, Tirey & St. John LLP)

7
      789.       Stillwell realleges and incorporates herein by reference each and every allegation
8
         contained in paragraphs 1 through 788, inclusive, as though set forth in full.
9
10    790.       Onni, Onni-BC, Evans, and KTS’ (“Count XXI Defendants”) conduct owed

11       Stillwell a duty of care and each of the Count XXII Defendants breached that duty of care.

12    791.       Stillwell suffered and continues to suffer damages as a proximate result of each of
13
         the Count XXI Defendants’ breach of care, as described herein.
14
      792.       But for, and as a direct and proximate result of each of the Count XXI Defendants’
15
         conduct as alleged herein, Stillwell’s emotional well-being has substantially suffered and
16
17       will continue to suffer; Stillwell has experienced and continues to experience severe

18       emotional distress, in an amount to be proven at trial. Stillwell alleges that she has and will
19
         continue to suffer substantial losses in earnings, other employment opportunities,
20
         employment benefits and other damages, the precise amounts to be proven at trial.
21
      793.       The Count XXI Defendants actions were fraudulent, malicious, and oppressive.
22
23       Plaintiff is thus entitled to and herein seeks punitive and exemplary damages from the

24       Count XXI Defendants, in an amount according to proof at trial, to punish Defendants and
25       deter Defendants and others from engaging in similar future conduct.
26
27
28
                    VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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1                                     REQUEST FOR JURY TRIAL

2
      Stillwell requests a trial on all causes of action for which she has the right to jury.
3
                                         PRAYER FOR RELIEF
4
5     WHEREFORE, Stillwell’s pray for judgment as follows:

6     1. As to the First Cause of Action - Negligence, Stillwell prays for judgment against the Count

7        I Defendants and an amount to be proven at trial for economic, noneconomic, monetary,
8
         or compensatory damages;
9
      2. As to the Second Cause of Action - Premise Liability, Stillwell prays for judgment against
10
         the Count II Defendants, and an amount to be proven at trial for economic, noneconomic,
11
12       monetary, or compensatory damages

13    3. As to the Third Cause of Action - Violation of Unruh Civil Rights Act Civil Code §§ 51 et
14
         seq., Stillwell prays for judgment against the Count III Defendants, and compensatory and
15
         emotional damages according to proof, and all monetary damages awarded be trebled
16
         pursuant to Civil Code § 52;
17
18    4. As to the Fourth Cause of Action – Violations of Fair Housing Act (42 U.S.C. §§ 3604 et

19       seq.), Stillwell prays for judgment against Onni, Onni-BC, Evans, and KTS, an amount to
20       be proven at trial for monetary, or compensatory damages, and for punitive damages under
21
         42 U.S.C. § 3613(c)(1), and as otherwise allowed by law, a permanent injunction enjoining
22
         the Onni, Onni-BC, Evans, and KTS from unlawful discriminatory patterns and practice of
23
24       denying the opportunity to rent apartments at Hope + Flower Apartments on the basis of

25       race or color, order Onni, Onni-BC, Evans, and KTS to implement policies and procedures
26       sufficient to prevent such unlawful actions in the future, and a permanent injunction to stop
27
         all illegal conduct.
28
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1           Stillwell prays for judgment against the City of Los Angeles, and a permanent injunction

2           enjoining the City of Los Angeles from engaging in discriminatory housing practices, an
3
            injunction to stop illegal conduct and prevent it from occurring again in the future,
4
            including requirements of adopting new whistleblower policies, anti-discrimination
5
            training, monitoring, testing, reporting, and auditing , and requirements for adopting
6
7           citywide ordinances that create a process for investigating allegations of corruption and

8           procedures for removing elected city official from office due to corruption, as well as
9
            procedures for appealing City Council actions that are influenced by corruption.
10
        5. As to the Fifth, Six, Seventh, and Eighth Causes of Action – Violations of 42 U.S.C. §§
11
     1982, 1983, 1985 and 1986, Stillwell prays for judgment against the City of Los Angeles, and a
12
13   permanent injunction enjoining the City of Los Angeles (“City”) from renewing Onni and Onni-

14   BC’s business licenses, revoke the building and occupancy permits at Hope + Flower Apartments
15
     and Times Mirror Square, permanently enjoin the City from entering contracts with Onni, Onni-
16
     BC and their subsidiaries, permanently enjoin the City from enforcing the DTLA 2040 rezoning
17
     plan, and permanently enjoin the City from allowing CD-14 Councilmember Kevin DeLeon from
18
19   participating in any committees and from voting on any City Council measure, act, or ordinance.

20      6. As to the Ninth and Tenth Causes of Action – Malicious Prosecution, Stillwell prays for
21
     judgment against Onni, Onni-BC, Evans, and KTS, and an amount to be proven at trial for
22
     economic, noneconomic, monetary, or compensatory damages;
23
24      7. As to the Eleventh Cause of Action – Violations of City of Los Angeles Temporary
25   Protection of Tenants During COVID-19 Pandemic (L.A.M.C. §§ 49.99 et seq.), Stillwell prays
26
     for judgment against Onni and Onni-BC, a civil penalty up to $10,000 per each of Onni and Onni-
27
28
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1    BC’s violations, an amount to be proven at trial for monetary, damages, and injunctive relief to

2    stop Onni and Onni-BC from violating local, state, and federal housing laws;
3
        8. As to the Twelfth Cause of Action – Violations of the of Fair Debt Collection Practices
4
     Act (15 U.S.C. §§ 1692 et seq), Stillwell prays for judgment against Evans, and KTS, and actual
5
     and statutory damages pursuant to 15 U.S.C. § 1692k, an order enjoining Evans and KTS from
6
7    future violations of 15 U.S.C. §§ 1692g(a)(3)-(5) and 15 U.S.C. § 1692e, and reasonable costs and

8    attorneys' fees incurred in this action, including expert fees, pursuant to 15 U.S.C. § 1692k;
9
        9. As to the Thirteenth Cause of Action – Violations of Ca. Civ. Code § 1942.5 (Retaliation),
10
     Stillwell prays for judgment against Onni and Onni-BC, and an amount to be proven at trial for
11
     punitive, exemplary, economic, noneconomic, monetary, or compensatory damages;
12
13      10. As to the Fourteenth Cause of Action – Violations of the Tom Bane Civil Right Act (Ca.

14   Civ. Code §§ 52.1, 52 et seq.), Stillwell prays for judgment against Onni, Onni-BC, Evans, and
15
     KTS, and compensatory and emotional damages according to proof, and all monetary damages
16
     awarded be trebled pursuant to Civil Code § 52; Stillwell prays for judgment against the City of
17
     Los Angeles, and a permanent injunction enjoining the City of Los Angeles (“City”) from
18
19   renewing Onni and Onni-BC’s business licenses, revoke the building and occupancy permits at

20   Hope + Flower Apartments and Times Mirror Square, permanently enjoin the City from entering
21   contracts with Onni, Onni-BC and their subsidiaries, permanently enjoin the City from enforcing
22
     the DTLA 2040 rezoning plan, and permanently enjoin the City from allowing CD-14
23
     Councilmember Kevin DeLeon from participating in any committees and from voting on any City
24
25   Council measure, act, or ordinance.

26      11. As to the Fifteenth Cause of Action – Violations of Tenant Anti-Harassment Ordinance
27   (TAHO) (L.A.M.C §§ 45.30 et seq.), Stillwell prays for judgment against Onni, Onni-BC, Evans,
28
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1    and KTS, a civil penalty up to $10,000 per each of Onni Onni-BC, Evans and KTS’ violations, an

2    amount to be proven at trial for monetary, damages, and injunctive relief to stop Onni and Onni-
3
     BC from violating local, state, and federal housing laws;
4
        12. As to the Sixteenth Cause of Action – Civil RICO (18 U.S.C. §§ 1962(c), 1964(c)),
5
     Predicate Act: Honest Services Fraud (18 U.S.C. § 1346) Stillwell prays for judgment against
6
7    Onni, Onni-BC, Evans, and KTS, and monetary damages in the amount of $5,655,000.00;

8       13. As to the Seventeenth Cause of Action – Civil RICO (18 U.S.C. §§ 1962(c), 1964(c)),
9
     Predicate Act: Wire Fraud (18 U.S.C. § 1343), Stillwell prays for judgment against Onni, Onni-
10
     BC, Evans, and KTS, and monetary damages in the amount of $72,204.00;
11
        14. As to the Eighteenth Cause of Action - Violations of Bus. & Prof. Code §§ 17200 et seq.
12
13   Stillwell prays for judgment against Onni, Onni-BC, Evans, and KTS, and for restitution,

14   injunctive relief and such other relief authorized under Bus. & Prof. Code § 17203;
15
        15. As to the Nineteenth Cause of Action- Breach of Contract, Stillwell prays for judgment
16
     against Onni, Onni-BC and and monetary damages in the amount to be determined at trial, which
17
     will compensate Stillwell for all the detriment proximately caused by Onni and Onni-BC’s breach,
18
19   or the amount that, in the ordinary course of things, would be likely to result therefrom;

20      16. As to the Twentieth Cause of Action- Intentional Infliction of Emotional Distress, Stillwell
21   prays for judgment against Onni, Onni-BC, Evans, and KTS, and an amount to be proven at trial
22
     for punitive, exemplary, economic, noneconomic, monetary, or compensatory damages;
23
24      17. As to the Twenty-first Cause of Action- Negligent Infliction of Emotional Distress,

25   Stillwell prays for judgment against Onni, Onni-BC, Evans, and KTS, and an amount to be proven
26   at trial for economic, noneconomic, monetary, or compensatory damages;
27
28
                       VERIFIED COMPLAINT OF BRITTANY A. STILLWELL
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